         EXHIBIT A




Case 3:20-cv-00641 Document 76-1 Filed 12/01/21 Page 1 of 190 PageID #: 1314
                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


THE LAMPO GROUP, LLC d/b/a                            )
RAMSEY SOLUTIONS, a Tennessee Limited                 )
Liability Company,                                    )
                                                      )
                              Plaintiff,              )    Case No. 3:20-cv-00641
                                                      )    Judge Aleta A. Trauger
       v.                                             )
                                                      )
MARRIOTT HOTEL SERVICES, INC.,                        )
A Delaware Corporation,                               )
                                                      )
                                                      )
                              Defendant.
                                                      )
                                                      )
MARRIOTT HOTEL SERVICES, INC.,             )
A Delaware Corporation,                    )
                                           )
                        Counter-Plaintiff, )
                                           )
        v.                                 )
                                           )
                                           )
THE LAMPO GROUP, LLC d/b/a                 )
RAMSEY SOLUTIONS, a Tennessee Limited      )
Liability Company,                         )
                                           )
                        Counter-Defendant. )
___________________________________________/

                       DECLARATION OF JENNIFER G. ALTMAN

       I, Jennifer G. Altman, declare under penalty of perjury under the laws of the United States,

28 U.S.C. §1746, that the following is true and correct:

       1.      My name is Jennifer G. Altman, I am over the age of 18 and am a partner in the law

firm of Pillsbury Winthrop Shaw Pittman, LLP (“PWSP”). My principal office is located at 600

Brickell Avenue, Suite 3100, Miami, FL 33131.




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                                                                                Case No. 3:20-cv-00641
                                                                                 Judge Aleta A. Trauger

          2.   PWSP represents Plaintiff The Lampo Group LLC d/b/a Ramsey Solutions

(“Ramsey Solutions”) in the above-styled action.

          3.   Attached hereto as Exhibit A is a true and correct copy of Defendant/Counter-

Plaintiff Marriott Hotel Services, Inc.’s (“Marriott”) Initial Rule 26 Disclosures in the above-styled

action.

          4.   Attached hereto as Composite Exhibit B are true and correct copies of Marriott’s

Responses and Objections to Ramsey Solutions’ Second Request for Production of Documents

and Second Set of Interrogatories in the above-styled action.

          5.   Attached hereto as Composite Exhibit C are true and correct copies of letters from

John Josefsberg to the undersigned, dated June 28, 2021 and October 12, 2021, objecting and

refusing to provide information relating to Marriott’s actual damages.

          6.   Attached hereto as Exhibit D are true and correct copies of the agreement entered

into between Ramsey Solutions and Marriott in September 2017 and the subsequent amendment

thereto, referred to collectively as the “Palms Agreement.”

          7.   Attached hereto as Exhibit E are true and correct copies of the agreement entered

into between Ramsey Solutions and Marriott in the Fall of 2017 referred to as the “Texan

Agreement.”

          8.   Attached hereto as Exhibit F are true and correct copies of the agreement entered

into between Ramsey Solutions and Marriott in the Fall of 2017 referred to as the “Rockies

Agreement.”




December 1, 2021
                                                      Jennifer G. Altman



                                     2
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             EXHIBIT “A”




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                               UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

THE LAMPO GROUP, LLC d/b/a                )
RAMSEY SOLUTIONS,                         )
a Tennessee Limited Liability Company,    )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )                                Case No. 3:20-cv-00641
                                          )                                Judge Aleta A. Trauger
MARRIOTT HOTEL SERVICES, INC.,            )
a Delaware Corporation; and               )                                JURY DEMAND
MARRIOTT INTERNATIONAL, INC.,             )
a Delaware Corporation,                   )
                                          )
      Defendants.                         )
__________________________________________)
MARRIOTT HOTEL SERVICES, INC.,            )
a Delaware Corporation,                   )
                                          )
      Counter-Plaintiff,                  )
                                          )
v.                                        )
                                          )
THE LAMPO GROUP, LLC d/b/a                )
RAMSEY SOLUTIONS,                         )
a Tennessee Limited Liability Company,    )
                                          )
      Counter-Defendant.                  )

     DEFENDANT/COUNTER-PLAINTIFF MARRIOTT HOTEL SERVICES, INC.’S
                 FRCP 26(A)(1)(A) INITIAL DISCLOSURES

         Defendant/Counter-Plaintiff Marriott Hotel Services, Inc. (“Marriott”) makes the

following initial disclosures pursuant to FEDERAL RULE OF CIVIL PROCEDURE 26(a)(1):

                                                   RESERVATIONS

         1.       These disclosures are based upon information reasonably available to Marriott as

of this date, and which Marriott reasonably believes it may use in support of its claims and

defenses. Continuing investigation and discovery may alter these disclosures. Accordingly,

DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                                Page 1 of 24
HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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Marriott reserves the right to supplement these disclosures if additional information becomes

available.

         2.       By making these disclosures, Marriott does not represent that any particular

document exits within its possession, custody or control.

         3.       These disclosures are made without waiver of, or prejudice to, any rights or

objections Marriott may have.

         4.       Marriott expressly reserves the right to identify and call as witnesses, additional

persons other than those listed below, if, during the course of discovery and investigation,

Marriott learns that additional persons have knowledge of relevant matters.

         5.       These disclosures are made subject to and without limiting any of the foregoing

reservations. Marriott makes these disclosures in the belief that an appropriate confidentiality order

and rational production limitations can and will be agreed upon by counsel at an appropriate time,

should they become necessary.

                                           RULE 26 DISCLOSURES

       1.     Rule 26(a)(1)(A)(i). The name and, if known, the address and telephone number
of each individual likely to have discoverable information—along with the subjects of that
information—that the disclosing party may use to support its claims or defenses, unless the use
would be solely for impeachment.

        The individuals likely to have discoverable information to support Marriott’s claims and
defenses have not yet been fully identified. Information concerning any responsive individuals not
identified below and not otherwise provided in response to other requests for discovery will be
provided as soon as practicable through supplementation of these disclosures as additional
information becomes available or known. Notwithstanding the foregoing, the following
individuals are likely to have discoverable information that Marriott may use to support its claims
or defenses.

        Marriott believes the following individuals have discoverable information about the
subject matter of this litigation and may provide testimony that Marriott may use for support in
this case:



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HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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 Names                                      Contact Information            Subjects of Information
 Corporate Representative                   c/o Steven M. Rudner           Knowledge of facts
 and/or a records custodian of              John C. Josefsberg             relating to the negotiation,
 Marriott Hotel Services, Inc.              Rudner Law Offices             execution, and
 Defendant/Counter-Plaintiff                12740 Hillcrest Road           performance of the subject
                                            Suite 240                      contracts entered into
                                            Dallas, Texas 75230            between The Lampo
                                            Telephone: (214) 373-1900      Group, LLC d/b/a Ramsey
                                            Facsimile: (214) 360-7845      Solutions (“Ramsey”)
                                                                           Gaylord Palms Resort &
                                            -and-                          Convention Center
                                            Stephen J. Zralek              (“Gaylord Palms”),
                                            Bone McAllester Norton         Gaylord Texan Resort &
                                            PLLC                           Conference Center
                                            511 Union St., Suite 1600      (“Gaylord Texan”), and
                                            Nashville, TN 372169           the Gaylord Rockies
                                            Telephone: (615) 780-6305      Resort & Convention
                                            Facsimile: (615) 687-2763      Center (“Gaylord
                                                                           Rockies”), respectively,
                                            (Collectively, hereinafter     and related documents, as
                                            referred to as “Counsel for    manager of the Gaylord
                                            Marriott”)                     Palms, Gaylord Texan,
                                                                           and Gaylord Rockies. The
                                                                           contracts between Gaylord
                                                                           Palms, as amended,
                                                                           Gaylord Texan and
                                                                           Gaylord Rockies, and
                                                                           Ramsey are hereinafter
                                                                           referred to as the “Palms
                                                                           Agreement,” “Texan
                                                                           Agreement,” and “Rockies
                                                                           Agreement,” respectively,
                                                                           as well as knowledge of
                                                                           the terms of the subject
                                                                           contracts and cancellation
                                                                           of the contracted events
                                                                           Ramsey was obligated to
                                                                           hold at the Gaylord Palms,
                                                                           Gaylord Texan and
                                                                           Gaylord Rockies.




DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                        Page 3 of 24
HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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 Ross Barker, CMP              c/o Counsel for Marriott                    Knowledge of facts
 Director of Event Management,                                             relating to the terms of the
 Gaylord Palms                                                             Palms Agreement, the
                                                                           event subject to the Palms
                                                                           Agreement (hereinafter
                                                                           referred to as the “Palms
                                                                           Event”), including
                                                                           planning for the event,
                                                                           cancellation, and
                                                                           enforcement of company
                                                                           policies and governmental
                                                                           regulations affecting the
                                                                           Palms Event, including
                                                                           COVID-19.

 Lori Story                                 c/o Counsel for Marriott       Knowledge of the facts
 Senior Group Sales Executive,                                             relating to pre-contract
 Southeast Territory,                                                      communications,
 Gaylord Hotels                                                            negotiations, formation,
                                                                           and execution of the Palms
                                                                           Agreement, Texan
                                                                           Agreement and Rockies
                                                                           Agreement, including the
                                                                           terms in each, the Palms
                                                                           Event, and events subject
                                                                           to the Texan Agreement
                                                                           and Rockies Agreement
                                                                           (hereinafter referred to as
                                                                           the “Texan Event” and
                                                                           “Rockies Event,”
                                                                           respectively), including
                                                                           planning for the events,
                                                                           and cancellations of each.

 Robyn Locker                               c/o Counsel for Marriott       Knowledge of facts
 Director of Group Services,                                               relating to the Palms
 Gaylord Palms                                                             Event, including
                                                                           reservations, planning,
                                                                           group housing, and
                                                                           cancellation.

 Kathleen Muzeni                            c/o Counsel for Marriott       Knowledge of facts
 Assistant Director of Event                                               relating to the Palms
 Planning,                                                                 Event, including
 Gaylord Palms                                                             reservations, planning,
                                                                           group housing, and

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HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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                                                                           cancellation.



 Britney Chandler                           c/o Counsel for Marriott       Signatory to the
 Senior Sales Executive,                                                   amendment to the Palms
 Gaylord Palms                                                             Agreement and has
                                                                           knowledge of facts
                                                                           relating to the terms of the
                                                                           Palms Agreement, Palms
                                                                           Event, including planning
                                                                           for the event, and
                                                                           cancellation.

 Ken Oehlers                                c/o Counsel for Marriott       Knowledge of facts
 Director of Group Sales,                                                  relating to the terms of the
 Gaylord Palms                                                             Palms Agreement, Palms
                                                                           Event, including planning
                                                                           for the event, and
                                                                           cancellation.

 Maureen Wilde                              c/o Counsel for Marriott       Knowledge of the facts
 Senior Account Executive,                                                 relating to pre-contract
 U.S. Account Sales,                                                       communications,
 Marriott International, Inc.                                              negotiations, formation,
                                                                           and execution of the Palms
                                                                           Agreement, Texan
                                                                           Agreement and Rockies
                                                                           Agreement, including the
                                                                           terms in each, and the
                                                                           Palms Event, Texan Event,
                                                                           and Rockies Event,
                                                                           including planning for the
                                                                           events, and cancellations
                                                                           of each.

 Julie Shreffler                            c/o Counsel for Marriott       Knowledge of facts
 Senior Event Manager,                                                     relating to the Palms
 Gaylord Palms                                                             Event, planning, and
                                                                           cancellation.

 Georgette Kassar                           c/o Counsel for Marriott       Knowledge of facts
 Senior Assistant Director of                                              relating to computation
 Finance and Accounting,                                                   and invoicing of liquidated
 Gaylord Palms                                                             damages sought by

DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                         Page 5 of 24
HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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                                                                           Marriott in connection
                                                                           with the cancellation by
                                                                           Ramsey of the Palms
                                                                           Event, including the
                                                                           invoicing and finances.

 Zeshan Husain                              c/o Counsel for Marriott       Knowledge of facts
 Director of Group Strategy,                                               relating to the Palms
 Gaylord Palms                                                             Event, planning, and
                                                                           cancellation.

 Tatum Delia                                Unknown.                       Signatory to the Palms
 Former Senior Sales Executive,                                            Agreement and has
 Gaylord Palms                                                             knowledge of facts
                                                                           relating to pre-contract
                                                                           communications,
                                                                           negotiations, formation,
                                                                           and execution of the Palms
                                                                           Agreement, the terms
                                                                           therein, and the Palms
                                                                           Event, including planning
                                                                           for the event.

 Johann Krieger                             c/o Counsel for Marriott       Knowledge of facts
 General Manager,                                                          relating to the Palms
 Gaylord Palms                                                             Event, including planning
                                                                           for the event, cancellation,
                                                                           and enforcement of
                                                                           Gaylord policies and
                                                                           governmental regulations
                                                                           affecting the Palms Event,
                                                                           including COVID-19.

 Amy Pineau                                 c/o Counsel for Marriott       Knowledge of the facts
 Gaylord Palms                                                             relating to the Palms
                                                                           Event, including planning
                                                                           for the event.

 Monica Schyck                              c/o Counsel for Marriott       Knowledge of facts
 Director of Sales & Marketing,                                            relating to the Palms
 Gaylord Palms                                                             Event, including planning
                                                                           for the event, and
                                                                           cancellation.




DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                        Page 6 of 24
HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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 Julie Schwab                               c/o Counsel for Marriott       Knowledge of facts
 Group Housing Supervisor,                                                 relating to the Palms
 Gaylord Palms                                                             Event, including
                                                                           reservations, planning,
                                                                           group housing, and the
                                                                           cancellation.

 John Wasky                                 c/o Counsel for Marriott       Knowledge of facts
 Sr. Director of Finance &                                                 relating to computation
 Accounting                                                                and invoicing of liquidated
 Gaylord Palms                                                             damages sought by
                                                                           Marriott in connection
                                                                           with the cancellation by
                                                                           Ramsey of the Palms
                                                                           Event, including the
                                                                           invoicing and finances.

 Aaron Busby                                c/o Counsel for Marriott       Knowledge of facts
 Director of Finance,                                                      relating to computation
 Gaylord Texan                                                             and invoicing of liquidated
                                                                           damages sought by
                                                                           Marriott in connection
                                                                           with the cancellation by
                                                                           Ramsey of the Texan
                                                                           Event, including the
                                                                           invoicing and finances.

 Wendy Ezernack                             c/o Counsel for Marriott       Signatory to the Texan
 Sr. Sales Executive                                                       Agreement and has
 Gaylord Texan                                                             knowledge of facts
                                                                           relating to pre-contract
                                                                           communications,
                                                                           negotiations, formation,
                                                                           and execution of the
                                                                           Texan Agreement, the
                                                                           terms therein, and the
                                                                           Texan Event, including
                                                                           planning for the event, and
                                                                           cancellation.

 Rocky Raquepo                              c/o Counsel for Marriott       Knowledge of facts
 Sr. Assistant Director of                                                 relating to computation
 Finance and Accounting,                                                   and invoicing of liquidated
 Gaylord Texan                                                             damages sought by
                                                                           Marriott in connection
                                                                           with the cancellation by
DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                        Page 7 of 24
HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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                                                                           Ramsey of the Texan
                                                                           Event, including the
                                                                           invoicing and finances.

 Michael Kofsky                             c/o Counsel for Marriott       Knowledge of facts
 Director of Sales & Marketing,                                            relating to the Rockies
 Gaylord Rockies                                                           Event, including planning
                                                                           for the event, and
                                                                           cancellation.

 Bill Hurst                                 c/o Counsel for Marriott       Signatory to the Rockies
 Senior Sales Executive,                                                   Agreement and has
 Gaylord Rockies                                                           knowledge of facts
                                                                           relating to pre-contract
                                                                           communications,
                                                                           negotiations, formation,
                                                                           and execution of the
                                                                           Rockies Agreement, the
                                                                           terms therein, and the
                                                                           Rockies Event, including
                                                                           planning for the event, and
                                                                           cancellation.

 Jeff Lindebald                             c/o Counsel for Marriott       Knowledge of the facts
 Director of Group Sales,                                                  relating to the Rockies
 Gaylord Rockies                                                           Event, including planning
                                                                           for the event, invoicing,
                                                                           and cancellation.

 Alex Vassilaros                            c/o Counsel for Marriott       Knowledge of facts
 Sr. Director of Finance and                                               relating to computation
 Accounting,                                                               and invoicing of liquidated
 Gaylord Rockies                                                           damages sought by
                                                                           Marriott in connection
                                                                           with the cancellation by
                                                                           Ramsey of the Rockies
                                                                           Event, including the
                                                                           invoicing and finances.

 Thomas Egan                                c/o Counsel for Marriott       Knowledge of facts
 Director of Sales & Marketing,                                            relating to the Texan
 Gaylord Texan                                                             Event, including planning
                                                                           for the event, and
                                                                           cancellation.



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 Mike Stengel                               c/o Counsel for Marriott       Knowledge of facts
 Senior Vice President                                                     relating to the operations
 Gaylord & Marriott                                                        of the Gaylord properties,
 Convention & Resort Network                                               including enforcement of
                                                                           Gaylord policies and
                                                                           governmental regulations,
                                                                           including COVID-19, and
                                                                           its effect on the Palms
                                                                           Event, a telephone
                                                                           conversation(s) in or
                                                                           around June 2020 with
                                                                           representatives from
                                                                           Ramsey, and cancellation.

 Mike Wainwright                            c/o Counsel for Marriott       Knowledge of the facts
 VP-Sales, Gaylord Hotels                                                  relating to a telephone
 VP- Sales Strategy, Convention                                            conversation(s) in or
 Resort Network                                                            around June 2020 with
                                                                           representatives from
                                                                           Ramsey relating to the
                                                                           Palms Event and
                                                                           cancellation.

 One or more Corporate                      c/o Counsel for Marriott       Knowledge and
 Representative(s) of Marriott                                             information about
 Defendant/Counter-Plaintiff                                               Marriott’s calculation and
                                                                           amount of liquidated
                                                                           damages due under the
                                                                           Palms Agreement, Texan,
                                                                           Agreement, and Rockies
                                                                           Agreement.

 Corporate Representative                   c/o Jennifer Altman            Knowledge of facts
 and/or a records custodian of              Markenzy Lapointe              relating to the Palms
 The Lampo Group, LLC d/b/a                 Pillsbury Winthrop Shaw        Agreement, Texan,
 Ramsey Solutions                           Pittman LLP                    Agreement, Rockies
 Plaintiff/Counter-Defendant                600 Brickell Avenue            Agreement, Palms Event,
                                            Suite 3100                     Texan Event, and Rockies
                                            Miami, FL 33131                Event, the cancellations
                                            Telephone: (786) 913-4880      thereof, and all facts
                                                                           allegedly supporting
                                            -and-                          Ramsey’s claims in this
                                                                           lawsuit.
                                            Ashley E. Cowgill
                                            Pillsbury Winthrop Shaw
                                            Pittman LLP

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                                            500 Capitol Mall, Suite 1800
                                            Sacramento, CA 95814
                                            Telephone: (916) 329-4721

                                            (Collectively, hereinafter
                                            referred to as “Counsel for
                                            Ramsey”)

 Joe Leavitt                                c/o Counsel for Ramsey         Signatory to the Palms
 Director of Event Production                                              Agreement, Texan,
 Ramsey Solutions                                                          Agreement, and Rockies
                                                                           Agreement, and has
                                                                           knowledge of facts
                                                                           relating to pre-contract
                                                                           communications,
                                                                           negotiations, formation,
                                                                           and execution of each, the
                                                                           terms therein, and the
                                                                           Palms Event, Texan Event,
                                                                           and Rockies Event,
                                                                           including planning and
                                                                           cancellations, and Gaylord
                                                                           policies and governmental
                                                                           regulations affecting the
                                                                           Palms Event, including
                                                                           COVID-19.

 Blake Thornell                             c/o Counsel for Ramsey         Knowledge of facts
 Senior Event Producer                                                     relating to the Palms Event
 Ramsey Solutions                                                          and the cancellation.


 Dave Ramsey                                c/o Counsel for Ramsey         Knowledge of facts
 Ramsey Solutions                                                          relating to the Palms
                                                                           Agreement and Palms
                                                                           Event, Texan Agreement
                                                                           and Texan Event, and
                                                                           Rockies Agreement and
                                                                           Rockies Event, including
                                                                           planning, cancellations
                                                                           and Gaylord policies and
                                                                           governmental regulations
                                                                           affecting the Palms Event,
                                                                           including COVID-19.



DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                        Page 10 of 24
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 VeShannah Lovelace                         c/o Counsel for Ramsey         Knowledge of facts
 Event Producer                                                            relating to the Palms
 Ramsey Solutions                                                          Event.

 Leigh Orendorf                             c/o Counsel for Ramsey         Knowledge of facts
 Ramsey Solutions                                                          relating to the Palms
                                                                           Event.

 Katie Kinderknecht                         c/o Counsel for Ramsey         Knowledge of facts
 Senior Event Producer                                                     relating to the Palms Event
 Ramsey Event Productions                                                  and the cancellation.

 Kristin Cummings                           c/o Counsel for Ramsey         Knowledge of facts
 Senior Director of Operations                                             relating to the Palms
 and Events                                                                Event.
 EntreLeadership

 Tammy Kornberg                             c/o Counsel for Ramsey         Knowledge of facts
 EntreLeadership Advisor                                                   relating to the Palms
                                                                           Event.

 Scott Moore                                Go Live Productions, LLC       Knowledge of facts
 Go Live Productions, LLC                   304 Hill Ave, Suite A          relating to the Palms Event
                                            Nashville, TN 37210            and layouts.
                                            Telephone: (615) 662-5203

 Steve Caroselli                            Orion Entrance Control, Inc.   Knowledge of facts
 CEO & Founder                              76A Lexington Drive            relating to the Palms Event
 Orion Entrance Control, Inc.               Laconia, NH 03246              and proposed temperature
                                            Telephone: (603) 527-4187      scanners for the Palms
                                            ext. 303                       Event.
 Any person or entity identified
 by Ramsey or identified in
 discovery, including
 depositions and documents
 produced.

 All individuals or entities
 identified by Ramsey in its
 initial disclosures, subsequent
 disclosures, or any discovery
 response in this matter, or in
 any deposition testimony, or in
 any document produced in

DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                        Page 11 of 24
HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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 connection with this matter




         Marriott reserves the right to call as a witness any person or expert designated by another
party in any given case. Marriott reserves the right to seek recovery of fees, costs and/or expenses
in this action, which will be applied for at the appropriate time during the litigation.

        2.      Rule 26(a)(1)(A)(ii). A copy—or a description by category and location—of all
documents, electronically stored information, and tangible things that the disclosing party has in
its possession, custody, or control and may use to support its claims or defenses, unless the use
would be solely for impeachment.

        Marriott’s description, by category, of documents, information and/or tangible things it
may use to support its prosecution and defenses in this matter include Marriott’s business records
relating to sales, contracts, event planning, and cancellations for the Gaylord Palms, Gaylord
Rockies, and Gaylord Texan events that are subject to this lawsuit, including but not limited to:

         (1)      All documents exhibited to or specifically referenced in the pleadings, including
                  the Complaint (Docket No. 1), Amended Complaint (Docket No. 10), Answer,
                  Affirmative Defenses and Counterclaim (Docket No. 21) and Answer and
                  Affirmative Defenses to Counterclaim (Docket No. 27);

         (2)      All non-privileged documents and communications, including communications
                  between the parties, evidencing or discussing any contracts or agreements between
                  the parties, including all addenda to same, related to the contracted events Ramsey
                  was obligated to hold at the Gaylord Palms, Gaylord Texan and Gaylord Rockies,
                  as referenced in the pleadings;

         (3)      All relevant, nonprivileged documents and communications between the parties or
                  between the parties and any third parties related to the contracted events Ramsey
                  was obligated to hold at the Gaylord Palms, Gaylord Texan and Gaylord Rockies,
                  as referenced in the pleadings.

         (4)      All non-privileged external and internal written and electronic communications,
                  documents and information, including emails, text messages and hand-written
                  notes, by and by between the parties to this lawsuit, relating to the negotiation,
                  execution, planning, and performance and cancellation of the of the subject
                  contracts regarding the contracted events scheduled to be held at the Gaylord Palms,
                  Gaylord Texan, and Gaylord Rockies, subject to this lawsuit;

         (5)      Invoices and spreadsheets relating to the cancellation of the Gaylord Palms event,
                  Gaylord Texan event, and Gaylord Rockies event, including the calculation of such
                  liquidated damages, subject to this lawsuit;


DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                      Page 12 of 24
HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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         (6)      Menus, event orders, room layouts, and other documents and spreadsheets relating
                  to the planning and performance of the Gaylord Palms event, subject to this lawsuit;
                  and

         (7)      Local governmental rules, regulations, ordinance(s), orders, executive orders, and
                  mandates, and the like, over the period March through July 2020, concerning
                  operations of the Gaylord Palms.

         (8)      Transcripts of any depositions taken in connection with this action;

         (9)      Documents previously disclosed, or to be disclosed in the future, by Marriott or by
                  any other party in this case;

         (10)     Reports prepared by any expert in this matter;

         (11)     Any articles, books, treatises, documents, or other documents relied upon by any
                  expert in this case;

         (12)     Any records, charts, documents, photographs, and/or demonstrative exhibits
                  prepared by any expert retained in this matter;

         (13)     Any relevant business and/or other records of Marriott related to the underlying
                  claims in this matter;

         (14)     All initial and subsequent disclosures pursuant to FRCP 26;

         (15)     All answers to interrogatories, requests for admission, requests for production, and
                  any other discovery requests of Plaintiff, or Defendants, and those of designated
                  non-parties filed in this case or any other case; and

         (16)     All pleadings in this matter.

         (17)     The Hotel has not completed its investigation and discovery is in its infancy. The
                  Hotel reserves the right to supplement as necessary.

        3.     Rule 26(a)(1)(A)(iii). A computation of each category of damages claimed by the
disclosing party—who must also make available for inspection and copying as under Rule 34 the
documents or other evidentiary material, unless privileged or protected from disclosure, on which
each computation is based, including materials bearing on the nature and extent of injuries
suffered.

    Defendant/Counter-Plaintiff Marriott seeks liquidated damages totaling $2,806,894.30, as a
result of Ramsey’s material breaches contract:

    A. Liquidated Damages Under the Gaylord Palms Contract

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HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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         1.       Damages Sought:

                  Marriott seeks liquidated damages pursuant to the September 29, 2017 written

                  agreement, and April 2, 2020 amendment, between Marriott and Ramsey for the

                  Gaylord Palms event subject to this lawsuit, in the principal amount of $658,599.55,

                  or in such other amount as proven at trial and, in the alternative, for lost profits in

                  an amount to be proved at trial, plus pre-judgment interest at the contract rate of 1.5

                  percent per month (or, if less, the maximum amount permitted by law) on the Palms

                  Original Invoice amount of $423,844.55, from July 6, 2020 through August 25,

                  2020; plus pre-and post-judgment interest at the contract rate of 1.5 percent per

                  month (or, if less, the maximum amount permitted by law), on the Palms Revised

                  Invoice in the amount of $658,599.55, from August 26, 2020, until the debt is paid

                  in full; plus reasonable attorneys’ fees and costs in accordance with the Palms

                  Contract and applicable law.

         2.       Calculation of Liquidated Damages:

                  a.        Pursuant to the Palms Agreement, Ramsey was obligated to utilize 4,855

                            sleeping room nights at the Gaylord Palms at rates ranging from $229.00

                            per room, per night, for single/double/triple/quad occupancy rooms, plus

                            applicable state and local taxes, to $2,700.00 per room, per night, for

                            Presidential Suits, plus applicable state and local taxes. A true and correct

                            copy of the Palms Agreement is attached as Exhibit A to Marriott’s Answer

                            and Counterclaim.




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HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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                  b.        In addition, the Palms Agreement requires Ramsey to spend not less than

                            $700,000.00 in banquet food and beverage, plus applicable services charges

                            and taxes.

                  c.        The parties executed an amendment to the Palms Agreement on or about

                            April 2, 2020 (the “Palms Amendment”), pursuant to which, among other

                            things, the contracted sleeping room block was lowered from 4855 sleeping

                            rooms to 4210 sleeping rooms, and food and beverage commitment was

                            reduced from $700,000.00 to $400,000.00, and the dates of the Palms Event

                            was changed from May 15-21, 2020 to July 10-16, 2020. A true and correct

                            copy of the Palms Amendment is attached as Exhibit B to Marriott’s

                            Answer and Counterclaim.

                  d.        Paragraph 3 of the Palms Amendment, however, specifically provides that

                            “should group cancel the July 10-15 2020 conference, the calculation will

                            be based on the original contracted room block and F&B minimum.”

                  e.        The Agreement and Amendment are, from time to time, hereinafter

                            collectively referred to as the “Palms Contract.”

                  f.        The Palms Agreement contains (at page 13) a “Cancellation Policy” clause

                            (the “Palms Cancellation Provision”), which governs the amount of

                            liquidated damages Ramsey agreed to pay if it were to cancel its contracted

                            Palms Event.

                  g.        The Palms Cancellation Provision (at page 13 of the Palms Agreement)

                            provides that Ramsey would owe “100% of total room revenue plus 75% of




DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                       Page 15 of 24
HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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                            F&B Guarantee,” for a cancellation occurring between “0 –180 days prior

                            to arrival.”

                  h.        Pursuant to the Palms Agreement (at page 13), “total room revenue” is

                            defined as “the dollar amount equal to the Room Block multiplied by the

                            Group’s average room rate, exclusive of Resort Fees.”

                  i.        The Palms Agreement (at p. 8) contains a deposit provision, which requires

                            Ramsey to make the following deposit: Seventy-five percent (75%) of the

                            anticipated Group expenditures to be master billed, including all food and

                            beverage charges, is due thirty (30) days prior to arrival.”

                  j.        Ramsey paid to Marriott deposits totaling $1,212,950.45.

                  k.        By letter dated July 3, 2020, Ramsey canceled the Palms Event. A true and

                            correct copy of the July 3, 2020 letter is attached as Exhibit C to Marriott’s

                            Answer and Counterclaim.

                  l.        Ramsey’s reasons for canceling the Palms Event are not covered under any

                            provision of the Palms Contract.

                  m.        Accordingly, the cancellation by Ramsey was without legal justification or

                            excuse and therefore constitutes a material breach of contract.

                  n.        The cancellation by Ramsey of the Palms Event occurred between “0 –180

                            days prior to arrival.”

                  o.        Accordingly, pursuant to the Cancellation Policy provision, Ramsey owes

                            “100% of total room revenue plus 75% of F&B Guarantee,” which is

                            $1,871,550.00, for the cancellation, computed as follows:

                  Room Revenue:


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                                                                                       Rate         Room Revenue
                   Room Type                              7/10/2020        Total
                   Run of House                                3524            3524     229                806,996.00
                   Executive Suite                              125              125    625                 78,125.00
                   Deluxe Suite                                 125              125    850                106,250.00
                   Presidential Suite                            30               30   2700                 81,000.00
                   Emerald Bay                                  670              670    279                186,930.00
                   Staff                                        381              381    229                 87,249.00
                             Total                             4855         4,855.0                      1,346,550.00

                  Minimum Food and Beverage x 75% ($700,000 x 75%)                            $525,000.00

                            Total                                                             $1,871,550.00

                  p.        After applying the $1,212,950.45 advanced deposits, Ramsey owes

                            $658,599.55 in liquidated damages for canceling the Palms Event.

                  q.        A copy of the invoice for the cancellation fee is attached as Exhibit E to

                            Marriott’s Answer and Counterclaim.

    B. Liquidated Damages Under the Gaylord Texan Contract

         1.       Damages Sought:

         Marriott seeks liquidated damages pursuant to the December 29, 2017 written agreement,

         as subsequently amended, between Marriott and Ramsey for the Gaylord Texan event

         subject to this lawsuit, in the principal amount of $1,491,661.55 or, in the alternative, for

         lost profits in an amount to be proved at trial, plus pre-judgment interest at the contract rate

         of 1.5 percent per month (or, if less, the maximum amount permitted by law) on the Texan

         Original Invoice amount of $1,383,507.80, from July 23, 2020 through August 25, 2020;

         plus pre-and post-judgment interest at the contract rate of Interest at the rate of 1.5 percent

         per month (or, if less, the maximum amount permitted by law), on the Texan Revised

         Invoice in the amount of $1,491,661.55, from August 26, 2020, until the debt is paid in




DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                             Page 17 of 24
HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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         full; plus reasonable attorneys’ fees and costs in accordance with the Texan Contract and

         applicable law.

         2.        Calculation of Liquidated Damages:

                  a.        Pursuant to the Texan Contract, Ramsey was obligated to utilize 5756

                            sleeping room nights at the Gaylord Texan at rates ranging from $143.40

                            per room, per night, for staff rooms, plus applicable state and local taxes, to

                            $2,500.00 per room, per night, for Presidential Suits, plus applicable state

                            and local taxes. A copy of the Texan Contract is attached as Exhibit F to

                            Marriott’s Answer and Counterclaim.

                  b.        In addition, the Texan Contract requires Ramsey to spend not less than

                            $700,000.00 in banquet food and beverage, plus applicable services charges

                            and taxes.

                  c.        The Texan Contract contains (at page 11) a “Cancellation Policy” clause

                            (the “Texan Cancellation Provision”), which governs the amount of

                            liquidated damages Ramsey agreed to pay if it were to cancel its contracted

                            Texan Event.

                  d.        The Texan Cancellation Provision (at page 11 of the Texan Contract)

                            provides that Ramsey would owe “75% of total room revenue plus 50% of

                            F&B Guarantee,” for a cancellation occurring between “181 –365 days

                            prior to arrival.”

                  e.        Pursuant to the Texan Contract (at page 11), “total room revenue” is defined

                            as “the dollar amount equal to the Room Block multiplied by the Group’s

                            average room rate, exclusive of Resort Fees.”


DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                           Page 18 of 24
HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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                  f.        By email dated July 22, 2020, Ramsey canceled the Texan Event. A true

                            and correct copy of the July 22, 2020 email is attached hereto as Exhibit G

                            and incorporated herein by reference.

                  g.        Ramsey’s reasons for canceling the Texan Contract are not covered under

                            any provision of the Texan Contract.

                  h.        Accordingly, the cancellation by Ramsey was without legal justification or

                            excuse and therefore constitutes a material breach of contract.

                  i.        As noted above, as part of the Texan Contract, the parties agreed that

                            damages caused by a cancellation of the Texan Event by Ramsey would be

                            liquidated and governed by a “Cancellation Policy” provision.

                  j.         The cancellation of the Texan Event by Ramsey Solution was between 181-

                            365 days prior to arrival.

                  k.        Pursuant to the Cancellation Policy provision, Ramsey owes “75% of total

                            room revenue plus 50% of F&B Guarantee,” which is $1,491,661.55, for

                            the cancellation, computed as follows:

                  Room Type          Total Rooms                  Rates       Total Rm Rev

                  Exec Suite         125                          $239.00     $29,875.00

                  Deluxe Suite 125                                $850.00     $106,250.00

                  Pres               30                           $2,500.00   $75,000.00

                  Lonestar           670                          $279.00     $186,930.00

                  Staff              381                          $143.40     $54,635.40

                  Attendee           3955                         $239.00     $945,245.00

                  Platinum           300                          $239.00     $71,700.00


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HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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                  Protected          220                          $239.00   $52,580.00

                  Total              5806                                   $1,522,215.40

                  75%                                                       $1,141,661.55

                  Plus Minimum Food and Beverage

                  Minimum x 50% ($700,000 x 75%)                            $350,000.00

                            Total Liquidated Damages                        $1,491,661.55

                  l.        A copy of the invoice for the cancellation fee is attached as Exhibit E to

                            Marriott’s Answer and Counterclaim.



    C. Liquidated Damages Under the Gaylord Texan Contract

         1.       Damages Sought:

    Marriott seeks liquidated damages pursuant to the December 23, 2017 written agreement

between Marriott and Ramsey for the Gaylord Rockies event subject to this lawsuit, in the principal

amount of $656,633.20 or, in the alternative, for lost profits in an amount to be proved at trial,

plus pre-judgment interest at the contract rate 1.5 percent per month (or, if less, the maximum

amount permitted by law) on the Rockies Original Invoice amount of $562,357.60, from July 23,

2020 through August 25, 2020; plus pre-and post-judgment interest at the contract rate of 1.5

percent per month (or, if less, the maximum amount permitted by law), on the Rockies Revised

Invoice amount of $656,633.20, from August 26, 2020, until the debt is paid in full; plus reasonable

attorneys’ fees and costs in accordance with the Rockies Contract and applicable law.

         2.       Calculation of Liquidated Damages:

                  a.        Pursuant to the Rockies Contract, Ramsey was obligated to utilize 5,131

                            sleeping room nights at the Gaylord Rockies at rates ranging from $164.40


DEFENDANT/COUNTER-PLAINTIFF MARRIOTT                                                        Page 20 of 24
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                            per room, per night, for staff rooms, plus applicable state and local taxes, to

                            $2,700.00 per room, per night, for Presidential Suits, plus applicable state

                            and local taxes. A true and correct copy of the Rockies Contract is attached

                            as Exhibit I to Marriott’s Answer and Counterclaim.

                  b.        In addition, the Rockies Contract requires Ramsey to spend not less than

                            $700,000.00 in banquet food and beverage, plus applicable services charges

                            and taxes.

                  c.        The Rockies Contract contains (at page 10) a “Cancellation Policy” clause

                            (the “Rockies Cancellation Provision”), which governs the amount of

                            liquidated damages Ramsey agreed to pay if it were to cancel its contracted

                            Rockies Event.

                  d.        The Rockies Cancellation Provision (at page 11 of the Rockies Contract)

                            provides that Ramsey would owe “40% of total room revenue” for a

                            cancellation occurring between “366-729 days prior to arrival.”

                  e.        Pursuant to the Rockies Contract (at page 10), “total room revenue” is

                            defined as “the dollar amount equal to the Room Block multiplied by the

                            Group’s average room rate, exclusive of Resort Fees.”

                  f.        By email dated July 22, 2020, Ramsey canceled the Rockies Event. A true

                            and correct copy of the July 22, 2020 email is attached hereto as Exhibit G

                            and incorporated herein by reference.

                  g.        Ramsey’s reasons for canceling the Rockies Contract are not covered under

                            any provision of the Rockies Contract.




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                  h.        Accordingly, the cancellation by Ramsey was without legal justification or

                            excuse and therefore constitutes a material breach of contract.

                  i.        As noted above, as part of the Rockies Contract, the parties agreed that

                            damages caused by cancellation of the Rockies Event by Ramsey would be

                            liquidated and governed by a “Cancellation Policy” provision.

                  j.        The cancellation by Ramsey Solution occurred between 366-729 days prior

                            to arrival.

                  k.        Pursuant to the Cancellation Policy provision, “40% of total room revenue”

                            is $656,633.20, computed as follows:

                                          Rate       Rooms Revenue          Ave Rate             Cancelation Fee
                            Presidential   $   2,700      30 $    81,000.00
                            Deluxe         $     850     125 $ 106,250.00
                            Executive      $     625     125 $    78,125.00
                            Staff          $     164     335 $    55,074.00
                            Mountain View $      399     670 $ 267,330.00
                            ROH            $     274    3846 $ 1,053,804.00

                                                                     5131 $ 1,641,583.00 $ 319.93 $ 656,633.20

                                          40%                              $   656,633.20

                  l.        Ramsey did not make any advance deposits towards the Rockies Event.

                            Accordingly, liquidated damages for canceling the Rockies Event are

                            $656,633.20.

                  m.        A copy of the invoice for the cancellation fee is attached as Exhibit E to

                            Marriott’s Answer and Counterclaim

      4.      Rule 26(a)(1)(A)(iv). For inspection and copying as under Rule 34, any insurance
agreement under which an insurance business may be liable to satisfy all or part of a possible
judgment in the action or to indemnify or reimburse for payments made to satisfy the judgment.

         Not applicable. Marriott’s investigation is ongoing, however, and any required disclosures

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HOTEL SERVICES, INC.’S RULE 26(a)(1)(A) INITIAL DISCLOSURES
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under this category will be disclosed pursuant to Rule 26(e).



Dated: November 11, 2020

                                                                  Respectfully submitted,

                                                                  /s/ John C. Josefsberg
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                                                                  John C. Josefsberg, admitted pro hac vice
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                                        CERTIFICATE OF SERVICE

       I certify that I served a copy of this document via email on November 11, 2020 on the
following:

Jennifer Altman, Esq.
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Counsel for Plaintiff/Counter-Defendant

                                                                  /s/ John C. Josefsberg
                                                                  JOHN C. JOSEFSBERG




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              COMPOSITE
               Exhibit “B”




Case 3:20-cv-00641 Document 76-1 Filed 12/01/21 Page 29 of 190 PageID #: 1342
                        UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

THE LAMPO GROUP, LLC d/b/a                )
RAMSEY SOLUTIONS,                         )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )               Case No. 3:20-cv-00641
                                          )               Hon. Aleta A. Trauger
MARRIOTT HOTEL SERVICES, INC.,            )
                                          )               JURY DEMAND
      Defendant.                          )
__________________________________________)
MARRIOTT HOTEL SERVICES, INC.,            )
                                          )
      Counter-Plaintiff,                  )
                                          )
v.                                        )
                                          )
THE LAMPO GROUP, LLC d/b/a                )
RAMSEY SOLUTIONS,                         )
                                          )
      Counter-Defendant.                  )

           MARRIOTT’S RESPONSES AND OBJECTIONS TO RAMSEY’S
                   SECOND SET OF INTERROGATORIES


       Defendant / Counter-Plaintiff Marriott Hotel Services, Inc. (“Marriott”) serves its

responses and objections pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure,

to the Second Set of Interrogatories of Plaintiff / Counter-Defendant The Lampo Group, LLC

d/b/a Ramsey Solution (“Ramsey”).




                                             1

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                                PRELIMINARY STATEMENT

       1.      Marriott’s investigation and development of all facts and circumstances relating

to this action is ongoing. These responses and objections are made without prejudice to, and are

not a waiver of, Marriott’s right to rely on other facts or documents at trial.

       2.      By making the accompanying responses and objections to Ramsey’s

interrogatories, Marriott does not waive, and hereby expressly reserves, its right to assert any

and all objections as to the admissibility of such responses into evidence in this action, or in any

other proceedings, on any and all grounds including, but not limited to, competency, relevancy,

materiality, and privilege. Further, Marriott makes the responses and objections herein without

in any way implying that it considers the interrogatory, and responses to the interrogatory, to be

relevant or material to the subject matter of this action.

       3.      In a response to an interrogatory stating an objection and/or indicating that no

response shall be given, such response and objection shall not be deemed or construed that

Marriott performed any of the acts described in the interrogatory, or definitions and/or

instructions applicable to the interrogatory, or that Marriott acquiesces in the characterization of

the conduct or activities contained in the interrogatory, or definitions and/or instructions

applicable to the interrogatory.

       5.      Marriott expressly reserves the right to supplement, clarify, revise, or correct any

or all of the responses and objections herein, and to assert additional objections or privileges, in

one or more subsequent supplemental response(s).

                                   GENERAL OBJECTIONS
       1.      Marriott objects to each instruction, definition and interrogatory to the

extent that it purports to impose any requirement or discovery obligation greater than or


                                                 2

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different from those under the Federal Rules of Civil Procedure and the applicable

Rules and Orders of the Court.

       2.     Marriott objects to each interrogatory that is overly broad, unduly

burdensome, or not reasonably calculated to lead to the discovery of admissible

evidence.

       3.     Marriott objects to each interrogatory to the extent that it calls for

production of a privilege log for internal documents of Plaintiff. A request for such a

log is unreasonable and unduly burdensome in light of the work product doctrine and

other privileges protecting such internal documents from discovery.

       4.     Marriott objects to each instruction, definition, and interrogatory

to the extent that it seeks information protected from disclosure by the attorney-client

privilege, attorney work product doctrine, or any other applicable privilege. Should any

such disclosure by Marriott, it is inadvertent and shall not constitute a waiver of any

privilege.

       5.     Marriott objects to each instruction, definition and interrogatory as

overbroad and unduly burdensome to the extent it seeks information that is readily or

more accessible to Ramsey from its own files, from documents or information in its

possession, or from documents or information that Ramsey previously produced to

Marriott. Responding to such interrogatory would be oppressive, unduly burdensome,

and unnecessarily expensive, and the burden of responding to such requests is


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substantially the same or less for Marriott as for Ramsey.

       6.     Marriott objects to each interrogatory to the extent that it is not

proportional to the needs of the case, considering the importance of the issues at stake

in the action, the amount in controversy, the parties' relative access to relevant

information, the parties' resources, the importance of the discovery in resolving the

issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit.

       7.     To the extent any of Ramsey’s interrogatories seek answers that include

expert material, Marriott objects to any such requests as premature and expressly

reserves the right to supplement, clarify, revise, or correct any or all responses to such

requests, and to assert additional objections or privileges, in one or more subsequent

supplemental response(s) in accordance with the time period for exchanging expert

reports set by the Court.

       8.     Marriott incorporates by reference every general objection set forth above

into each specific response set forth below. A specific response may repeat a general

objection for emphasis or some other reason. The failure to include any general

objection in any specific response does not waive any general objection to that request.

Moreover, Marriott does not waive its right to amend its responses.

       9.     Marriott objects to each interrogatory to the extent that it overbroad and

unduly burdensome and oppressive such that the burden and expense of the proposed

discovery outweighs its likely benefits.
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       10.     Marriott objects to each interrogatory to the extent that it seeks

information or documents regarding “each,” “all,” “every” and “any” on the grounds

that it is overbroad and unduly burdensome. Marriott has used reasonable efforts to

provide responses based upon, among other things, examination of documents and files

that may reasonably be expected to contain responsive information.

       11.     Marriott objects to each interrogatory to the extent that it is ambiguous

and too vague to adequately apprise Plaintiff of the information sought or to permit

Plaintiff to furnish such information with reasonable effort.

                OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

       1.      Marriott objects to the Definitions and Instructions to the extent that they are

broader than or otherwise not provided under the Federal Rules of Civil Procedure including the

definition of “Document” as outlined in the Request. Further, to the extent that any Electronically

Stored Information (“ESI”) is sought in this Request or any other, it must be the result of a

negotiated or court ordered ESI protocol identifying the specific nature and scope of such

discovery including custodians and search terms.

       2.      Further, Marriott reserves its right to supplement, amend, clarify, modify, revise,

or correct any or all of its responses or objections to the Request at any time and to rely on other

facts or information that may be discovered in the future in the course of this litigation. These

responses and the information provided are made only for the purposes of discovery in this

action, and nothing contained in its responses are an admission by Marriott of the relevance or

admissibility of any information for any purpose whatsoever including admission into evidence

in the above-styled action.


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       3.      Marriott reserves all objections as to competency, relevance, materiality,

privilege, or admissibility related to the use of the information provided herewith as evidence for

any purpose whatsoever in this action or any other action.

       4.      Generally speaking, a party is not entitled to demand a recitation of “all facts”

bearing on a particular proposition. As one observant jurist noted in the context of contention

interrogatories: “Simply relating that "all facts" are required about a general contention is a lazy

way of propounding an interrogatory which inevitably leads to a lazy response and then

disputes.” Samaan v. Sauer, No. CIV S-07-0960 JAM GGH, 2008 U.S. Dist. LEXIS 119994, at

*12-13 (E.D. Cal. July 16, 2008) (Hollows, J.). As outlined below, the phrasing of the single

request is so overbroad and ambiguous as to fall into this same category.

       5.      Consistent with that principle, Marriott expressly reserve its right to rely upon

additional facts or evidence throughout this proceeding including in dispositive motions or at

trial, and nothing contained herein shall be construed as a waiver of Marriott right to present

such additional facts or evidence in support of their arguments in this action.

                 MARRIOTT’S DEFINITIONS USED IN ITS RESPONSES
               AND OBJECTIONS TO SECOND SET OF INTERROGATORIES


       1.      As used herein, the term “Marriott” means Defendant / Counter-Plaintiff

Marriott Hotel Services, Inc., and each of its subsidiaries, affiliates, parents, predecessors,

successors, divisions, departments, or operating units, including without limitation any

representative of the Gaylord Hotels brand, and includes without limitation their current or

former officers, directors, shareholders, employees, principals, agents, trustees, representatives,

consultants, managers, attorneys, advisors, accountants, bookkeepers, and all Persons or




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entities acting or purporting to act on their behalf, including without limitation Mike

Wainwright, Mike Stengel, John Adams and David Marriott.

       2.      As used herein, the term “Ramsey” means Plaintiff/Counter-Defendant, The

Lampo Group, LLC d/b/a Ramsey Solutions, and each of its subsidiaries, affiliates, parents,

predecessors, successors, divisions, departments, or operating units, and includes without

limitation their current or former officers, directors, shareholders, employees, principals,

agents, trustees, representatives, consultants, managers, attorneys, advisors, accountants,

bookkeepers, and all Persons or entities acting or purporting to act on their behalf.

       3.      As used herein, the term “Litigation” means this litigation, captioned The

Lampo Group d/b/a Ramsey Solutions v. Marriott Hotel Services, Civil Action No.3:20-cv-

00641, in the United States District Court for the Middle District of Tennessee.

       4.      As used herein, “Gaylord Palms” means Gaylord Palms Resort & Convention

Center, located in Kissimmee Florida, and managed by Marriott.

       5.      As used herein, “Gaylord Texan” means Gaylord Texan Resort & Convention

Center, located in Grapevine, Texas, and managed by Marriott.

       6.      As used herein, “Gaylord Rockies” means Gaylord Palms Resort & Convention

Center, located in Aurora, Colorado, and managed by Marriott.

       7.      As used herein, the term “Palms Agreement” refers to that written “Agreement”

attached to the Marriott’s Counterclaim as Exhibit “A,” pursuant to which Ramsey Solutions

was scheduled to hold a contracted event at the Gaylord Palms from May 15-21, 2020.

       8.      As used herein, the term “Palms Amendment” refers to that written

“Amendment” to the Palms Agreement, attached to the Marriott’s Counterclaim as Exhibit




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“B,” pursuant to which the dates for Palms Event were changed from May 15-21, 2020 to July

10-16, 2020.

       9.      As used herein, the term “Palms Contract” refers collectively to the Palms

Agreement and Palms Amendment.

       10.     As used herein, the term “EntreSummit” refers to Ramsey annual event

EntreSummit” as set forth in Paragraph 6 of the FAC.

       11.     As used herein, the term “Palms Event” refers to the contracted EntreSummit

event Ramsey Solutions was scheduled to hold at the Gaylord Palms over the dates July 10-16,

2020, as set forth as Exhibit “B” to Marriott’s Counterclaim.

       12.     As used herein, the term “EntreSummit 2020” refers to the EntreSummit event

that was held at Ramsey Solutions’ headquarters in Franklin, Tennessee, in July 2020.

       13.     As used herein, the term “Texan Contract” refers to that written “Agreement”

attached to the Marriott’s Counterclaim as Exhibit “F,” pursuant to which Ramsey Solutions

was scheduled to hold its EntreSummit at the Gaylord Texan over the dates May 14-20, 2021.

       14.     As used herein, the term “Texan Event” refers to the EntreSummit event

Ramsey Solutions was scheduled to hold at the Gaylord Texan over the dates May 14-20,

2021, as set forth as Exhibit “F” to Marriott’s Counterclaim.

       15.     As used herein, the term “Rockies Contract” refers to that written “Group Sales

Agreement” attached to Marriott’s Counterclaim as Exhibit “I,” pursuant to which Ramsey

Solutions was scheduled to hold its EntreSummit at the Gaylord Rockies over the dates May

20-26, 2022.

       16.     As used herein, the term “Gaylord Agreements” means, collectively, the Palms

Contract, Texan Contract and Rockies Contract.



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       17.     As used herein, the term “Rockies Event” refers to the contracted EntreSummit

event Ramsey Solutions was scheduled to hold at the Gaylord Rockies over the dates May 20 -

26, 2022, as set forth as Exhibit “I” to Marriott’s Counterclaim.

       18.     As used herein, the “FAC” refers to the “First Amended Complaint for

Damages” filed by Ramsey Solutions on or about July 30, 2020.

       19.     As set forth herein, “Marriott’s Counterclaim” refers to Defendant’s Answer

and Counterclaim to Plaintiff’s First Amended Complaint, filed on or about August 28, 2020.

       20.     As used herein, “Answer to Counterclaim” refers to the Answer and Affirmative

Defenses to Counterclaim filed by Ramsey Solutions on or about September 18, 2020.

    RESPONSES AND OBJECTIONS TO SECOND SET OF INTERROGATORIES

        Interrogatory No. 18: Please state with particularity all amounts expended for food and

beverage purchased for the Palms Event as of the termination date by Ramsey Solutions on July

2, 2020 by providing: (1) the amount that You paid; (2) who the amount was paid to; (3) the

specific items paid for; and (4) whether those items of food and/or beverage were used for other

guests or uses at the Gaylord Palms and, if so, identify any actual losses that You incurred in

connection with the food and beverage items.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above. Marriott further objects on the grounds that the request

is not proportional to the needs of the case, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and whether the

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burden or expense of the proposed discovery outweighs its likely benefit. Marriott further

objects to this request to the extent that it calls for the disclosure of information and/or

communications subject to the attorney-client and /or work product privilege. Marriott also

requests to this request on the grounds that it contains multiple sub-parts.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Interrogatory Number 18 is directed at, and only at, actual damages. Because Marriott

is not required to offer any evidence of actual loss in order to enforce the liquidated damage

clauses, the interrogatory is not relevant to the subject matter of the lawsuit and is not reasonably

calculated to lead to the discovery of admissible evidence. For the foregoing reasons, Marriott

will not respond to the substance of this Interrogatory.




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       Interrogatory No. 19: Please state with particularity whether any of the sleeping rooms

allocated for the Palms Event were occupied during the period over which the Palms Event was

to take place by providing: (1) the number of sleeping room nights occupied; (2) the rate for each

room occupied during the period of the Palms Event [as defined in the Amended Complaint],

plus applicable state and local taxes; and (3) any additional revenues that You received from

guests that occupied any of the rooms allocated to the Palms Event including food and beverage

amounts.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege. Marriott also requests to this request on the

grounds that it contains multiple sub-parts.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses


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in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.

       Interrogatory Number 19 is directed at, and only at, actual damages. Because Marriott

is not required to offer any evidence of actual loss in order to enforce the liquidated damage

clauses, the interrogatory is not relevant to the subject matter of the lawsuit and is not reasonably

calculated to lead to the discovery of admissible evidence. For the foregoing reasons, Marriott

will not respond to the substance of this Interrogatory.

         Interrogatory No. 20: Please state with particularity all out of pocket costs that You

incurred in connection with the Palms Event including, without limitation, all employees that

were paid to work at the Palms Event and any amounts that You paid to any third-party vendor

for the Palms Event that were not returned.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

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       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege. Marriott also requests to this request on the

grounds that it contains multiple sub-parts.

       Marriott objects to this request on the grounds that the terms “out of pocket costs” and

“third-party vendor” are too ambiguous and too vague to adequately apprise Marriott of the

information sought or to permit Marriott to furnish such information with reasonable effort.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

        The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.

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       Interrogatory Number 20 is directed at, and only at, actual damages. Because Marriott

is not required to offer any evidence of actual loss in order to enforce the liquidated damage

clauses, the interrogatory is not relevant to the subject matter of the lawsuit and is not reasonably

calculated to lead to the discovery of admissible evidence. For the foregoing reasons, Marriott

will not respond to the substance of this Interrogatory.

       Interrogatory No. 21: Please state with particularity each element of Actual Damage that

You sustained as a result of Ramsey Solutions’ termination of the Palms Event.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In


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responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Interrogatory Number 21 is directed at, and only at, actual damages. Because Marriott

is not required to offer any evidence of actual loss in order to enforce the liquidated damage

clauses, the interrogatory is not relevant to the subject matter of the lawsuit and is not reasonably

calculated to lead to the discovery of admissible evidence. For the foregoing reasons, Marriott

will not respond to the substance of this Interrogatory.

       Interrogatory No. 22: Please state with particularity whether any of the sleeping rooms

allocated for the Texans Event were sold during the period over which the Texans Event was to

take place by providing: (1) the number of sleeping room nights occupied; (2) the rate for each

room occupied during the period of the Texans Event [as defined in the Amended Complaint],

plus applicable state and local taxes; and (3) any additional revenues that You received from

guests that occupied any of the rooms allocated to the Texans Event including food and beverage

amounts.

       Response:

       Marriott objects to this request in its entirety.




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       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege. Marriott also requests to this request on the

grounds that it contains multiple sub-parts.

        Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

        The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.



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       Interrogatory Number 22 is directed at, and only at, actual damages. Because Marriott

is not required to offer any evidence of actual loss in order to enforce the liquidated damage

clauses, the interrogatory is not relevant to the subject matter of the lawsuit and is not reasonably

calculated to lead to the discovery of admissible evidence. For the foregoing reasons, Marriott

will not respond to the substance of this Interrogatory.

       Interrogatory No. 23: Please state with particularity all out of pocket costs that You

incurred in connection with the Texans Event including, without limitation, all employees that

You paid to work at the Texans Event and any amounts that You paid to any third-party vendor

for the Texans Event.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege. Marriott also requests to this request on the

grounds that it contains multiple sub-parts.




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       Marriott objects to this request on the grounds that the terms “out of pocket costs” and

“third-party vendor” are too ambiguous and too vague to adequately apprise Marriott of the

information sought or to permit Marriott to furnish such information with reasonable effort.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Interrogatory Number 23 is directed at, and only at, actual damages. Because Marriott

is not required to offer any evidence of actual loss in order to enforce the liquidated damage

clauses, the interrogatory is not relevant to the subject matter of the lawsuit and is not reasonably

calculated to lead to the discovery of admissible evidence. For the foregoing reasons, Marriott

will not respond to the substance of this Interrogatory.




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       Interrogatory No. 24: Please state with particularity each element of Actual Damage that

You sustained as a result of Ramsey Solutions’ termination of the Texans Event including any

variable costs incurred.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.




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       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Interrogatory Number 24 is directed at, and only at, actual damages. Because Marriott

is not required to offer any evidence of actual loss in order to enforce the liquidated damage

clauses, the interrogatory is not relevant to the subject matter of the lawsuit and is not reasonably

calculated to lead to the discovery of admissible evidence. For the foregoing reasons, Marriott

will not respond to the substance of this Interrogatory.

       Interrogatory No. 25: Please identify Your average gross incremental profit margin on

the total rooms allocated to Ramsey Solutions for the EntreSummit Events at the (1) Gaylord

Palms; (2) the Gaylord Texan and (3) the Gaylord Rockies.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

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extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege. Marriott also requests to this request on the

grounds that it contains multiple sub-parts.

       Marriott objects to this request on the grounds that the term “average gross incremental

profit margin” is too ambiguous and too vague to adequately apprise Marriott of the information

sought or to permit Marriott to furnish such information with reasonable effort.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Interrogatory Number 25 is directed at, and only at, actual damages. Because Marriott

is not required to offer any evidence of actual loss in order to enforce the liquidated damage

clauses, the interrogatory is not relevant to the subject matter of the lawsuit and is not reasonably




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calculated to lead to the discovery of admissible evidence. For the foregoing reasons, Marriott

will not respond to the substance of this Interrogatory.

                                              Respectfully submitted,

                                              /s/ John C. Josefsberg
                                              Steven M. Rudner, admitted pro hac vice
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                                              Counsel for Marriott Hotel Services, Inc.
                                              and Marriott International, Inc.




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                             CERTIFICATE OF SERVICE


       I certify that on, this 6th day of August 2021, I served this document via email (by

agreement of counsel) on:


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                                                 /s/ John C. Josefsberg




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                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

THE LAMPO GROUP, LLC d/b/a                )
RAMSEY SOLUTIONS,                         )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )                    Case No. 3:20-cv-00641
                                          )                    Hon. Aleta A. Trauger
MARRIOTT HOTEL SERVICES, INC.,            )
                                          )                    JURY DEMAND
      Defendant.                          )
__________________________________________)
MARRIOTT HOTEL SERVICES, INC.,            )
                                          )
      Counter-Plaintiff,                  )
                                          )
v.                                        )
                                          )
THE LAMPO GROUP, LLC d/b/a                )
RAMSEY SOLUTIONS,                         )
                                          )
      Counter-Defendant.                  )

                      MARRIOTT’S RESPONSES AND OBJECTIONS
                  TO RAMSEY’S SECOND REQUEST FOR PRODUCTION

       Defendant / Counter-Plaintiff Marriott Hotel Services, Inc. (“Marriott”) serves its

responses and objections pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure,

to the Second Request for Production of Plaintiff / Counter-Defendant The Lampo Group, LLC

d/b/a Ramsey Solution (“Ramsey”).

                                 PRELIMINARY STATEMENT

       1.      Marriott’s investigation and development of all facts and circumstances relating

to this action is ongoing. These responses and objections are made without prejudice to, and are

not a waiver of, Marriott’s right to rely on other facts or documents at trial.

                                                 1

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       2.      By making the accompanying responses and objections to Ramsey’s requests for

documents, Marriott does not waive, and hereby expressly reserves, its right to assert any and all

objections as to the admissibility of such responses into evidence in this action, or in any other

proceedings, on any and all grounds including, but not limited to, competency, relevancy,

materiality, and privilege. Further, Marriott makes the responses and objections herein without

in any way implying that it considers the requests, and responses to the requests, to be relevant

or material to the subject matter of this action.

       3.      Marriott will produce responsive documents only to the extent that such

documents are in the “Possession, Custody, or Control” of Marriott. For purposes of these

responses, the term “Possession, Custody or Control” does not include documents that may have

been destroyed due to and consistent with Marriott’s document retention policy, which has been

configured to automatically purge all messages located in Outlook inboxes, drafts, sent items,

deleted, notes and junk older than one year.

       Marriott's Possession, Custody, or Control does not include any constructive possession

that may be conferred by Marriott's right or power to compel the production of documents or

information from third parties or to request their production.

        4.     In a response to a document request stating that objections and/or indicating that

documents will be produced shall not be deemed or construed that there are, in fact, responsive

documents, that Marriott performed any of the acts described in the document request or

definitions and/or instructions applicable to the document request, or that Marriott acquiesces in

the characterization of the conduct or activities contained in the document request or definitions

and/or instructions applicable to the document request.




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       5.      Marriott expressly reserves the right to supplement, clarify, revise, or correct any

or all of the responses and objections herein, and to assert additional objections or privileges, in

one or more subsequent supplemental response(s).

                                   GENERAL OBJECTIONS
       1.      Marriott objects to each instruction, definition and document request to the

extent that it purports to impose any requirement or discovery obligation greater than or

different from those under the Federal Rules of Civil Procedure and the applicable Rules and

Orders of the Court.

       2.      Marriott objects to each document request that is overly broad, unduly

burdensome, or not reasonably calculated to lead to the discovery of admissible evidence.

       4.      Marriott objects to each instruction, definition, and document request

to the extent that it seeks documents protected from disclosure by the attorney-client privilege,

attorney work product doctrine, or any other applicable privilege. Should any such disclosure

by Marriott, it is inadvertent and shall not constitute a waiver of any privilege.

       5.      Marriott objects to each instruction, definition and document request as

overbroad and unduly burdensome to the extent it seeks documents or information that are

readily or more accessible to Ramsey from its own files, from documents or information in its

possession, or from documents or information that Ramsey previously produced to Marriott.

Responding to such requests would be oppressive, unduly burdensome, and unnecessarily

expensive, and the burden of responding to such requests is substantially the same or less for

Marriott as for Ramsey.

       6.      Marriott objects to each document request to the extent that it is not proportional


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to the needs of the case, considering the importance of the issues at stake in the action, the

amount in controversy, the parties' relative access to relevant information, the parties'

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit.

       7.      To the extent any of Ramsey’s document requests seek documents or answers

that include expert material, Marriott objects to any such requests as premature and expressly

reserves the right to supplement, clarify, revise, or correct any or all responses to such requests,

and to assert additional objections or privileges, in one or more subsequent supplemental

response(s) in accordance with the time period for exchanging expert reports set by the Court.

       8.      Marriott incorporates by reference every general objection set forth above into

each specific response set forth below. A specific response may repeat a general objection for

emphasis or some other reason. The failure to include any general objection in any specific

response does not waive any general objection to that request. Moreover, Marriott does not

waive its right to amend its responses.

       9.      Marriott objects to each document request to the extent that it overbroad and

unduly burdensome and oppressive such that the burden and expense of the proposed discovery

outweighs its likely benefits.

       10.     Marriott objects to each document request to the extent that it seeks information

or documents regarding “each,” “all,” “every” and “any” on the grounds that it is overbroad

and unduly burdensome. Marriott has used reasonable efforts to provide responses based upon,

among other things, examination of documents and files that may reasonably be expected to

contain responsive information.


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       11.     Marriott objects to each document request to the extent that it is ambiguous and

too vague to adequately apprise Plaintiff of the information sought or to permit Plaintiff to

furnish such information with reasonable effort.

                  OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

       1.      Marriott objects to the Definitions and Instructions to the extent that they are

broader than or otherwise not provided under the Federal Rules of Civil Procedure including the

definition of “Document” as outlined in the Request. Further, to the extent that any Electronically

Stored Information (“ESI”) is sought in this Request or any other, it must be the result of a

negotiated or court ordered ESI protocol identifying the specific nature and scope of such

discovery including custodians and search terms.

       2.      Further, Marriott reserves its right to supplement, amend, clarify, modify, revise,

or correct any or all of its responses or objections to the Request at any time and to rely on other

facts or information that may be discovered in the future in the course of this litigation. These

responses and the information provided are made only for the purposes of discovery in this

action, and nothing contained in its responses are an admission by Marriott of the relevance or

admissibility of any information for any purpose whatsoever including admission into evidence

in the above-styled action.

       3.      Marriott reserves all objections as to competency, relevance, materiality,

privilege, or admissibility related to the use of the information provided herewith as evidence for

any purpose whatsoever in this action or any other action.

       4.      Generally speaking, a party is not entitled to demand a recitation of “all facts”

bearing on a particular proposition. As one observant jurist noted in the context of contention

interrogatories: “Simply relating that "all facts" are required about a general contention is a lazy


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way of propounding an interrogatory which inevitably leads to a lazy response and then

disputes.” Samaan v. Sauer, No. CIV S-07-0960 JAM GGH, 2008 U.S. Dist. LEXIS 119994, at

*12-13 (E.D. Cal. July 16, 2008) (Hollows, J.). As outlined below, the phrasing of the single

request is so overbroad and ambiguous as to fall into this same category.

       5.      Consistent with that principle, Marriott expressly reserve its right to rely upon

additional facts or evidence throughout this proceeding including in dispositive motions or at

trial, and nothing contained herein shall be construed as a waiver of Marriott right to present

such additional facts or evidence in support of their arguments in this action.

                     MARRIOTT’S DEFINITIONS USED IN ITS RESPONSES
                    AND OBJECTIONS TO SECOND REQUEST TO PRODUCE


       1.      As used herein, the term “Marriott” means Defendant / Counter-Plaintiff

Marriott Hotel Services, Inc., and each of its subsidiaries, affiliates, parents, predecessors,

successors, divisions, departments, or operating units, including without limitation any

representative of the Gaylord Hotels brand, and includes without limitation their current or

former officers, directors, shareholders, employees, principals, agents, trustees, representatives,

consultants, managers, attorneys, advisors, accountants, bookkeepers, and all Persons or

entities acting or purporting to act on their behalf, including without limitation Mike

Wainwright, Mike Stengel, John Adams and David Marriott.

       2.      As used herein, the term “Ramsey” means Plaintiff/Counter-Defendant, The

Lampo Group, LLC d/b/a Ramsey Solutions, and each of its subsidiaries, affiliates, parents,

predecessors, successors, divisions, departments, or operating units, and includes without

limitation their current or former officers, directors, shareholders, employees, principals,




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agents, trustees, representatives, consultants, managers, attorneys, advisors, accountants,

bookkeepers, and all Persons or entities acting or purporting to act on their behalf.

       3.      As used herein, the term “Litigation” means this litigation, captioned The

Lampo Group d/b/a Ramsey Solutions v. Marriott Hotel Services, Civil Action No.3:20-cv-

00641, in the United States District Court for the Middle District of Tennessee.

       4.      As used herein, “Gaylord Palms” means Gaylord Palms Resort & Convention

Center, located in Kissimmee Florida, and managed by Marriott.

       5.      As used herein, “Gaylord Texan” means Gaylord Texan Resort & Convention

Center, located in Grapevine, Texas, and managed by Marriott.

       6.      As used herein, “Gaylord Rockies” means Gaylord Palms Resort & Convention

Center, located in Aurora, Colorado, and managed by Marriott.

       7.      As used herein, the term “Palms Agreement” refers to that written “Agreement”

attached to the Marriott’s Counterclaim as Exhibit “A,” pursuant to which Ramsey Solutions

was scheduled to hold a contracted event at the Gaylord Palms from May 15-21, 2020.

       8.      As used herein, the term “Palms Amendment” refers to that written

“Amendment” to the Palms Agreement, attached to the Marriott’s Counterclaim as Exhibit

“B,” pursuant to which the dates for Palms Event were changed from May 15-21, 2020 to July

10-16, 2020.

       9.      As used herein, the term “Palms Contract” refers collectively to the Palms

Agreement and Palms Amendment.

       10.     As used herein, the term “EntreSummit” refers to Ramsey annual event

EntreSummit” as set forth in Paragraph 6 of the FAC.




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       11.     As used herein, the term “Palms Event” refers to the contracted EntreSummit

event Ramsey Solutions was scheduled to hold at the Gaylord Palms over the dates July 10-16,

2020, as set forth as Exhibit “B” to Marriott’s Counterclaim.

       12.     As used herein, the term “EntreSummit 2020” refers to the EntreSummit event

that was held at Ramsey Solutions’ headquarters in Franklin, Tennessee, in July 2020.

       13.     As used herein, the term “Texan Contract” refers to that written “Agreement”

attached to the Marriott’s Counterclaim as Exhibit “F,” pursuant to which Ramsey Solutions

was scheduled to hold its EntreSummit at the Gaylord Texan over the dates May 14-20, 2021.

       14.     As used herein, the term “Texan Event” refers to the EntreSummit event

Ramsey Solutions was scheduled to hold at the Gaylord Texan over the dates May 14-20,

2021, as set forth as Exhibit “F” to Marriott’s Counterclaim.

       15.     As used herein, the term “Rockies Contract” refers to that written “Group Sales

Agreement” attached to Marriott’s Counterclaim as Exhibit “I,” pursuant to which Ramsey

Solutions was scheduled to hold its EntreSummit at the Gaylord Rockies over the dates May

20-26, 2022.

       16.     As used herein, the term “Gaylord Agreements” means, collectively, the Palms

Contract, Texan Contract and Rockies Contract.

       17.     As used herein, the term “Rockies Event” refers to the contracted EntreSummit

event Ramsey Solutions was scheduled to hold at the Gaylord Rockies over the dates May 20 -

26, 2022, as set forth as Exhibit “I” to Marriott’s Counterclaim.

       18.     As used herein, the “FAC” refers to the “First Amended Complaint for

Damages” filed by Ramsey Solutions on or about July 30, 2020.




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       19.     As set forth herein, “Marriott’s Counterclaim” refers to Defendant’s Answer

and Counterclaim to Plaintiff’s First Amended Complaint, filed on or about August 28, 2020.

       20.     As used herein, “Answer to Counterclaim” refers to the Answer and Affirmative

Defenses to Counterclaim filed by Ramsey Solutions on or about September 18, 2020.

        RESPONSES AND OBJECTIONS TO SECOND REQUEST TO PRODUCE

       Request No. 1: All Documents evidencing the occupancy of the Gaylord Palms between

July 8, 2020 and July 14, 2020 including documents evidencing the number of rooms in the hotel

by room type, the number of rooms in the hotel sold during that period, the type of room and the

room rate for each room and the total room nights used during that period.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above. Marriott further objects on the grounds that the request

is not proportional to the needs of the case, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and whether the

burden or expense of the proposed discovery outweighs its likely benefit. Marriott further

objects to this request to the extent that it calls for the disclosure of information and/or

communications subject to the attorney-client and /or work product privilege.

       Marriott objects to this request on the grounds that the term “room type” is too ambiguous

and too vague to adequately apprise Marriott of the information sought or to permit Marriott to




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furnish such information with reasonable effort. It is unclear whether the request is referring to

guest rooms, or another type of “room.”

       Marriott objects to this request on the grounds that it is not relevant to the subject matter

of the lawsuit and is not reasonably calculated to lead to the discovery of admissible evidence.

The Palms Event was scheduled to occur July 10-15, 2020. July 8 and 9, 2020, has no

conceivable relevance to the subject matter of the litigation and is not reasonably calculated to

lead to the discovery of admissible evidence

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 1 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to


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lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 2: All Documents evidencing the cost of any food and beverage You

purchased exclusively for the EntreSummit2020 as of July 2, 2020.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. It may be extremely burdensome to determine,

if it is even possible, what food items were purchased “exclusively” for the event.

       Marriott further objects to this request to the extent that it calls for the disclosure of

information and/or communications subject to the attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In



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responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 2 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

         Request No. 3:     All Documents evidencing the cost of any food and beverage You

purchased for the EntreSummit2020 event that was not used by the Gaylord Palms.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the



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importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott objects to this request on the grounds that the term “not used” is too ambiguous

and too vague to adequately apprise Marriott of the information sought or to permit Marriott to

furnish such information with reasonable effort.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 3 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to


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lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 4: All Documents evidencing any employees or independent contractors

that You hired exclusively for the EntreSummit2020 Event including documents showing the

amounts that You paid such employees or independent contractors, and any refunds and/or

credits extended.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott objects to this request on the grounds that the term “independent contractors” is

too ambiguous and too vague to adequately apprise Marriott of the information sought or to

permit Marriott to furnish such information with reasonable effort.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

                                                  14

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in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 4 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 5: All Documents evidencing all out of pockets costs that You incurred for

the EntreSummit2020 event that You were not able to re-sell, obtain a refund or otherwise utilize

at the Gaylord Palms and/or with other guests.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.



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       Marriott objects to this request on the grounds that the term “out of pocket costs” is too

ambiguous and too vague to adequately apprise Marriott of the information sought or to permit

Marriott to furnish such information with reasonable effort.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

        Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

        The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.



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       Request Number 5 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 6: All Documents evidencing any actual damages that You suffered by

Ramsey Solutions termination of the EntreSummit2020 event at the Gaylord Palms.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

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Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 6 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 7:     All Documents evidencing any actual damages that You suffered by

Ramsey Solutions termination of the EntreSummit2020 event at the Gaylord Texan.

       Response:

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in



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controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that “EntreSummit2020” was not

held at the Gaylord Texan in 2021. For purposes of this response, Marriott assumes Ramsey

made a drafting error and intended “EntreSummit2021.”

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 7 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,


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the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 8: All Documents evidencing any actual damages that You suffered by

Ramsey Solutions termination of the EntreSummit2020 event at the Gaylord Rockies.

       Response: Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that “EntreSummit2020” was not

held at the Gaylord Rockies in 2022. For purposes of this response, Marriott assumes Ramsey

made a drafting error and intended “EntreSummit2022.”

       Marriott further objects to this request on the grounds that the dates of EntreSummit2022

have not passed. Accordingly, it is premature for Marriott to determine actual damages until the

event dates pass.



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       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 8 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 9: All Documents evidencing Your response to Interrogatory Number 18.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.




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        Marriott fully incorporates its responses and objections to Interrogatory Number 18 as if

fully set forth herein.

        Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

         Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.




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        Request Number 9 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

        Request No. 10: All Documents evidencing Your response to Interrogatory Number 19.

        Marriott objects to this request in its entirety.

        Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

        Marriott fully incorporates its responses and objections to Interrogatory Number 19 as if

fully set forth herein.

        Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

         Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

                                                  23

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Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.

        Request Number 10 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

        Request No. 11: All Documents evidencing Your response to Interrogatory Number 20.

        Marriott objects to this request in its entirety.

        Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

        Marriott fully incorporates its responses and objections to Interrogatory Number 20 as if

fully set forth herein.

        Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in



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  Case 3:20-cv-00641 Document 76-1 Filed 12/01/21 Page 76 of 190 PageID #: 1389
controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

         Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 11 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.



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        Request No. 12: All Documents evidencing Your response to Interrogatory Number 21.

        Marriott objects to this request in its entirety.

        Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

        Marriott fully incorporates its responses and objections to Interrogatory Number 21 as if

fully set forth herein.

        Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

         Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

                                                  26

  Case 3:20-cv-00641 Document 76-1 Filed 12/01/21 Page 78 of 190 PageID #: 1391
subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.

        Request Number 12 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

        Request No. 13: All Documents evidencing Your response to Interrogatory Number 22.

        Marriott objects to this request in its entirety.

        Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

        Marriott fully incorporates its responses and objections to Interrogatory Number 22 as if

fully set forth herein.

        Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.



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         Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 13 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 14: All Documents evidencing Your response to Interrogatory Number 23.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.




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        Marriott fully incorporates its responses and objections to Interrogatory Number 23 as if

fully set forth herein.

        Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

         Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.




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        Request Number 14 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

        Request No. 15: All Documents evidencing Your response to Interrogatory Number 24.

        Marriott objects to this request in its entirety.

        Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

        Marriott fully incorporates its responses and objections to Interrogatory Number 24 as if

fully set forth herein.

        Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

         Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

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Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.

        Request Number 15 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

        Request No. 16: All Documents evidencing Your response to Interrogatory Number 25.

        Marriott objects to this request in its entirety.

        Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

        Marriott fully incorporates its responses and objections to Interrogatory Number 25 as if

fully set forth herein.

        Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in



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  Case 3:20-cv-00641 Document 76-1 Filed 12/01/21 Page 83 of 190 PageID #: 1396
controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

         Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

         The deadline to file a motion to amend the pleadings passed on December 15, 2020.

See Initial Case Management Order Section “G.” This deadline has not been modified by

subsequent court order. Because Ramsey failed to raise an affirmative defense that the liquidated

damage clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense

has been waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 16 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.



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       Request No. 17: All Documents evidencing all out of pockets costs that You incurred

for the EntreSummit2021 event that You were not able to re-sell, obtain a refund or otherwise

utilize at the Gaylord Texans and/or with other guests.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott objects to this request on the grounds that the term “out of pocket costs” is too

ambiguous and too vague to adequately apprise Marriott of the information sought or to permit

Marriott to furnish such information with reasonable effort.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In




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responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 17 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 18: All Documents evidencing Your average gross profit margin,

incremental profit margin and net profit margin per room night, and type, for all rooms at the

Gaylord Palms in July of 2020.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott objects to this request on the grounds that the terms “average gross profit

margin,” “incremental profit margin” and “net profit margin” are too ambiguous and too vague

to adequately apprise Marriott of the information sought or to permit Marriott to furnish such

information with reasonable effort.

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       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 18 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to



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lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 19: All Documents evidencing Your average gross profit margin,

incremental profit margin and net profit margin per room night by room type, and type, for all

rooms at the Gaylord Texans in May of 2021.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott objects to this request on the grounds that the terms “average gross profit

margin,” “incremental profit margin” and “net profit margin” are too ambiguous and too vague

to adequately apprise Marriott of the information sought or to permit Marriott to furnish such

information with reasonable effort.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

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in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 19 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 20: All Documents evidencing any vendors that you retained for the

EntreSummit 2020 who You paid any non-reimbursed amounts.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

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  Case 3:20-cv-00641 Document 76-1 Filed 12/01/21 Page 89 of 190 PageID #: 1402
importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 20 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.




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        Request No. 21: All Documents evidencing any vendors that you retained for the

EntreSummit 2021 who You paid any non-reimbursed amounts.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage


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clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 21 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 22: All Documents evidencing any vendors that you retained for the

EntreSummit 2022 who You paid any non-reimbursed amounts.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that the dates of EntreSummit2022

have not passed. Accordingly, it is premature for Marriott to determine actual damages until the

event dates pass.

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       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 22 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 23: All Documents evidencing efforts that You made to sell the rooms

earmarked for the EntreSummit 2020 event.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.


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       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott objects to this request on the grounds that the term “earmarked” is too

ambiguous and too vague to adequately apprise Marriott of the information sought or to permit

Marriott to furnish such information with reasonable effort.

       Marriott further objects to this request on the grounds that it is virtually impossible to

identify all of the attempts it took to resell contracted rooms set aside for Ramsey’s use. A full

and complete response would require Marriott to identify and produce virtually every written

and oral communication, and every act, regardless of by whom it was performed, relating to

every effort to sell every room in the Gaylord Palms’ available room inventory.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.




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       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 23 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 24: All Documents evidencing efforts that You made to sell the rooms

earmarked for the EntreSummit 2021 event.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.


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       Marriott objects to this request on the grounds that the term “earmarked” is too

ambiguous and too vague to adequately apprise Marriott of the information sought or to permit

Marriott to furnish such information with reasonable effort.

       Marriott further objects to this request on the grounds that it is virtually impossible to

identify all of the attempts it took to resell contracted rooms set aside for Ramsey’s use. A full

and complete response would require Marriott to identify and produce virtually every written

and oral communication, and every act, regardless of by whom it was performed, relating to

every effort to sell every room in the Gaylord Texan’s available room inventory.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 24 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,


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the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 25: All Documents evidencing efforts that You made to sell the rooms

earmarked for the EntreSummit 2022 event.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott objects to this request on the grounds that the term “earmarked” is too

ambiguous and too vague to adequately apprise Marriott of the information sought or to permit

Marriott to furnish such information with reasonable effort.

       Marriott further objects to this request on the grounds that it is virtually impossible to

identify all of the attempts it took to resell contracted rooms set aside for Ramsey’s use. A full

and complete response would require Marriott to identify and produce virtually every written



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and oral communication, and every act, regardless of by whom it was performed, relating to

every effort to sell every room in the Gaylord Texan’s available room inventory.

       Marriott further objects to this request on the grounds that the dates of EntreSummit 2022

have not passed. Accordingly, it is premature for Marriott to determine actual damages until the

event dates pass.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 25 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.


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  Case 3:20-cv-00641 Document 76-1 Filed 12/01/21 Page 98 of 190 PageID #: 1411
       Request No. 26: All Documents evidencing any funds or deposits paid that You paid to

any third-party vendor relating to the Palms Event.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott objects to this request on the grounds that the term “third-party vendor” is too

ambiguous and too vague to adequately apprise Marriott of the information sought or to permit

Marriott to furnish such information with reasonable effort.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.


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       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 26 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 27: All Documents evidencing whether any third-party services that You

contracted for relating to the Palms Event were otherwise used and, if so, any compensation or

reimbursement You received.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the




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extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

          Marriott objects to this request on the grounds that the words “any compensation or

reimbursement You received” are too ambiguous and too vague to adequately apprise Marriott

of the information sought or to permit Marriott to furnish such information with reasonable

effort.

          Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

          The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

          Request Number 27 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to




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lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 28: All Documents evidencing the number of rooms booked at Your facility

on July 3, 2020 excluding any rooms booked for the EntreSummit 2020 event.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott objects to this request on the grounds that the term “Your facility” is too

ambiguous and too vague to adequately apprise Marriott of the information sought or to permit

Marriott to furnish such information with reasonable effort.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. The number of rooms booked at the Gaylord Palms on July 3 2020, excluding any

rooms booked for the EntreSummit 2020 event, has no conceivable relevance to the subject



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matter of the litigation and is not reasonably calculated to lead to the discovery of admissible

evidence.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 28 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 29: All Documents evidencing the number of rooms booked at Your facility

on July 3, 2020 for the EntreSummit 2020 event.

       Marriott objects to this request in its entirety.


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       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott objects to this request on the grounds that the term “Your facility” is too

ambiguous and too vague to adequately apprise Marriott of the information sought or to permit

Marriott to furnish such information with reasonable effort.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage


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clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 29 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to

lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       Request No. 30: All documents evidencing Your average gross profit margin,

incremental profit margin and net profit margin monthly, yearly, quarterly for the Gaylord Palms

in 2019, 2020 and 2021.

       Marriott objects to this request in its entirety.

       Marriott fully incorporates and reasserts its General Objections and Objections To

Definitions And Instructions from above.

       Marriott objects to this request on the grounds that the terms “average gross profit

margin,” “incremental profit margin” and “net profit margin” are too ambiguous and too vague

to adequately apprise Marriott of the information sought or to permit Marriott to furnish such

information with reasonable effort.

       Marriott further objects on the grounds that the request is not proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant information, the parties' resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. Marriott further objects to this request to the

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extent that it calls for the disclosure of information and/or communications subject to the

attorney-client and /or work product privilege.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. Financial information for the Gaylord Palms, for periods after the Palms Event was

to have taken place, has no conceivable relevance to the subject matter of the litigation and is

not reasonably calculated to lead to the discovery of admissible evidence.

       Marriott further objects to this request on the grounds that it is not relevant to the subject

matter of the lawsuit and is not reasonably calculated to lead to the discovery of admissible

evidence. In order to preserve any challenge to the enforceability of liquidated damage clauses

in the Gaylord Agreements, Ramsey was required to assert, as an affirmative defense in its

Answer to Counterclaim, that liquidated damages are unenforceable. Fed. R. Civ. P. 8(c)(1) (“In

responding to a pleading a party must affirmatively state any avoidance or affirmative defense”).

Ramsey failed to do so.

       The deadline to file a motion to amend the pleadings passed on December 15, 2020. See

Initial Case Management Order Section “G.” This deadline has not been modified by subsequent

court order. Because Ramsey failed to raise an affirmative defense that the liquidated damage

clauses contained in the Gaylord Agreements are unenforceable, the affirmative defense has been

waived and the amount of actual damages suffered by Marriott is irrelevant.

       Request Number 30 is directed at, and only at, actual damages. Because Marriott is not

required to offer any evidence of actual loss in order to enforce the liquidated damage clauses,

the request is not relevant to the subject matter of the lawsuit and is not reasonably calculated to


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lead to the discovery of admissible evidence. For the foregoing reasons, Marriott will not

respond to the substance of this request.

       DATED THIS 10th day of August, 2021.

                                            RUDNER LAW OFFICES


                                            /s/ John C. Josefsberg
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                                            John C. Josefsberg, admitted pro hac vice
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                                            Counsel for Marriott Hotel Services, Inc.
                                            and Marriott International, Inc.




                                             55

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                               CERTIFICATE OF SERVICE


       I certify that on, this 10th day of August 2021, I served this document via email (by

agreement of counsel) on:


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                                                  /s/ John C. Josefsberg




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              COMPOSITE
               Exhibit “C”




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                                                       RUDNER                 LAW     OFFICES




John C. Josefsberg
Partner                                                       October 12, 2021


          Via First Class U.S. Mail and
          email to jennifer.altman@pillsburylaw.com
          Ms. Jennifer Altman, Esq.
          Pillsbury Winthrop Shaw Pittman LLP
          600 Brickell Avenue, Suite 3100
          Miami, FL 33131

                     Re:       The Lampo Group d/b/a Ramsey Solutions v. Marriott Hotel Services. Inc.

           Dear Jennifer:

                      This letter will serve as Marriott's attempt to meet and confer regarding its objections to
                                                                                                        to
           the “Schedule of Topics” (“Topic” or “Topics”) set forth in Ramsey’s Notice of Rule 30(b)(6)
           Marriott. We set forth below the following Topics followed by Marriott’ s response s and
           objections.

                                                                        TOPICS

                      LL        Marriott’s experience as the venue for live events or groups bookings for Ramsey
           Solutions prior to the scheduled Palms Event including its understanding of the nature of the
           events that Ramsey Solutions holds, Ramsey Solutions clientele, the requirements in terms of
           how the events are hosted, the purpose of the events and the amenities required.

                    Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
            matter of the litigation and not reasonably calculated to lead to the discovery of admissible
            evidence.

                    Ramsey's claims are based on terminating the Gaylord Agreements under the following
            contract clauses: (1) Force majeure / Illegality; (2) “For Cause Termination Provision”; (3)
            “Performance Clause”; and (4) Additional Impossibility. In addition, Ramsey’s Amended
            Complaint includes a count for breach of contract based on Marriott’s alleged failure to return
            approximately $1.2 million in deposits Ramsey paid to Marriott under the Palms Agreement.

                   Marriott’s counterclaim contains a single count to recover liquidated damages arising out
            of Ramsey’s termination of the Gaylord Agreements.

                     In its answer and affirmative              defenses, Ramsey has asserted the following affirmative
            defenses: (1) prior material breach;               (2) anticipatory breach; (3) failure to fulfil conditions
            precedent; (4) Ramsey acted within                 the terms of the Gaylord Agreements; (5) unilateral
            alterations of the Palms Agreement;                 (6) Marriott’s modifications “voided” the Palms Agreement;

            12740 Hillcrest Road . Suite 240, Dallas   Texas 75230 . Direct 214.587.0108 . Main 214.373.1900 . email. josefsbera@hotellawyers.com
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                                            John C. Josefsberg is admitted in Arizona, California, Florida and Texas
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    (7) Marriott materially altered the Palms Agreement and thus anticipatorily breached the
    agreement; (8) Marriott materially changed the terms of the Palms Agreement and thus rendered
    the agreement invalid; (9) Marriott cannot enforce the Gaylord agreements as a result of implied
    waiver and estoppel; (10); sudden emergency doctrine; (11) force majeure and impossibility of
    performance; (12); Ramsey’s performance was waived due to Marriott’s material changes to the
    Palms Agreement; (13) illegality; (14) Ramsey’s right to terminate the Gaylord Agreements
    under the For Cause Termination Provision of the Gaylord Agreements; (15) Unclean hands;
    (16) failure of consideration; and (17) failure to state a claim.

             Topic One is objectionable in its entirety because it is completely irrelevant to any of the
    (above described) claims and defenses asserted by the parties and is not reasonably calculated to
    the discovery of admissible evidence.

            Marriott further objects because the phrase “Marriott’s experience as the venue for live
    events” is vague, ambiguous and undefined.

            Marriott further objects because the phrase “groups bookings for Ramsey Solutions prior
    to the scheduled Palms Event” is vague, ambiguous and undefined. The request does not define
    what it a “group booking” is or identifying which, if any, “group bookings” that Ramsey
    Solutions is referring to.

            Marriott further objects that the term “understanding of the nature of . .. Ramsey
    Solutions clientele” is vague, ambiguous and undefined.

           Marriott further objects that the phrase “understanding of the requirements in terms of
    how the events are hosted” is vague, ambiguous and undefined.”

              Marriott further objects that the phrase “understanding of the ... purpose of the events .
     . 1s vague, ambiguous and undefined.”

              Marriott further objects that the phrase “understanding of the . .. purpose of the events .
     . is vague, ambiguous and undefined.”

            Marriott further objects on the grounds that term “the amenities required” is vague,
     ambiguous and undefined.

             Marriott further objects to the extent that the Topic seeks information protected by the
     attorney-client and/ or work-product privilege.



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            Without waiving the foregoing objections, Marriott will produce a corporate
    representative to provide non-privileged testimony regarding this Topic.

             2          The substance of the communication that occurred during the telephone
    conference between Michael Stengel, Michael Wainwright and others on behalf of the
    Marriott/Gaylord Palms, on the one hand, and Dave Ramsey and others from Ramsey Solutions,
    on the other, during a July 2, 2020 telephone conference regarding the Palms Event.

            Response: Marriott will produce a corporate representative to testify about non-
    privileged communications regarding this Topic.

            3.     The number of groups that Gaylord Palms had booked for July of 2020 other than
    the Palms Event as of January 1, 2020.

              Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence.

            Ramsey’s claims are based on terminating the Gaylord Agreements under the following
    contract clauses: (1) Force majeure / Illegality; (2) “For Cause Termination Provision”; (3)
    “Performance Clause™; and (4) Additional Impossibility. In addition, Ramsey’s Amended
    Complaint includes a count for breach of contract based on Marriott’s alleged failure to return
    approximately $1.2 million in deposits Ramsey paid to Marriott under the Palms Agreement.

           Marriott’s counterclaim contains a single count to recover liquidated damages arising out
    of Ramsey’s termination of the Gaylord Agreements.

             In its answer and affirmative defenses, Ramsey has asserted the following affirmative
    defenses: (1) prior material breach; (2) anticipatory breach; (3) failure to fulfil conditions
    precedent; (4) Ramsey acted within the terms of the Gaylord Agreements; (5) unilateral
    alterations of the Palms Agreement; (6) Marriott’s modifications “voided” the Palms Agreement;
    (7) Marriott materially altered the Palms Agreement and thus anticipatorily breached the
    agreement; (8) Marriott materially changed the terms of the Palms Agreement and thus rendered
    the agreement invalid; (9) Marriott cannot enforce the Gaylord agreements as a result of implied
    waiver and estoppel; (10); sudden emergency doctrine; (11) force majeure and impossibility of
    performance; (12); Ramsey’s performance was waived due to Marriott's material changes to the
    Palms Agreement; (13) illegality; (14) Ramsey’s right to terminate the Gaylord Agreements
    under the For Cause Termination Provision of the Gaylord Agreements; (15) Unclean hands;
    (16) failure of consideration; and (17) failure to state a claim.



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             Marriott further objects to the extent that the Topic seeks information protected by the
    attorney-client and/ or work-product privilege.

            Without waiving any such objections, Marriott will produce a corporate representative to
    provide non-privileged testimony regarding this topic.

             4.         The number of groups that that were booked as of January 1, 2020 that held their
    events in July of 2020 at the Gaylord Palms.

                  Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence.

             Ramsey’s claims are based on terminating the Gaylord Agreements under the following
    contract clauses: (1) Force majeure / Illegality; (2) “For Cause Termination Provision™; (3)
    “Performance Clause”; and (4) Additional Impossibility. In addition, Ramsey's Amended
    Complaint includes a count for breach of contract based on Marriott’s alleged failure to return
    approximately $1.2 million in deposits Ramsey paid to Marriott under the Palms Agreement.

           Marrioti’s counterclaim contains a single count to recover liquidated damages arising out
    of Ramsey’s termination of the Gaylord Agreements.

             In its answer and affirmative defenses, Ramsey has asserted the following affirmative
    defenses: (1) prior material breach; (2) anticipatory breach; (3) failure to fulfil conditions
    precedent; (4) Ramsey acted within the terms of the Gaylord Agreements; (5) unilateral
    alterations of the Palms Agreement; (6) Marriott’s modifications “voided” the Palms Agreement;
    (7) Marriott materially altered the Palms Agreement and thus anticipatorily breached the
    agreement; (8) Marriott materially changed the terms of the Palms Agreement and thus rendered
    the agreement invalid; (9) Marriott cannot enforce the Gaylord agreements as a result of implied
    waiver and estoppel; (10); sudden emergency doctrine; (11) force majeure and impossibility of
    performance; (12); Ramsey’s performance was waived due to Marriott's material changes to the
    Palms Agreement; (13) illegality; (14) Ramsey’s right to terminate the Gaylord Agreements
    under the For Cause Termination Provision of the Gaylord Agreements; (15) Unclean hands;
    (16) failure of consideration; and (17) failure to state a claim.

              Without waiving any such objections, Marriott will produce a corporate representative to
     provide non-privileged testimony regarding this topic.


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            S.      The reason(s) that Gaylord Palms changed its policy from posting signage about
    mask wearing and handing out masks to guests to enforcing the policy by requiring guests to
    leave the premises if he/she/they were not wearing a mask.

             Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence.

            Ramsey’s claims are based on terminating the Gaylord Agreements under the following
    contract clauses: (1) Force majeure / Illegality; (2) “For Cause Termination Provision”; (3)
    “Performance Clause”; and (4) Additional Impossibility. In addition, Ramsey’s Amended
    Complaint includes a count for breach of contract based on Marriott's alleged failure to return
    approximately $1.2 million in deposits Ramsey paid to Marriott under the Palms Agreement.

           Marriott’s counterclaim contains a single count to recover liquidated damages arising out
    of Ramsey’s termination of the Gaylord Agreements.

             In its answer and affirmative defenses, Ramsey has asserted the following affirmative
    defenses: (1) prior material breach; (2) anticipatory breach; (3) failure to fulfil conditions
    precedent; (4) Ramsey acted within the terms of the Gaylord Agreements; (5) unilateral
    alterations of the Palms Agreement; (6) Marriott’s modifications “voided” the Palms Agreement;
    (7) Marriott materially altered the Palms Agreement and thus anticipatorily breached the
    agreement; (8) Marriott materially changed the terms of the Palms Agreement and thus rendered
    the agreement invalid; (9) Marriott cannot enforce the Gaylord agreements as a result of implied
    waiver and estoppel; (10); sudden emergency doctrine; (11) force majeure and impossibility of
     performance; (12); Ramsey’s performance was waived due to Marriott’s material changes to the
     Palms Agreement; (13) illegality; (14) Ramsey’s right to terminate the Gaylord Agreements
     under the For Cause Termination Provision of the Gaylord Agreements; (15) Unclean hands;
     (16) failure of consideration; and (17) failure to state a claim.

                Marriott’s policy regarding enforcement of governmental mask mandates has nothing to
     do with any of the claims and defenses asserted by the parties.

                Marriott further objects to the extent that the Topic seeks information protected by the
     attorney-client and/ or work-product privilege.

             For the foregoing reasons, Marriott will not produce a corporate representative to
     testify about this Topic.




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            6.     The individuals involved in the decision to change the policy communicated by
    Gaylord Palms to Ramsey Solutions that it would post signage about mask wearing and handing
    out masks to a policy that guests would be required to leave the premises if he/she/they were not
    wearing a mask.

            Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence.

            Ramsey’s claims are based on terminating the Gaylord Agreements under the following
    contract clauses: (1) Force majeure / Illegality; (2) “For Cause Termination Provision”; (3)
    “Performance Clause”; and (4) Additional Impossibility. In addition, Ramsey’s Amended
    Complaint includes a count for breach of contract based on Marriott’s alleged failure to return
    approximately $1.2 million in deposits Ramsey paid to Marriott under the Palms Agreement.

             Marriott’s counterclaim contains a single count to recover liquidated damages arising out
    of Ramsey’s termination of the Gaylord Agreements.

             In its answer and affirmative defenses, Ramsey has asserted the following affirmative
    defenses: (1) prior material breach; (2) anticipatory breach; (3) failure to fulfil conditions
    precedent; (4) Ramsey acted within the terms of the Gaylord Agreements; (5) unilateral
    alterations of the Palms Agreement; (6) Marriott’s modifications “voided” the Palms Agreement;
    (7) Marriott materially altered the Palms Agreement and thus anticipatorily breached the
    agreement; (8) Marriott materially changed the terms of the Palms Agreement and thus rendered
    the agreement invalid; (9) Marriott cannot enforce the Gaylord agreements as a result of implied
    waiver and estoppel; (10); sudden emergency doctrine; (11) force majeure and impossibility of
    performance; (12); Ramsey’s performance was waived due to Marriott’s material changes to the
    Palms Agreement; (13) illegality; (14) Ramsey’s right to terminate the Gaylord Agreements
    under the For Cause Termination Provision of the Gaylord Agreements; (15) Unclean hands;
    (16) failure of consideration; and (17) failure to state a claim.

             Marriott’s policy regarding enforcement of governmental mask mandates has nothing to
    do with any of the claims and defenses asserted by the parties.

            Marriott further objects to the extent that the Topic seeks information protected by the
    attorney-client and/ or work-product privilege.

             For the foregoing reasons, Marriott will not produce a corporate representative to
    testify about this Topic.




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             7      Any provisions in the Palms Agreement that you believe allowed Gaylord Palms
    to require attendees of the proposed Palms Event to wear masks.

            Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence.

            Ramsey’s claims are based on terminating the Gaylord Agreements under the following
    contract clauses: (1) Force majeure / Illegality; (2) “For Cause Termination Provision”; (3)
    “Performance Clause”; and (4) Additional Impossibility. In addition, Ramsey’s Amended
    Complaint includes a count for breach of contract based on Marriott’s alleged failure to return
    approximately $1.2 million in deposits Ramsey paid to Marriott under the Palms Agreement.

           Marriott’s counterclaim contains a single count to recover liquidated damages arising out
    of Ramsey’s termination of the Gaylord Agreements.

             In its answer and affirmative defenses, Ramsey has asserted the following affirmative
    defenses: (1) prior material breach; (2) anticipatory breach; (3) failure to fulfil conditions
    precedent; (4) Ramsey acted within the terms of the Gaylord Agreements; (5) unilateral
    alterations of the Palms Agreement; (6) Marriott’s modifications “voided” the Palms Agreement;
    (7) Marriott materially altered the Palms Agreement and thus anticipatorily breached the
    agreement; (8) Marriott materially changed the terms of the Palms Agreement and thus rendered
    the agreement invalid; (9) Marriott cannot enforce the Gaylord agreements as a result of implied
    waiver and estoppel; (10); sudden emergency doctrine; (11) force majeure and impossibility of
    performance; (12); Ramsey’s performance was waived due to Marriott’s material changes to the
    Palms Agreement; (13) illegality; (14) Ramsey’s right to terminate the Gaylord Agreements
    under the For Cause Termination Provision of the Gaylord Agreements; (15) Unclean hands;
    (16) failure of consideration; and (17) failure to state a claim.

            Marriott’s policy regarding enforcement of governmental mask mandates has nothing to
    do with any of the claims and defenses asserted by the parties.

             Marriott further objects to this premise of the Topic on the grounds that it is legally and
    factually incorrect. Marriott did not “require attendees of the proposed Palms Event to wear
    masks” as part of an express term regarding masks in the Palms Agreement.” Instead, Marriott
    and Ramsey were required pursuant to the Contract to comply with all health and safety rules
    and regulations, including all State, County and Local COVID-19 Executive Orders, mandates,
    rules, regulations and the like.




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             Marriott further objects on the grounds that the information sought in the notice is, "in
    effect, seeking legal conclusions that should not form the basis for 30(b)(6) deposition Topics,”
    which are better suited to contention interrogatories where the Topic requires the responding
    party to provide its legal analysis on complex issues.

             Marriott further objects to the extent that the Topic seeks information protected by the
    attorney-client and/ or work-product privilege.

             Without waiving such objections, Marriott will produce a corporate representative who
    will offer non-privileged testimony that the “Compliance with Laws” section of the contract
    obligated Ramsey to comply with all health and safety rules and regulations, including all State,
    County and Local COVID-19 Executive Orders, mandates, rules, regulations and the like, with
    regard to masks.

             8.      Any provisions in the Palms Agreement that you believe allowed Gaylord Palms
     position to unilaterally limit the amenities at the facility.

             Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
     matter of the litigation and not reasonably calculated to lead to the discovery of admissible
     evidence.

             Ramsey's claims are based on terminating the Gaylord Agreements under the following
     contract clauses: (1) Force majeure / Illegality; (2) “For Cause Termination Provision”; (3)
     “Performance Clause”; and (4) Additional Impossibility. In addition, Ramsey’s Amended
     Complaint includes a count for breach of contract based on Marriott’s alleged failure to return
     approximately $1.2 million in deposits Ramsey paid to Marriott under the Palms Agreement.

              Marriott’s counterclaim contains a single count to recover liquidated damages arising out
     of Ramsey's termination of the Gaylord Agreements.

             In its answer and affirmative defenses, Ramsey has asserted the following affirmative
     defenses: (1) prior material breach; (2) anticipatory breach; (3) failure to fulfil conditions
     precedent; (4) Ramsey acted within the terms of the Gaylord Agreements; (5) unilateral
     alterations of the Palms Agreement; (6) Marriott’s modifications “voided” the Palms Agreement;
     (7) Marriott materially altered the Palms Agreement and thus anticipatorily breached the
     agreement; (8) Marriott materially changed the terms of the Palms Agreement and thus rendered
     the agreement invalid; (9) Marriott cannot enforce the Gaylord agreements as a result of implied
     waiver and estoppel; (10); sudden emergency doctrine; (11) force majeure and impossibility of
     performance; (12); Ramsey’s performance was waived due to Marriott's material changes to the
     Palms Agreement; (13) illegality; (14) Ramsey’s right to terminate the Gaylord Agreements

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    under the For Cause Termination Provision of the Gaylord Agreements; (15) Unclean hands;
    (16) failure of consideration; and (17) failure to state a claim.

             Marriott further objects to this premise of the Topic on the grounds that it is legally and
    factually incorrect. Marriott did not “unilaterally limit the amenities at the facilities.” Instead,
    both parties were required to comply with all health and safety rules and regulations, including
    all State, County and Local COVID-19 Executive Orders, mandates, rules, regulations and the
    like regarding the services and amenities identified in this topic.

             Marriott further objects on the grounds that the information sought in the notice is, "in
    effect, seeking legal conclusions that should not form the basis for 30(b)(6) deposition Topics,”
    which are better suited to contention interrogatories where the Topic requires the responding
    party to provide its legal analysis on complex issues.

             Marriott further objects on the grounds that the phrase “limit the amenities at the facility™
    1s vague, ambiguous and undefined.

            Marriott further objects to the extent that the Topic seeks information protected by the
    attorney-client and/ or work-product privilege.

            Without waiving such objections, Marriott will produce a corporate representative who
    will provide non-privileged testimony that the “Compliance with Laws” section of the contract
    obligated Ramsey and Marriott to comply with all health and safety rules and regulations,
    including all State, County and Local COVID-19 Executive Orders, mandates, rules, regulations
    and the like, regarding services and amenities identified in this topic.

             2.     Any provisions in the Palms Agreement that you believe allowed Gaylord Palms
    to unilaterally change the guest experience of attendees of the proposed Palms Event by limiting
    access to amenities including, without limitation, limiting capacity at on-site restaurants, pool
    facilities and other guest services, removing the agreed upon buffet food service that was part of
    the Palms Agreement, cancelling valet service and in-room food delivery service and other such
    restrictions.

             Response:    Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence.

            Ramsey’s claims are based on terminating the Gaylord Agreements under the following
    contract clauses: (1) Force majeure / Illegality; (2) “For Cause Termination Provision”; (3)
    “Performance Clause”; and (4) Additional Impossibility. In addition, Ramsey’s Amended

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    Complaint includes a count for breach of contract based on Marriott's alleged failure to return
    approximately $1.2 million in deposits Ramsey paid to Marriott under the Palms Agreement.

           Marriott’s counterclaim contains a single count to recover liquidated damages arising out
    of Ramsey’s termination of the Gaylord Agreements.

              In its answer and affirmative defenses, Ramsey has asserted the following affirmative
    defenses:     (1) prior material breach; (2) anticipatory breach; (3) failure to fulfil conditions
    precedent; (4) Ramsey acted within the terms of the Gaylord Agreements; (5) unilateral
    alterations of the Palms Agreement; (6) Marriott’s modifications “voided” the Palms Agreement;
    (7) Marriott materially altered the Palms Agreement and thus anticipatorily breached the
    agreement; (8) Marriott materially changed the terms of the Palms Agreement and thus rendered
    the agreement invalid; (9) Marriott cannot enforce the Gaylord agreements as a result of implied
    waiver and estoppel; (10); sudden emergency doctrine; (11) force majeure and impossibility of
    performance; (12); Ramsey’s performance was waived due to Marriott's material changes to the
    Palms Agreement; (13) illegality; (14) Ramsey’s right to terminate the Gaylord Agreements
    under the For Cause Termination Provision of the Gaylord Agreements; (15) Unclean hands;
    (16) failure of consideration; and (17) failure to state a claim.

             Marriott further objects on the grounds that the Topic is argumentative and
     mischaracterizes the impact of State, County and Local COVID-19 Executive Orders, mandates,
     rules, regulations and the like on what Ramsey refers to as “Amenities,” such as “limiting
     capacity at on-site restaurants, pool facilities and other guest services, removing the agreed upon
     buffet food service that was part of the Palms Agreement, cancelling valet service and in-room
     food delivery service and other such restrictions.”

                Marriott further objects on the grounds that the information sought in the notice is, "in
     effect, seeking legal conclusions that should not form the basis for 30(b)(6) deposition Topics.”
     which are better suited to contention interrogatories where the Topic requires the responding
     party to provide its legal analysis on complex issues.

              Marriott further objects to this premise of the Topic on the grounds that it is legally and
     factually incorrect. Marriott did not “unilaterally change the guest experience of attendees of the
     proposed Palms Event by limiting access to amenities including, without limitation, limiting
     capacity at on-site restaurants, pool facilities and other guest services, removing the agreed upon
     buffet food service that was part of the Palms Agreement, cancelling valet service and in-room
     food delivery service and other such restrictions.” Instead, both parties were required to comply
     with all health and safety rules and regulations, including all State, County and Local COVID-19
     Executive Orders, mandates, rules, regulations and the like.



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            Marriott further objects on the grounds that the phrases “guest experience of attendees of
    the proposed Palms Event,” “including, without limitation” and “other such restrictions” is
    vague, ambiguous and undefined.

            Marriott further objects to the extent that the Topic seeks information protected by the
    attorney-client and/ or work-product privilege.

            Without waiving such objections, Marriott will produce a corporate representative who
    will provide non-privileged testimony that the “Compliance with Laws” section of the contract
    obligated Ramsey to comply with all health and safety rules and regulations, including all State,
    County and Local COVID-19 Executive Orders, mandates, rules, regulations and the like,
    including the services and amenities identified in this topic.

             10.     The research and analysis that Gaylord Palms and Marriott performed before it
    instituted restrictions and limitations at the Gaylord Palms during July 2020 including without
    limitation, limiting capacity at on-site restaurants, pool facilities and other guest services,
    removing the agreed upon buffet food service that was part of the Palms Agreement, cancelling
    valet service and in-room food delivery service and other such restrictions.

            Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence. Any “research and analysis” Marriott performed has no conceivable relevance to any
    issue in the case and is not reasonably calculated to lead to the discovery of admissible evidence.

             Marriott further objects on the grounds that the information sought in the notice is, "in
    effect, seeking legal conclusions that should not form the basis for 30(b)(6) deposition Topics,”
    which are better suited to contention interrogatories where the Topic requires the responding
    party to provide its legal analysis on complex issues.

              Marriott further objects to this Topic on the grounds that phrase “the research and
    analysis that Gaylord Palms and Marriott performed” is vague and ambiguous.

             Marriott further objects to this premise of the Topic on the grounds that it is legally and
    factually incorrect. Marriott did not institute “restrictions and limitations at the Gaylord Palms
    during July 2020 including without limitation, limiting capacity at on-site restaurants, pool
    facilities and other guest services, removing the agreed upon buffet food service that was part of
    the Palms Agreement, cancelling valet service and in-room food delivery service and other such
    restrictions.” Instead, both parties were required to comply with all health and safety rules and
    regulations, including all State, County and Local COVID-19 Executive Orders, mandates, rules,
    regulations and the like.

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              Marriott further objects to the extent that the Topic seeks information protected by the
    attorney-client and/ or work-product privilege.

              Without waiving any such objections, Marriott will produce a corporate representative
    who will provide non-privileged testimony that any “restrictions and limitations at the Gaylord
    Palms during July 2020 including without limitation, limiting capacity at on-site restaurants, pool
    facilities and other guest services, removing the agreed upon buffet food service that was part of
    the Palms Agreement, cancelling valet service and in-room food delivery service and other such
    restrictions” was due to Marriott’s legal obligation to comply with all health and safety rules and
    regulations, including all State, County and Local COVID-19 Executive Orders, mandates, rules,
    regulations and the like. Marriott’s representative will not testify about any “research and
    analysis” that it conducted on this Topic.

              11.     Communications between Gaylord Palms and Ramsey Solutions between March
    0f 2020 and July of 2020 regarding the Palms Event including the changes and modifications
    being requested by Gaylord Palms for the event to proceed.

            Response: Marriott objects that the discovery sought is unreasonably cumulative and
    duplicative, can be obtained from some other source that is more convenient, less burdensome,
    or less expensive. For Marriott to educate one of its employees about all communications
    between it and Ramsey regarding the Palms Event would require Marriott to spend numerous
    hours and dollars, and would be an undue burden to require Marriott to educate its employees in
    the "extreme detail” for the noticed deposition as to this Topic. It will be exceptionally difficult
    overly burdensome and expensive to prepare a witness to testify adequately regarding the
    identified Topics.

            Marriott further objects on the grounds that the information sought in the notice is, "in
    effect, seeking legal conclusions that should not form the basis for 30(b)(6) deposition Topics,”
    which are better suited to contention interrogatories where the Topic requires the responding
    party to provide its legal analysis on complex issues.

             Marriott further objects to this premise of the Topic on the grounds that it is legally and
    factually incorrect. Marriott did not make any “changes and modifications™ to the Palms Events.
    Instead, both parties were required to comply with all health and safety rules and regulations,
    including all State, County and Local COVID-19 Executive Orders, mandates, rules, regulations
    and the like.

              Marriot further objects on the grounds that the phrase “the changes and modifications
    being requested by Gaylord Palms for the event to proceed” is vague, ambiguous and undefined.

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              Marriott further objects to the extent that the Topic seeks information protected by the
    attorney-client and/ or work-product privilege.

           Without waiving any such objections, Marriott will produce a corporate representative
    who will provide non-privileged testimony about this Topic, subject to the objections listed
    above.

              12.     The negotiation of the Gaylord Palms Agreement.

            Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence. Ramsey has repeatedly taken the position in its discovery responses that “there is no
    allegation that the agreements are ambiguous and,      thus, any documents relating to the
    negotiations of the same are irrelevant and purely    designed to create work for Ramsey
    Solutions.” [See Ramsey’s Response First Set Of       Written Interrogatories And Second Request
    For Production Of Documents, RFP No. 2, 4, and        10]

              For the foregoing reasons, Marriott will not produce a corporate representative to
    testify about this Topic.

              13.      The negotiation of the Amendment to the Gaylord Palms Agreement.

             Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
     matter of the litigation and not reasonably calculated to lead to the discovery of admissible
     evidence. Ramsey has repeatedly taken the position in its discovery responses that “there is no
     allegation that the agreements are ambiguous and, thus, any documents relating to the
     negotiations of the same are irrelevant and purely designed to create work for Ramsey
     Solutions.” [See Ramsey’s Response First Set Of Written Interrogatories And Second Request
     For Production Of Documents, RFP No. 2, 4, and 10]

               For the foregoing reasons, Marriott will not produce a corporate representative to
     testify about this Topic.

               14.     The negotiation of the Gaylord Texans Agreement.

             Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
     matter of the litigation and not reasonably calculated to lead to the discovery of admissible
     evidence. Ramsey has repeatedly taken the position in its discovery responses that “there is no
     allegation that the agreements are ambiguous and, thus, any documents relating to the

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    negotiations of the same are irrelevant and purely designed to create work for Ramsey
    Solutions.” [See Ramsey’s Response First Set Of Written Interrogatories And Second Request
    For Production Of Documents, RFP No. 2, 4, and 10]

            For the foregoing reasons, Marriott will not produce a corporate representative to
    testify about this Topic.

              15.      The negotiation of the Gaylord Rockies Agreement.

              Response:   Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence. Ramsey has repeatedly taken the position in its discovery responses that “there is no
    allegation that the agreements are ambiguous and, thus, any documents relating to the
    negotiations of the same are irrelevant and purely designed to create work for Ramsey
    Solutions.” [See Ramsey’s Response First Set Of Written Interrogatories And Second Request
    For Production Of Documents, RFP No. 2, 4, and 10]

              For the foregoing reasons, Marriott will not produce a corporate representative to
    testify about this Topic.

              16.      The cost of any food and beverage purchased exclusively for the Palms Event as
    of July 2, 2020.

            Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence. This Topic is relevant — if at all — to the calculation and amount of Marriott’s actual
    damages in connection with its claim for actual damages in the alternative. This Topic has been
    raised in Ramsey’s Motion to Amend. Because the Court has not ruled on the motion, Marriott
    will not produce a corporate representative to testify about this Topic.

            17.     The cost of any food and beverage purchased for the Palms Event that was not
    used at the Gaylord Palms for other guests.

            Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence. This Topic is relevant — if at all — to the calculation and amount of Marriott’s actual
    damages in connection with its claim for actual damages in the alternative. This Topic has been
    raised in Ramsey’s Motion to Amend. Because the Court has not ruled on the motion, Marriott
    will not produce a corporate representative to testify about this Topic.



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            18.     The cost of any employees or independent contractors hired exclusively for the
    Palms Event where there was no refund, use of such employees or independent for another
    events or services, credit or set-off.

              Response:   Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence. Marriott further objects on the basis that the terms “independent contractors,”
    “refund” and “set-off” are vague, ambiguous and undefined. This Topic is relevant — if at all — to
    the calculation and amount of Marriott’s actual damages in connection with its claim for actual
    damages in the alternative. This Topic has been raised in Ramsey’s Motion to Amend. Because
    the Court has not ruled on the motion, Marriott will not produce a corporate representative
    to testify about this Topic.

            19.     Any out of pockets costs incurred for the Palms Event that were not refunded or
    otherwise utilized at the Gaylord Palms and/or with other guests at the facility.

              Response:   Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and    not reasonably calculated to lead to the discovery of admissible
    evidence. Marriott further      objects on the grounds that the term “out of pocket costs” is vague,
    ambiguous and undefined.         This Topic is relevant — if at all — to the calculation and amount of
    Marriott’s actual damages      in connection with its claim for actual damages in the alternative.
    This Topic has been raised in Ramsey’s Motion to Amend. Because the Court has not ruled on
    the motion, Marriott will not produce a corporate representative to testify about this Topic.
            20.    Any actual damages that Gaylord Palms suffered by Ramsey Solutions
    termination of the Palms Event.

              Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
     matter of the litigation and not reasonably calculated to lead to the discovery of admissible
     evidence. This Topic is relevant — if at all —to the calculation and amount of Marriott’s actual
     damages in connection with its claim for actual damages in the alternative. This Topic has been
     raised in Ramsey’s Motion to Amend. Because the Court has not ruled on the motion, Marriott
     will not produce a corporate representative to testify about this Topic.

             21.    Any actual damages that the Gaylord Texan suffered by Ramsey Solutions
     termination of its agreement for the event to be held at the Gaylord Texan scheduled for May of
     2021.

             Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
     matter of the litigation and not reasonably calculated to lead to the discovery of admissible
     evidence. This Topic is relevant — if at all — to the calculation and amount of Marriott’s actual

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    damages in connection with its claim for actual damages in the alternative. This Topic has been
    raised in Ramsey’s Motion to Amend. Because the Court has not ruled on the motion, Marriott
    will not produce a corporate representative to testify about this Topic.

            22.    Any actual damages that the Gaylord Rockies suffered by Ramsey Solutions
    termination of its agreement for the event to be held at the Gaylord Rockies scheduled for May
    of 2022.

            Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence. This Topic is relevant — if at all — to the calculation and amount of Marriott’s actual
    damages in connection with its claim for actual damages in the alternative. This Topic has been
    raised in Ramsey’s Motion to Amend.        It is premature to require Marriott to quantify its claim for
    actual damages in the alternative. Because the Court has not ruled on the motion, Marriott will
    not produce a corporate representative to testify about this Topic.

             Marriott   further objects on the grounds that the event dates for the Rockies Event have
    not passed. It is   therefore impossible for Marriott to quantify its actual damages in the
    alternative. For    this additional reason, Marriott will not produce a corporate representative
    to testify about     this Topic.


            23.     Gaylord Palms’ average gross profit margin, incremental profit margin and net
    profit margin per room night by room type, for all rooms at the Gaylord Palms in July of 2020.

              Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence. Marriott further objects on the grounds that the terms “average gross profit margin,
    incremental profit margin and net profit margin per room night by room type, for all rooms at the
    Gaylord Palms in July of 2020” are vague, ambiguous and undefined. This Topic is relevant — if
    at all — to the calculation and amount of Marriott’s actual damages in connection with its claim
    for actual damages in the alternative. This Topic has been raised in Ramsey’s Motion to Amend.
    Because the Court has not ruled on the motion, Marriott will not producea corporate
    representative to testify about this Topic.

            24.     Gaylord Texan’s average gross profit margin, incremental profit margin and net
    profit margin per room night by room type, for all rooms at the Gaylord Texans in May of 2021.

            Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible

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    evidence. Marriott further objects on the grounds that the terms “average gross profit margin,
    incremental profit margin and net profit margin per room night by room type, for all rooms at the
    Gaylord Texan in May of 2021” are vague, ambiguous and undefined. This Topic is relevant —
    if at all — to the calculation and amount of Marriott’s actual damages in connection with its claim
    for actual damages in the alternative. This Topic has been raised in Ramsey’s Motion to Amend.
    Because the Court has not ruled on the motion, Marriott will not produce a corporate
    representative to testify about this Topic.

              25.        The efforts that were made to sell the rooms earmarked for the Palms Event.

                    Response: Marriott objects to this Topic on the basis that it is not relevant to the
    subject matter of the litigation and not reasonably calculated to lead to the discovery of
    admissible evidence. This Topic is relevant — if at all — to the calculation and amount of
    Marriott’s actual damages in connection with its claim for actual damages in the alternative.
    This Topic has been raised in Ramsey’s Motion to Amend. Because the Court has not ruled on
    the motion, Marriott will not produce a corporate representative to testify about this Topic.

             Marriott further objects because the term “earmarked” is vague, ambiguous and
    undefined. For this additional reason, Marriott will not produce a corporate representative
    to testify about this Topic.

              26.        The efforts that the Gaylord Texan made to sell the rooms earmarked for the
    EntreSummit event.

            Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
    matter of the litigation and not reasonably calculated to lead to the discovery of admissible
    evidence. This Topic is relevant — if at all — to the calculation and amount of Marriott’s actual
     damages in connection with its claim for actual damages in the alternative. This Topic has been
     raised in Ramsey’s Motion to Amend. Because the Court has not ruled on the motion, Marriott
     will not produce a corporate representative to testify about this Topic.

              Marriott further objects because the term “earmarked” is vague, undefined and
     ambiguous. For this additional reason, Marriott will not produce a corporate representative
     to testify about this Topic.

            27.   The efforts that the Gaylord Rockies made to sell the rooms earmarked for the
     EntreSummit 2022 event.

             Response: Marriott objects to this Topic on the basis that it is not relevant to the subject
     matter of the litigation and not reasonably calculated to lead to the discovery of admissible

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    evidence. This Topic is relevant — if at all — to the calculation and amount of Marriott’s actual
    damages in connection with its claim for actual damages in the alternative. This Topic has been
    raised in Ramsey's Motion to Amend. Because the Court has not ruled on the motion, Marriott
    will not produce a corporate representative to testify about this Topic.

              Marriott further objects because the event dates for the Gaylord Rockies event scheduled
    for May 2022 have not passed. Accordingly, it is premature for Marriott to testify about its
    alleged damages. Marriott further objects because the term “earmarked” is vague, undefined and
    ambiguous. For these additional reasons, Marriott will not produce a corporate
    representative to testify about this Topic.

                                                   Sincerely,
                                 psn                        Ty

                                                    ohn C. Josefsberg               oo




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          EXHIBIT D




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                                       GAYLORD PALMS'*

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                                       AGREEMENT BETWEEN
                                          Ramsey Solutions
                                                and
                              Gaylord Palms Resort & Convention Center

  DESCRIPTION OF GROUP AND EVÊNT

  The following represents an agreement between Gaylord Palms Resort & Convention Center, 6000
  West Osceoia Parkway, Kissimmee, FL, 34746, (407) 586-0000 and Ramsey Solutions.

  ORGANIZATION:                                 Ramsey Solutions
  CONTACT:
           Name:                                Joe Leavitt
           Job Title:                            Director of Event Production
           Street Address:                       1749 Mallory Lane
           City* State, Postal Code:             Brentwood, TN
           Country;                              USA
           Phone Number:                         (877) 410-3283 x5503
           E-mail Address:                      joel@daveramsey com

  NAME OF EVENT:                                Ramsey Solutions EnüBLeadership Summit May2020
  REFERENCE #:                                  M-9SERWB8
  OFFICIAL PROGRAM DATES：                       May 15- 21,2020

 GUEST SLEEPING ROOIW BLOCK
 The following guest sleeping rooms have been reserved for the Group on the dates set forth below (the
 "Room Block") for the Ramsey Solutions EntreLeadership Summit • 2020 (the "Event"):

        Room Type           Fri         Sat         Sun       Mon         Tues        Wed        Total
                          5/15/20     5/16/20     5/17/20    S/18/20     5/19/2D     5/20/20
       Run of House                     38         1,054      1,054       1.054        324       ^524
      Executive Suite                   5            30         30          30         30         125
       Deluxe Suite                     5            30         30          30         30         125
     Presidential Suite                 6           6           6           6           0          30
        Emerald Bay                    20          200         200        200          50         670
           Staff            20         41          80           B0         80          80         381
           Total            20         115        1.400       1.400      Ì400         520        4,855


 We will reserve the room block noted above until Friday, September 29, 2017. Due to the very high
 demand we anticipate over these dates, the Hotel reserves the right to release your first option if we have
 not received the signed copies of the Agreement verifying confirmation by this time. In the event we have
 a definite request for these dates prior to your option date, we will contact you for a decision. You will
 have one (1) business day to either return the signed contract, or release the option.




           6000 W. Osceola Parkway • KIssImmoG, Florida 34746 • Tdephone (4Û7) 506-0000 • Fax [A07) 506 0399




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 GROUP ROOM RATES
 The confirmed net, non-commissionable per night room rate for the 2020 Event will be:

               Single/double/triple/quad            $229.00
               occupancy rooms:
               Emerald Bay:                         $279.00
               Executive Suites:                    $625.00
               Deluxe Suites:                       $850.00
               Presidential Suites:                 $2700.00

 Applicable taxes will be added to room rates (currently 7.5% room tax and 6% occupancy tax).

 Subject to availability, Group rates will apply three (3) days prior to. and three (3) days following, the
 dates of the Event. Children twelve (12) years and under are free when occupying the same room as
 their parents.

 RESORT FEE
 The prevailing daily resort fee, currently $22.00 plus applicable tax, will be added to the guest room rate.
 This fee will cover several in-room amenities which will include:

     •       High-speed Internet access in guestrooms
     •       Two bottled waters replenished daily in your guest room
     •       24-hour access to Relâche Fitness Center
     •       Scheduled shuttle service to Walt Disney World® Theme Parks & Disney Springs®
     •       Local, toll-free and domestic long-distance telephone calls
     •       $10 credit towards dry cleaning services
     •       Private training session (15 min.) at Relâche Fitness Center (Limited sessions available Tue - Sat
             from 5 a.m. -12 p.m. Appointments required, please visit the fitness center to sign up)
     •       One bucket of range balls at nearby Celebralion Golf Club.

 Please note that the parking fee is currently $22.00 for self-parking and $33.00 for valet parking plus
 applicable tax, currently 7.5%.

 REWARDS PROGRAM - REWARDING EVENTS
 Approximately (10) business days after the conclusion of the Event (provided that the Event is not
 cancelled and Ramsey Solutions has otherwise complied 讀h the material terms and conditions of this
 Agreement), the Hotel will either award Points or submit an award for airline miles to the Member⑻
 identified below:

 Rewarding Events does not apply to Events booked by or on behalf of any governmental entity,
 including any federal, state or local agency or any other governmental body, and hotels may not award
 Points or airline miles to a government employee (or an intermediary booking on behalf of a
 governmental entity) in connection with the Rewarding Events program or otherwise in connection with
 planning, scheduling or contracting for an Event.

  CHECK ONE OPTION BELOW:

         C   Award Points to the Contact (as identified on page 1 of this Agreement or the Authorized
             Signer of this Agreement)
             Member Name_____________________________________________
             Rewards Program Member Number______           _               __
      (I     Award Airline Miles to the Contact (as identified on page 1 of this Agreement or the Authorized
             Sig ner of this Agreement)
             Me mber Name




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             Rewards Program Member Number.
             Airline frequent flier account number
             Name of airiine

      口      Decline to Award Points or Airline Miles, The Contact and the Authorized Signer of this
             Agreement elect not to receive (and hereby waive the right to receive) an award of Points or
             airline miles in connection with the Event

  The number of Points or airline miles to be awarded shall be determined pursuant to the Rewards
  Program Terms and Condilions, as in effect at the time of award. The Rewards Program Terms and
  Conditions are avaHable on-line at marriottrewards.com, and may be changed at the sole discretion of
  the Rewards Program at any time and without notice.

  The individual(s) ídentifíeci above to receive either Points or airline miles may not be changed without
  such indivie!ual(s)’ prior written consent By inserting the airline mileage account information, the
  recipient elects to receive airline miles rather than Points. All Rewards Program Terms and Conditions
  apply.
 RESERVATIONS PROCEDURE
 Please indicate which of the following procedures will be used by your group;

      X Individual Reservations for the Event will be made by individual attendees directly with
  Marriott reservations at (407) 586-2000.

        ■X     Rooming List for staff.

 At the Group's request, Hotel's transient in-house guest list will be compared with the Group's
 registration list Any guest room occupied by an individual on Group's registration list, but not coded to
 Group within Hotel's system, will be credited to Group's final pickup.

 If names are found on the Group's registration list and on the Hotel's transient in-house list that are not
 coded to the group, they shall be credited to the Group hotel pickup (regardless of room rate). This
 credit may increase the Group pickup as well as possibly increasing the complimentary credits earned.

 Hotel will provide Group a weekly guestroom pick-up report starting 45 days prior to the established cut­
 off date.

 GROUPMAX SYSTEM/PASSKEY - HOUSING OPTION
 Gaylord Palms Resort & Convention Center currently offers you the services of GroupMax/Passkey - an
 online group reservation management solution that allows meeting planners a 24-hour real-time visibility
 into room pickup, registration activity, and more. We can also create a custom web page for your group
 that allows attendees to book rooms, request special services and make last-minute changes, all
 maintained in a centralized database accessible only to the hotel and the meeting planner

 Passkey is currently available on a complimentary basis. Ask your Sales or Event Manager at Gaylord
 Palms Resort & Convention Center for more information on this exciting technology.

 GUARANTEED RESERVATIONS
 All reservations must be accompanied by a first night room deposit or be guaranteed by Ramsey
 Solutions. Hotel will not hold any reservations unless secured by one of lhe above methods. Credit
 cards will be charged prior to arrival.

 If rooms are not guaranteed to the Group's master account, a deposit equal to one night’s stay is
 required to hold each individual's reservation. Should a guest cancel a reservation, the deposit will be




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 refunded げ notice is received at least three (3) working days prior to arrival, and a cancellation number is
 obtained.

 NO ROOM TRANSFER BY GUEST
 Ramsey Solutions agrees that neither Ramsey Solutions nor attendees of the Event nor any
 intermediary shall be permitted to assign any rights or obligations under this Group Sales Agreement, or
 to resell or otherwise transfer to persons not associated with Ramsey Solutions reservations for
 guestrooms, meeting rooms or any other facilities made pursuant to this Group Sales Agreement.

 CUTOFF DATE
 Reservations by attendees must be received on or before, Saturday, April 25,2020 (the "Cutoff Date").
 At the Cutoff Date, Hotel will review the reservation pickup for the Event, release the unreserved rooms
 for general sale, and determine whether it can accept reservations based on a space- and rate-available
 basis at the Ramsey Solutions group rate after this date.

 Release of rooms for general sale following the Cutoff Date does not affect Ramsey Solutions'
 obligation, as discussed elsewhere in this Agreement, to utilize guest rooms.

 CHECK-OUT TIME
 Check-in time is 4:00 p.m. local time. Check-out time is 11:00 a.m. local time. Anyone checking out after
 11:00 a.m. local time may incur late charges. Special arrangements can be made for late check-outs
 based on availability, and/or luggage can be stored for individuals with later departures.

 COMPLIMENTARY POLICY
 We are pleased to extend to your group one complimentary single room (1) per every 45 rooms utilized at
 the group rate during your meeting. Ány rooms with rates discounted below the group ra(e will not be
 calculated in the complimentary allotment This number is determined by the actual rooms occupied by
 your group on a cumulative basis divided by 45.

 The following suites have a value of more than one unit:

       Presidential Suite       - 6 room nights
       Deluxe Suite             • 4 room nights
       Executive Suite          • 3 room nighls

 SPECIAL INCENTIVES
 Provided that the Group utilizes 80% of the Room Block, we are pleased to provide, as special added
 incentives, the following:
                  One (1) Complimentary GRAND Presidential Suite will be reserved for Dave Ramsey
                  over the meeting dates
                   Five (5) Presidential Suite upgrades at Negotiated group rate (noted in room block grid)
                  Thirty (30) Deluxe Suites upgrades will be offered at group rate for VIPs/Speakers (noted
                   in room block grid)
                  Thirty (30) Executive Suites upgrades will be offered at group rate for VIPs/Speakers
                  (noted in room block grid)
                  Twenty (20) Celebrity Services Status (some will be modified)
                  200 Emerald Bay Rooms per night at $279.00 {noted in room block grid)
                  Complimentary valet for up to 20 staff members
                  Complimentary VIP round trip airport transfers for up to 10 speakers/VIPs
                  Complimentary AM/PM Office breaks for up to 20 staff members
                  $5,000.00 flat fee for power requirements (NOT including service charge or labor)
                  Wi-FI Package $65,000.00 (Plus Tax & Service Charge):
                            200 Mbps Dedicated Bandwidth, to be allocated across up to 3 VLANs / SSに)s
                            Up to 30 Static IP Addresses
                            Up to 20 Wired Drops




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                Access to in house Ughting in General Session complimentary (Value $780 00++ per day)
                 Forty Percent (40%) discount on Staff Block (noted in room block grid)
                Ten Percent (10%) Discount off current year banquet menu pricing {does not apply to
                custom menus, minimum must be met after discount is applied)
                 Pre-Planning Visits - up to 20 room nights (additional at Staff Rate) based on availability,
                To include office, valet parking, airport transfers and Food & Beverage needs
                Audio-Visual Discount - PSAV): Hotel will offer a 40 % discount off prevailing published
                pricing guidelines for PSAV in-house inventory of equipment (excludes labor, rigging,
                truss, Event Technology Support (service charges), consumables, sales tax and
                shipping/delivery chaipes) if PSAV is selected as the sole provider for all AV Equipment
                & Services. If PSAV is not selected as the sole provider then all AV Equipment will be
                charged at a sliding scale. If total spend of audiovisual equipment and labor before
                discount and tax is:
                $0 to $40,000 then a 10% discount will be appHed to audiovisual equipment
                $40,001 to $75,000 then a 15% discount will be applied to audiovisual equipment
                $75,001 + then a 20% discount will be applied to audiovisual equipment This
                discounting does not apply to consumables, labor, rigging, truss and Event Technology
                Support Fee (service charge).
                Credit to Master for 20% the value of Rigging motors and truss (excluding tax and service
                charge) Custom Rigging Package to be provided. PSAV is the exclusive provider of all
                rigging equipment, rigging & truss labor and truss equipment. Rigging equipment includes
                but is not limited to motors, points, cabling and truss.
                Complimentary corkage fee on Entre branded water bottles on main arrival registration
                day at Registration Desk location.
                $2.00++ corkage fee on Entre Branded Water Bottles on beverage stations during
                sessions, Am/Pm breaks and meal functions.
                Complimentary storage of up to seven pallets no more than five days prior to event
                Complimentary access to one in room channel
                Two Platinum Marriott Rewards Membership Status Upgrades
                Double Program Points
                Three (3) -Three nights stays to be used at our discretion (could be used as martくeting
                Incentives, contesting, etc.). To include:
                o Complimentary Deluxe Suite for three (3) nights
                o Celebrity Status
                o Complimentary Round trip airport transfer
                o Complimentary Welcome Amenity
                o Two (2) Rounds of Golf
                o One (1) Relache Spa treatment each for two (2) people - per gift certificate- total of
                     two(2) treatments per certificate
                o Dinner for Iwo (2) at Old Hickory Steakhouse
                Complimentary marketing Fees up to $50.000 00 (not including production or labor)

                TWO YEAR MULTI-YEAR CONCESSION PACKAGE
                (ADD ON Gaylord Rockies or Gaylord Texan by December 22, 2017)
                Al丄 Single Year Concessions
                15% Discount (instead of 10% in single year) on current year banquet menu (minimum
                must be met after discount is applied, discount not available on custom menus)
                250,000 Marriott Rewards at contract signing PER HOTEL
                $25,000.00 Master Account credit toward (1) Catered Function


                THREE YEAR MULTI-YEAR CONCESSION PACKAGE
                (ADD ON Gaylord Rockies or Gaylord Texan by December 22, 2017)




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                  All Single and Two Year Concessions
                  ALL MARKETING FEES WAIVED


 In the event of reductions in the room night commitment of more than 20% the hotel may adjust any
 concessions previously offered in this agreement, including concessions offered on a complimentary
 basis, and may also adjust the functions space in direct proportion to the reduction in the room night
 commitment.



 DEPOSITS
 Seventy-five percent (75%) of the anticipated Group expenditures to be master billed, including all food
 and beverage charges, is due thirty (30) days prior to arrival. Until this pre-payment is made, the Hotel
 reserves the right to withhold any or all the services hereunder agreed to.


 MASTER ACCOUNT
 Hotel must be notified in writing at least 10 days prior to arrival of the authorized signatories and the
 charges that are to be posted to the Master Account, Any cancellation or attrition fees will be billed to
 the Master Account

 METHOD OF PAYMENT
 The mefriod of payment of the Master Account will be established upon approval of Ramsey Solutions'
 credit. If credit is approved, the outstanding balance of Ramsey Solutions Master Account (less any
 advance deposits and exclusive of disputed charges) will be due and payable upon receipt of invoice.

 Ramsey Solutions will raise any disputed charge(s) within 10 days after receipt of the Invoice. The Hotel
 will work with Ramsey Solutions in resolving any such disputed charges, the payment of which will be
 due upon receipt of invoice after resolution of the dispute. If payment of any invoice is not received
 within thirty (30) days of the date on which U was due, Hotel will impose a finance charge at the rate of
 the lesser of 1-1/2% per month《18% annual rate) or the maximum alfowed by law on the unpaid
 balance commencing on the invoice date,

 Ramsey Solutions has indicated that it has elected to use the following form of payment:

 I 】Cash, money order, or other guaranteed form of payment
 []Credit card (We accept all major credit cards)
 []Company check or Electronic Funds Transfer
 [XJ Direct Bill

 Ramsey Solutions may not change this form of payment.

 in the event that credit is not approved, Ramsey Solutions agrees to pay an advance deposit in an
 amount to be delermined by the Hotel in its reasonable discretion, with the full amount due prior to the
 start of the group’s event.

 Please indicate which of the following will be billed to your master account

 Room and tax (Entire group)____
 Rooms and tax (VIPS and staff) 一X.
 Authorized Food and Beverage X
 Incidental Charges 一X staff only__
 Standard Gratuities   X

 PROGRAM




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       We have reserved space for your meeting and social functions based on our understanding of your needs
       at this time, as set forth in the attached Program Schedule attached hereto and incorporated herein. Your
       execution of the Agreement will serve as your approval of the attached program schedule

      Provided that you utilize at least 80% of the Room Block, such meeting space wilt be provided
      complimentary.

      We reserve the right to adjust the assignment of the Group’s meeting and function space to a size
      appropriate for the number of expected attendees at each function.

      Group will work with hotel at One (1) year before the groups arrival date to identify any potential unused
      space over event dates.

      Sixty (60) days before the Group's arrival date, your Convention Services team must receive the Group's
      final agenda. At that time, all space unused by your group will be released back into the hotel's inventory
      Any space additional and/or changes to the agenda within 60 days wit! continue to be based on
      availability, and may incur additional room rental.


                                             IBHE                   Friday
   6/15/2020    Fri        8:00 PM   J 11：45PM F      Osceola                  General
                                                      CD/Siaqo                 Session         SelUp

                                                                 Saturday
                                                                                                  ____
   5/16/2020   Sat    2    6:00 AM     11：45 PM       Osceola                  General
                                                      Ballroom                 Session         Set Up
  5/16/2020    Sat    2    6：00 AM     11.45 PM         Vwo                     Office         Office         Office
  5/1Ö/2020    Sat         7：00PM      11:45 PM      Sarasota 1               Breakout 9      Breakout     Schoolroom      20
   5/1Ö/2020   Sat    2    7:00 PM     11:45 PM      Sarasota 2              Breakout 10      Breakout     Schoolroom      20
  5/16/2020    Sal         7:00 PM     11:45 PM      Sarasota 3              Breakout 11      Breakout     Schoolroom     20
  5/16/2020    Sal    2    7:00 PM     11:45 PM     Galnesviße 2             Breakout ö      Breakout      Conference     20
  5/16/2020    Sat    2    7:00 PM    11：45 PM        Deslinl                 Breakout 7      Bieakout     Conference     20
  6/16/2020    Sat    2    7：00PM     11:45 PM        Destin 2               Breakout a      Breakout      Conference     20
  S/16Æ02O     Sat    2    7:00 PM    11:45 PM      Gainesville 1            Breakout 5      Breakout      Conference     20
  5/16/2020    Sat    2    8:00 PM    11:45 PM         Sun A                   Hold 1         Holding
                                                                                              Room
  6/16^020     Sat    2    8:00 PM    11:45 PM        Sun 1，6                Breakout 4      Bmakoul         Lounge       200
  S/16/2020    Sat    2    B：00 PM    11:45 PM         SunC                  Breakout 2      Bmakoul         Theatre      300
  6/16/2020    Sat         8:00 PM    11:45 PM         Sun O                 Breakout 3      Breakout        Theatro      300
  5/18/2020    Sat    2    0:00 PM    11:45 PM         SunÖ                  Breakout 1      Breakout        Thealre      500
  5/16/2020    Sat    2    0:00 PM    11:45 PM     City Hall Lobby           Registration   Registration

二？：：'へ':,-:                               ?總麵■■離                                                   찾
  5/t7/2020    Sun    3    1：00AM     11：45 PM         Sun A                                 Holding
                                                                               Holdl
                                                                                              Room
  6/17/2020    Sun    3    1:00 AM    11:45 PM        Osceoia                 General        General
                                                      Banroom                 Session                      Schoolroom    2,000
                                                                                             Session
  5/17/2020    Sun    3    t:00AM     11:45 PM         Sun B                 Breakoul 1      Breakout       Theatre      50D
  5/17/2020    Sun    3    1:00 AM    11:45 PM         SunC                  Breakout 2      Breakout       Thealre      300
  5/17/2020    Sun    3    1:00 AM    11:45 PM         SunD                  Breakoul 3      Breakoul       Thealre      300
  5/17;2020    Sun    3    1：O0AM     1145 PM         Sun 1-6                Breakout 4      Breakout        Louoge      200
  5/17/2020    Sun         1:00 AM    1145 PM      Gainesville 1             Breakout 5      Breakout      Coniar once    20




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                                                                             1452
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5/17/2020    Sun   3   1：00 AM   1t：4SPM      GalnesviKa 2       Breakout 6       Brçokou      Conference    20

5/17/2020    Sun   3   1:00 AM   11:45 PM       Destin 1         Breakout?        Breakou      Conference    20

6/17/2020    Sun   0   1:00 AM   11:45 PM       Destin 2         Breakout B       Breakou      Conference    20

5/17/2020    Sun   3   1:00 AM   11:45 PM      Sarasota 1        Breakout 0       Breakou      Schoolroom    20
S/17/2020    Sun   3   1:00 AM   11:45 PM      Sarasota 2       Breakout 1Ü                    Schoolroom    20

5/17/2020    Sun   3             11：45PM       Sa rasóla 3      Breakout 11      Breakou       Schoolroom    20

5/17/2020    Sun   3             11:45 PM         Vero                Office       Office         Office

5/17/2020    Sun   3   1；00 AM   11:46 PM    City Halt Lobby    Registratlor.   Registration

5/17/2020    Sun                                                                  Holding
                   3   6 00 AM   11.45 PM       Captiva           Hold 2
                                                                                   Room
«17/2020     Sun   3   6 00 AM   11,45 PM                                         Holding
                                                Daytona           Ho«3
                                                                                   Room
5/17/2020    Sun   2                                                              Holding
                       6 00 AM   11:45 PM        Miami            Hosd 4
                                                                                   Room
5/17/2020    Sun       6C0AM     11:45 PM                                         Hewing
                   3                            Sanlbel           Holds
                                                                                   Room
6/17/2020    Sun   3   6:00 AM   11:45 PM                                         HoUing
                                              TaliahQssec         Hold 6
                                                                                   Room
6/17/2020    Sun   a   6:00 AM                                                    Holding
                                 11:45 PM       Flagler           HoW7
                                                                                   Room
5/17/2020                                                         Hold for
             Sun   3   6:00 AM   11:45 PM   Exhibit HallA-F                       Exhibits
                                                                  growth
6/17/2020    Sun   3   6:00 AM   11:46 PM      Tampa 1          Breakout 12      Breakout      Schooiroom    20

5/17/2020    Sun   3   6:00 AM   11:45 PM      Tampa 2          Breakout 13      Bfeakout      Schoolroom    20

5m/2020      Sun   3   6:00 AM   11；4S PM      Tampa 3          Breakout 14      Breakout      School room   20

5/17/2020    Sun   3   6:00 AM   11：4S PM                        Spc aKer
                                                Naples                                          Lounge       20
                                                                  Ro om
                                                               Team Meeting       Hddîng
6/17/2020    Sun   a   1:00 PM   11:45 PM   St Goorgo#102
                                                                                   Room
6/17/2020    Sun   3                                           Team Meeting       Hddîng
                       1:00 PM   11:45 PM   St George #104
                                                                    2              Room
5/17/2020    Sun                 11：45 PM                      Team Meetbig       Holding
                   3   1:00 PM              St George #106
                                                                    3              Room
5/17/2020    Sun   3   1*00 PM   11:45 PM   SI George #108
                                                               Team Meeting       Holding
                                                                                   Room
5/17/2020    Sun                                               Team Meeting       Holding
                   3   1*00 PM   11：45 PM   SI. George #114
                                                                                   Room
5/17/2020    Sun   3             11:45 PM                      Team Meeting       Holding
                       1-00 PM              St George «112
                                                                    6             Room
                                               Orange
6/17/2020    Sun                 11：« PM                       Team Meeting       Mowing
                   3   1:00 PM                 Blossom
                                               Balír00171                         Room

5/17/2020    Sun   3   4:00 PM   10:00 PM
                                             Coqu ina lawn        Dessert
                                                                                 Reception
                                                                                                Cocktail
                                             and Fire
                                                 I     Pila     HecepUon                                          ExhiUt Hall A
                                                                                                Rounds
                                                                  .             ぜ—             ,.
                                               Orange
S/1 a/2020   Mon   4   1:00 AM   11:45 PM      B(o>&80i        Team Meeting       Holding
                                                                                   Room
                                               Baltioom
5/ta/2020    Mon       VOO AM    11：4S PM       Flagter                          Holding
                                                                  Hold 7
                                                                                  Room
5バ e/2020    Mon                 11:45 PM                      Team Meeting      Holding
                       1:00 AM              St George #112
                                                                    6             Room
6/1W2020     Mon   4                                           Team Meeting      Hok_
                       1:00 AM   11：4S PM   St George #114
                                                                    5             Room
5/ta/2020    Mon   4   1:00 AM   11:45 PM   St George #108     Team Meeting      Holding
                                                                                  Room
5/18/2020    Mon   4                                           Team Meeting      Holding
                       1：OOAM    11：4S PM   SL George #106
                                                                    3             Room_
5/18/2020    Mon   4                                           Team Meeliag      Holding
                       1:00 AM   11:45 PM   SI George #104
                                                                    2             Room
5/18/2020                                                      Team Meeting      Holding
             Mod       1：OOAM    H：45PM     SL George #102
                                                                                  Room
5/18/2020    Mon   4   1:00 AM                                                   Holding
                                 11.45 PM    Tallahassee          Hdda
                                                                                  Room
5/18/2020    Mon   A   1：00AM    11.45 PM       Miami
                                                                                 Holding
                                                                  Hold 4
                                                                                 Room _




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5/10/2020     Mon     4    1：OOAM    11:45 PM        Sanibel                         Holding
                                                                        Holds
                                                                                      Room
5/18/2020     Mon          1:00 AM   11:45 PM                                        Holding
                                                     Sim A              Holdl
                                                                                     _Room
mmoio         Mon     4    1:00 AM   11:45 PM       Osceola            General       General
                                                    BaDroo巾                                       Schoclfoom    2.000
                                                                       Session       Session
5/IB/2020     Mon     4    1;Q0AM    11:45 PM        SunB             Breakout 1                    Theatre      500

5/10/2020     Mon         1.00 AM    11:45 PM        SunD             Breakout 3                    Theatre      300

5/18/2020     Mon         1:00 AM    11:45 PM        SunC             Breakout 2                    Theatre      300

5/18/2020     Mon         1.-OOAM    11：45PM        Sunl-fl           Breakout A     Breakou        Lounge       200
5/1B/2020     Mon     4    1:00 AM   11:45 PM     Gainesville 2       Breakout 0     Breakou      Conference     20

5H8/2020      Mon         1：00AM     11:45 PM       Tampa 2        Breakout 13       Breakou      Schodroom      20

S/19/2020     Mon     4   1:00 AM    11.45 PM       Tampa 3        BraaKoutÍA        Breakou      Schoolroom     20

5/1flß020     Mon         1:00 AM    11:45 PM       DeaUn 1           Breakout 7     Breakou      Conference     20

5/18Æ020      Mon         1:00 AM    11:45 PM      Sarasota 2      Breakout 10       Breakou      Schoolroom     20

5/1ÖÖ020      Mon         1：00AM     11:45 PM      Sarasota 3      Breakout t1                    Schoolroom     20

5/18/2020     Mon         1:00 AM    11:45 PM       Destin 2          8raakout 8                  Conference     20

5/18/2020     Mon         1:00 AM    11:45 PM     Gainesville 1       Breakout 5     Breakou      Conference     20

5/18/2020     Mon         1:00 AM    11:45 PM      Tampa 1         Breakout 12       Breakou      Schooiroom     20

5/1 fl/2020   Mon         1:00 AM    1t;45 PM     Sarasota 1          BreaKoviiQ     Breakou      School room    20
5/18/2020     Mon         1：00AM     11:45 PM         Voro              Office        Office        Office
                                                                       Spco卜         Speaker
5/1Ö/2020     Mon         1:00 AM    11:45 PM       Naples                                          Lounge       20
                                                                        Roof          Room
5/18/2020     Mon         1:00 AM    11:45 PM                                        Holding
                                                    Captiva            Hofd2
                                                                                      Room
5/18/2020     Mon     4   1：00AM     11：45 PM       Daytona                          Holding
                                                                       Hcrfd3
                                                                                     Room
5/18/2020     Mon         1：00 AM    11:45 PM   Ctty Hall Lobby    Registration    Registration

6/1W2020      Mon     4                                                Hold for
                          1：00AM     11.46 PM   Exhibit Hall                         Exhtoils
                                                                       growlh
5/18/2D20     Mon         10:00 AM   10:30 AM   Osceola Lobby         AM Break     Coffee Break     RolWn

5/18/2020     Mon         11:00 AM                 Osceola
                                     12:00 PM                           Lunch         Lunch       Schoolroom    2,000
                                                   Baitroom
5/18/2020     f났Ion       2:30 PM    3;D0 PM    Osceola Lobby         PM Break     Coffee Break     Rofl-m

                                                               T-•咖                       ______________________
                                                   Orange
5パ Õ/2020     Tue         1:00 AM                                 Team Meeting       Holding
                                     6:00 PM       Blossom
                                                   Ballroom                          Room

5/19/2020     Tue     5                                           Team Meeting       Holding
                          1:00 AM    6:00 PM    SI. Ge아ge »102
                                                                                      Room
5/10/2020     Tue     5   1:00 AM    6：00 PM                      Team Meeting       Holding
                                                SI George #104
                                                                       2              Room
5/19/2020     Tue         1:00 AM    6:00 PM                      Team Meeting       Holdii
                      5                         St George #100
                                                                       3              Roor
5/19/2020     Tue         1:00 AM               St George #108    Team Meeting       Holding
                      Ô              6:00 PM
                                                                       4              Room
5/1Û/2020     Tua     5              6;00 PM                      Team Meeling       Holding
                          1:00 AM               St George #114
                                                                       5              Room
6/19/2020     Tire    5              6:00 PM                      Team Meeling       Holding
                          1:00 AM               St. George «112
                                                                       8              Room
5/19/2020     Tue         1:00 AM    11:45 PM       Flagler                          Holding
                      5                                                Hold/
                                                                                      Room
5/19/2020     Tue     5   1:00 AM    11:45 PM                                        HokHng
                                                    Sanibel            Holds
                                                                                      Room
5/19/2020     Tue     5   1:00 AM    11：45 PM    Tallahassee           Ho(d6         HokHng
                                                                                      Room
5/19/2020     Tue     5   t :00 AM   11：45PM                                         HokKnQ
                                                    Mian사              HM A
                                                                                     —Room
6/1W2020      Tue     5   1:00 AM    11：« PM        Sun A              Holdl         HokÄnfl
                                                                                      Room




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   미 9/2020     Tue    5                                   Osceola           General         GçnBr리
                             1Æ0AM     11145 PM                                                               Schoolroom    2,000
                                                          Ballroom           Session         Session
   5/19/2020    Tue    5     1:00 AM   11:45 PM             Sun B           Breakout 1       Breakout           Tlneatre     5GO

   5/10/2020    Tua    5     1：O0 AM   11:45 PM             Sun D           Breakout 3       Breakout           TheaUe       300
   5/19/2020    Tub    5     1:00 AM   11:45 PM             Sun C           Sreakout 2       Breakout           Theatre      3€0
   5/tS/2020    Tue    5     1:00 AM   11:45 PM            Sun 1-8          Breakout よI      B卿!のtit            Lounge       200
   5/1Û/2Û20    Tue    5     1：0OAM    11:45 PM         Gainesville 2       Breakout G       Breakout         Conference     20

   6/1Q/2020    Tue    6     1:00 AM   11:45 PM           Tampo 2          Õrcakout 13       Breakout         Sciioolrown    20

   5/19/2020    Tue    S     1:00 AM   11：45PM            Tampa 3          Breakout 14       Breakout         Schoolroom     20

   S/1W20Z0     Tüe    S     1:00 AM   11:45 PM            DesUfi 1         Bieakoul 7       Breakout         Conference     20
   5/)9/2020    Tue    5     1:00 AM   U A5 PM           Sa rasóla 2       Breakoul TO       Breakout         Schoolroom     20
   sm예20        Tue    5     1:00 AM   11,45 PM          Sãrâsota 3        Breakout 11       Breakout         Schoolroom     20
   5/10/2020    Tue    5     1:00 AM   1145 PM             Destin 2         Breakout B       Breakout         Gonfeience     20
   5/10^020     Tue    5     1:00 AM   It 45 PM         Gainesville 1       Breakout 6       Breakoul         Conference     2D
   5パ Q/2ÍJ2D   Tue    5     1：ÛÛAM    ti 45 PM           Tampa 1          Breakout 12       Breakout         Schoolroom     20
   5/19/2020    Tue    5     1：00AM    11：45 PM          Sarasola 1         Breakout 9      Breakout          Schoolraom     20

   이 0/2020     Tuo    5     1:00 AM   11:45 PM             Vero              omcc            Office             Office

   6/1S/2Q20    Tue                                                          Speaks          Spââkaf
                       5     1.00 AM   11:45 PM            Naples                                               Lotmge       20
                                                                              Room            Room
  5/19/2020     Tue    5                                                                     Holding
                             1:00 AM        PM             Captiva            Hold 2
                                                                                              Room
  6/tfl/202O    Tub    5     1:00 AM   11:45 PM                              HOW 3           Hotdfrig
                                                          Daytona
                                                                                              Room
  S/19/2020     Tub    5     1:0GAM    11:45 PM        CHy Hall Lobby      Regialratiofi   RegfsiraUon
                                                                             Hold for
   5/19/2020    Tub    5     1:00 AM   11:45 PM        Exhibit Hall A-F                      Exhibits
                                                                            JKOWÍh
   5/19/2020    Tue    5    10:00 AM   10:30 AM        Osceola Lobby        AM Break       Coffee Break         RoH-ln

  5/19/2020     Tue    5                                  Osceola
                            11:00 AM   12:00 PM                               Lunch           Llmch           SchooUciom    2.000
                                                          Ballroom
  5/10/2020     Tue    5     2:30 PM   3:00 PM         Osceola Lobby        PM Break       CoffGe Break         Rdl，(n

   »19/2020     Tus    5     4:00 PM                    Emarald Bay
                                       10 00 PW                           VIP Reception     Reception                       400
____________________       _______                J一      Plaia                                           _
                                                                   V她•_                                                             -
  SOT2020       Wed    8     t:D0AM                    Exhibil Hall A-F      Hold for
                                       3:00 PM                                               Exhibits
                                                                            jiiowth
  S/20/2020     Wed    6     1:00 AM   5:00 PM             SUrtB           Breakoul 1       Breakou            Theatre      SOO

  5C(U2020      Wed    6     1:00 AM   5:00 PM             Sun D           Breakout 3       Breakou            Thealre      300
  S/20/2020     Wed    6     1:00 AM   5:00 PM             Sun C           Breakou! 2       Breakou            Theatre      300

  5，20/2020     Wed    0     1:00 AM   5:00 PM            Sun 1*0          Breakouts        Breakou             Lounge      200
  5/20/2020     Wed    8     1:00 AM   5:00 PM          Gainesville 2      Breakout a                         Conlcrence     20

  fi/20/2020    Wed    5     1:00 AM   sm PM              Tampa 2          Breakout 13                        Schoolrooni    20
  5f201702Q     Wed    6     1:00 AM   5:00 PM            Tampa 3         Breakout 14                         Schoolroom     20
  5/20/2020     Wed    5     1:00 AM   5:00 PM            Dcslin 1         Breakout 7                         Conferenca     20
  5咖2020        Wed    6     1:00 AM   5:00 PM           Sarasota 2       Breakout 10                         Schoolroom    20

  5/20/2020     Wed    6     1:00 AM   5:00 PM           Sarasota 3       BreakoutH                           Schoolroom     20

  5/2D/2020     Wed    6     1.00 AM   5:00 PM            Destin 2         Breakout S       Breakout          Conference    20
  S/20/2020     Wëd    6     1:00 AM   5‘flO PM        GainââviUâ t        Breakout 5                         Conrerence    20
  5/2D/2020     Wed    6     IMAM      5:00 PM           Tampa 1          Breakout 12                         Sdwclraom     20

  잇20/2020      Wed    6    1:00 AM    5:00 PM           Samaola 1         Breakoutô                          Schoolroom     20




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Sf2012020    Wod   6    1；OOAM      5:00 PM       Naples                               Speal
                                                                                                          Lounge      20
                                                                                        Rooi
5/20/2020    Wed   0    1:00 AM     5:00 PM    City Ha㈣ Lobby        Registration    Registration
5/2CW2020    Wed   6                11:45 PM     Osceola              General          General
                        1:DOAM                                                                          Schoolfoom   2,000
                                                 Oallrooni            Session          Session
5/20/2020    Wed   6    1:00 AM     11:45 PM       Vero                 Office          Office            Office
5/20/202Û    Wed   6   10:00 AM     10：30AM    Osceola Lobby         AMBretfc       Coffee Bfeak          RoH-in
5/20/2020    Wed   6                             Osceola
                       11:00 AM     12:00 PM                           Lunch           Lunch            Schoolroom   2,000
                                                 Ballroom
5/20/2020    Wed   6    2：30 PM     3:00 PM    Osceola Lobby         PM Break       Coffee Break          Roll-li)

                                        ä：                   FHday                  ____________ ■
021/2020     Thu        1:00 AM     12:00 PM       Vero                Office          Office       I    Office        1


   FOOD AND BEVERAGE PRICING: FOOD AND BEVERAGE GUARANTEE
   Food and Beverage pricing for the Event will be based on prevailing market conditions at the time of the
   Event. Current 2017 nummum banquet pnces, excluding tax and a service charge, are as follows:


    Breakfast              Price range:                         Dinner                                      Price range:
    Continental              $37 - $41                          Plated                                       $80 - $109
    Plated                   $36 • $49                          Buffet                                       $93-$124
    Buffet                   $43 - $62

    Lunch                                                       Reception:
    Plated                   $42 - $59                          Full Bar:
    Buffet                   $57 - $62                           One Hour                                     $25 • $36
    Box                           $44                            Two Hours                                    $33 - $37
                                                                 Three Hours                                  $42 - $47

                                                                Food:
                                                                Light Hors d'oeuvre                           $31 - $39
                                                                Heavy Hors
                                                                d'oeuvre
                                                                  & Stations                                 $80-$106


  Applicable taxes and a service charge will be added to all food and beverage pricing. Service Charges for
  discounted menus will be based on retail pricing. All food and beverages served at functions associated
  with the Event must be provided, prepared, and served by Hotel and must be consumed on Hotel
  premises.

  The Hotel is relying on, and the Group agrees to provide, a minimum of $700,000 (the "F&B Guarantee*)
  plus applicable taxes and service charges. Group agrees that the food and beverage functions listed on
  the schedule of events are a major component of this Agreement and that the Hotel will suffer damages
  that will be difficult or impossible to calculate if the Event is held and the Group’s actual food and
  beverage spend falls below the F&B Guarantee. In such event, the Group will pay the Hotel liquidated
  damages in an amount equal to the difference between (Ì) the F&B Guarantee and (li) the actual total
  food and beverage revenue generated by the functions listed in the Event's program schedule. Group
  agrees that such damages are a reasonable estimate of the Hotel's actual damages and not a penalty.
  These liquidated damages are due within 30 days of the date such damages are incurred, and accrue
  interest at the rate of 1.5 percent per month (or, if less, the maximum amount permitted by law).
  Gaylord Palms is pleased to recommend:




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  FREEMAN Is the world's leading provider of integrated services for face-to-face marketing. As a strategic
  based event partner, FREEMAN is the one source for all your exposit-on and convention service needs.
  They are convenien% located on property to assist you and your exhibitors. FREEMAN specializes in
  logistical sofutions including exhibit booth programs, corporate events, custom carpet, furniture rental,
  floor plan design, digital graphic & design production, rental displays, group registration areas,
  staging/plush draping and material handímg services. FREEMAN can also provide strategic solutions by
  developing social media Integration, virtual extension components and ROI measurement to insure your
  organization achieves its immediate goals and continues its growth into the future. For more information
  visit the FREEMAN website at www.freemanco.com. Contact Beth Coffey at 407-313-5850 or 407-586-
. 2209.

 For over 50 years PSAV Presentation Services has specialized in the planning, production, and execution
 of complex presentations and events all over the world. They are one of Hie world's leading providers of
 event technology and integrated services for corporate events, conventions, exhibitions and awards
 shows. PSAV Presentation Services is honored to serve as the preferred in-house staging, production
 and audio visual services contractor and exclusive rigging services provider for Gaylord Hotels. With
 multiple offices and dedicated technical support on property, PSAV is positioned to properly assist you
 and your guests PSAV Presentation Services is dedicated lo providing a remarkable experience for
 event managers, exhibitors and attendees alike. For more information, please contact our in-house office
 at 407-586-2251.

 Hello Florida! is a full service destination management company focused on the success of our clients.
 Our services include transportation, hospitality staff, customized themed events, décor and entertainment,
 tours and activities, teambuilding events, and access to Florida's premier venues. Our integrity,
 enthusiasm and commitment to excellence make us the leader in the industry today, and tomorrow.
 Please call Stephanie Hotchkiss at 407-586-2352 or shotchkiss@helloflorida.com for more information.

 Retâche, our on-site resort spa, was designed with groups in mind This 25,000-square-foot European-
 inspired spa features 25 massage, body and skin care treatment suites; a full-service salon; and a
 complete fitness center. Feel free to contact our Spa Sales Manager at (407) 586-4772, for more
 information about the range of services offered, including fitness breaks during your meetings.


 AFFILIATE GROUPS
 So that we may accommodate any groups that are meeting in conjunction with your convention, please
 indicate which of the fottowing procedures will be used by your group:

  Approximate number of affiliate groups anticipated:

       Approval must go through headquarters for function space，
 _____ Notify headquarters of affiliate group, but prior approval of space is not required.
 __    Headquarters does not require any knowledge of any affiliate group.

 Charges for function space required for affiliate groups will be negotiated at such time as space is
 requested.

 ATTRITION
 Hotel is relying upon Group's use of the Room Night Commitment. Group agrees that a loss will be
 incurred by Hotel if Group’s actual usage is less than 80% of the Room Night Commitment

 If Group’s actual usage is less than 80% of the Room Night Commitment, Group agrees to pay, as
 liquidated damages and not as a penalty, the difference between 80% of lhe Room Night Commitment
 and Group's actual usage, muttipfied by the average group room rate, plus applicable taxes.




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 CANCELLATION POLICY
 Group agrees that H bears responsibility for payment for the Room Block and the F&B Guarantee. Group
 also agrees that the Hotel will suffer actual harm that will be difficult to determine if the Group cancels this
 Agreement after lhe date hereof for reasons other than those specified in this Agreement. The Group will
 pay as liquidated damages to the Hotel, depending upon the timing of such cancellation, the following
 amounts, as a reasonable estimate of harm to Hotel for the cancellation:



 Time Period of Cancellation                       Amount of Lkiuidated Damages Due
 0-180 days prior to arrival                       100% of total room revenue plus 75% of F&B Guarantee
 181 -365 days prior to arrival                    75% of total room revenue* plus 50% of F&B Guarantee
 366-551 days prior to arrival                     40% of total room revenue
 552 or more days prior to arrivai                 10% of total room revenue*

 •The term "total room revenue" means the dollar amount equal to the Room Block multiplied by the
 Group's average room rate, exclusive of resort fee.

 Such amount (the "Cancellation Charge") will be due and payable due within 30 days of the date of
 cancellation, and accrue Interest at the rate of 1.5 percent per month (or, if less, the maximum amount
 permitted by law). If required by the applicable jurisdiction, the Group will pay sales and/or other
 applicable taxes with respect to the Cancellation Charge outlined above.

 CANCELLATION »N EVENT OF CHANGE IN MEETING SITE
 Notwithstanding any other provision of this Agreement, the Group agrees that it has no right to cancel this
 Agreement for the purpose of changing its meeting site to another city or location, and in such event,
 regardless of the date of cancellation of the Agreement, the Group will owe liquidated damages equal to
 100% of total room revenues plus applicable tax, to be received by the Hotel from your event for guest
 rooms comprising the Room Block.

 FOR CAUSE TERMINATION
 Should it be impossible for the group to perform its obligations under the Agreement as a result of Dave
 Ramsey's unforeseen death or disability, the Hotel shall refund all deposits and/or prepayments made by
 the Group within thirty (30) days of receipt of the notice of termination. Group must notify Hotel within Ten
 (10) days of such occurrence.

 Notwithstanding any provision to the contrary herein, Group may at any time terminate this Agreement
 without penalty in the event Hotel, its parent, subsidiary or affiliated businesses, principals or executives
 become engaged in, accused of or subject to any public scandal, political controversy, crime, fraud or
 olher event that in Group's sole judgment will impair or damage its brand or good will by hosting an event
 at HoteL In such event, Group shall provide prompt notice and the Hotel shall refund all deposits and/or
 prepayments made by the Group within thirty (30) days of receipt of the notice of termination.

 PERFORMANCE LICENSES
 Ramsey Solutions will be solely responsible for obtaining any necessary licenses or permission to
 perform, broadcast, transmit, or display any copyrighted works (including without limitation, music,
 audio, or video recordings, art, etc.) that Ramsey Solutions may use or request to be used at the Hotel.

 FORCE MAJEURE
 Either party may be excused from performance without liability if circumstances beyond its reasonable
 control, such as acts of God, war, acts of domestic terrorism, strikes or similar circumstances, make it
 illegal or impossible to provide or use the Hotel facilities. The ability to terminate pursuant to this clause
 is conditioned upon delivery written notice to the other party setting forth the basis for such termination
 within ten (10) days after learning of such basis

 LITIGATION EXPENSES




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  The parties agree that, in the event litigation relating to Uiis Agreement is filed by either party, the non­
  prevailing party in such litigation will pay the prevailing party's costs resulting from the litigation,
  including reasonable attorneys’ fees.

  LIQUOR LICENSE
  Ramsey Solutions understands that Hotel’s liquor license requires that beverages only be dispensed by
  Hotel employees or bartenders. Alcoholic beverage service may be denied to those guests who appear
  to be intoxicated or are under age.

 COMMUNICATIONS BETWEEN THE PARTIES
 Notices sent between the parties may be sent via regular mail, with the effective date as of the date of
 mailing, or by Federal Express or other overnight delivery service, with the effective date the date of
 receipt, or by facsimile, with the effective date as of the date shown on the confirmation of receipt.
 Copies or facsimiles shall be considered as valid as original documents.

 RENOVATION/REMODELING
 As of the date of the signing of this Conlract, Hotel has no plans for renovation or remodeling of any
 facilities over the program dates, which will be utilized by Group pursuant to this contract, other than
 ordinary maintenance. In the event that after this contract is signed, Hotel confirms any plans to remodel
 or renovate its fecilities over the Event dates, Hotel agrees to inform your group in writing of the following;

 *       Planned scope of project,
 ♦       Schedule for commencement and completion;
 •       Anticipated impact project will have on areas to be uWized by your group;
 •       Hotel’s plan for minimizing impact of project on Group.

 Hotel promises that any such construction or remodeling will not interfere with Group's use of the Hotel.
 The parties agree to negotiate in good faith to resolve any concerns raised as a result of renovations or
 remodeling and to enter into such amendments of this Contract as may be necessary to reasonably
 accommodate bolh parties' Interests.

 DISHONORED RESERVATIONS
 If the Hotel is unable to provide a room to a Group attendee holding an accepted or confirmed
 reservation, Hotel may provide alternative accommodations to such attendee (an "Affected Attendee")
 without such action constituting a breach of this Agreement, provided the terms and conditions of this
 paragraph are followed. In such an evenl, the Hotel will provide, at its cost, the substitute hotel
 accommodations to the Affected Attendee and transportation to and from the substitute hotel for each day
 that Hotel cannot provide a room. Upon return to the Hotel, the Hotel will provide a note of apology, and
 every attempt will be made to place the guest in an upgraded roam.

 SEVERABILITY
 If for any reason a court of competent jurisdiction finds any provision of this Agreement or portion thereof
 to be unenforceable, that provision shall be enforced to the maximum extent permissible so as to affect
 the intent of the parties, and the remainder of the Agreement shall continue in full force and effect.

 AMERICANS WITH DISABILITIES ACT (ADA) COMPLIANCE
 Each party agrees to use good faith efforts to ensure that it complies with its obligations under the
 Americans with Disabilities Act and the Act's accompanying regulation and guidelines (collectively the
 •ADA**). Each party further agrees to indemnify and hold the other party harmless from and against any
 and all claims and expenses, including attorney's fees and litigation expenses, that may be Incurred by
 or asserted against the other party or its officers, directors, agents, and employees on the basis of the
 indemnifying party、non-compliance with any of the provisions of the ADA. Ramsey Solutions agrees to
 provide Hotel with reasonable advance notice about the special needs of any attendees of which
 Ramsey Solutions is aware.

 This Agreement is subject to ail applicable federal, state, and local laws, including health and safety




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 codes, alcoholic beverage control laws, disability laws, federal anti-terrorism laws and regulations, and
 the like. Hotel and Ramsey Solutions agree to cooperate with each other to ensure compliance with
 such laws.

 EXECUTION： ASSIGNMENT; AMENDMENTS
 By execution of this Agreement, the parties specifically acknowledge and agree that this Agreement sets
 forth the entire understanding between the parties with respect to the subject matter hereof, shaH act as
 the binding obligation of the parties, and the individual party signing this Agreement on behalf of a party
 has the requisite power and authority to bind such party. No modification, amendment of, or supplement
 to this Agreement shall be valid or effective unless the same is in writing and signed by both parties. The
 Hotel may require ancillary terms under this Agreement, such as its Policies and Procedures and Banquet
 Event Orders, and such terms, to the extent not inconsistent with the provisions of this Agreement, shall
 be binding upon the Group.

 INDEMNIFICATION
 Each party to this Agreement shall, to the extent not covered by the indemnified party's insurance,
 indemnify, defend, and hold harmless the other party and its officers, directors, agents, employees, and
 owners from and against any and all demands, claims, damages to persons or property, losses, and
 liabilities, including reasonable attorneys' fees (collectively, "Claims"), arising solely out of or solely
 caused by the indemnifying party’s negligence or willful misconduct in connection with the provision and
 use of Hotel as contemplated by this Agreement This paragraph shall not waive any statutory
 limitations of liability available to either party, including innkeepers' limitation of liability laws, nor shall it
 waive any defenses either party may have with respect to any Claim.

 COMPLIANCE WITH LAW
 This Agreement is subject to all applicable federal, state, and local laws, including health and safety
 codes, alcoholic beverage control laws, disability laws, federal anti-terrorism laws and regulations, and
 the like. Hotel and Ramsey Solutions agree to cooperate with each other to ensure compliance with
 such laws.

 CHANGES, ADDITIONS. STIPULATIONS. OR ÜNING OUT
 Any changes, additions, stipulations or deletions including corrective lining out by either Hotel or
 Ramsey Solutions will not be considered agreed to or binding on the other unless such modifications
 have been initialed or otherwise approved in writing by the other




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 ACCEPTANCE
 When presented by the Hotel to Ramsey Solutions, this document is an invitaban by lhe Hotel to
 Ramsey Solutions to make an offer Upon signature by Ramsey Solutions, this document will be an
 offer by Ramsey Solutions. Only upon signature of this document by all parties will this document
 constitute a binding agreement Unless the Hotel otherwise notifies Ramsey Solutions at any time prior
 to Ramsey Solutions execution of this document, the outlined format and dates will be hefd by the Hotel
 for Ramsey Solutions on a first-option basis until Friday, September 29, 2017. If Ramsey Solutions
 cannot make a commitment prior to that dale, this Invitation to offer will revert to a second-option basis
 or, at the Hotel’s option, the arrangements will be released, in which case neither party will have any
 further obligations.

 Upon signature by both parties, Ramsey Solutions and the Hotel shall have agreed to and executed this
 Agreement by their authorized representatives as of the dates indicated below.

 SIGNATURES
 Approved and authorized by Ramsey Solutions

 Name: (Print)     Joe Leavitt

 Title; (Print)    •Director Of Event Prodcutions Ramse^Solutions_______________

 Signature:        ご00 でィ"乙=ビ-조성ュ〆L ノ〆 7두、^〉/£4Aマᅀ도JO정广갚사 ふんんノ1ノ
 Date; 9/29/2017


 Approved and authorized by Hotel

 Name: (Print)     Tatum Delia

 Title: (Print)    Senior Sales Executive

 Signature:                          チ á OlÍM
 Date:




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                                                                       -~~
                                                               AMENDMENT TO AGREEMENT
                                                                      BETWEEN
                                                                  RAMSEY SOLUTIONS
                                                                                      AND
                                                                 GAYLORD PALMS RESORT
                           THIS AMENDMENT (this "Am
                  "Effective Date"), is by and betw         endment''), made and entered into
                                                    een Gaylord Palms Resort & Con            as of March 27, 2020 (the
                  Solutions ("Group").                                             vention Cen ter ("Hotel") and Ram
                                                                                                                     sey
                          WHEREAS, Hotel and Group are
                (the "Ag reem ent' ') with respect              currently parties to an agreement,
                                                   to the meeting to be held at the Hot              dated Sep tem ber 29, 2017
                and                                                                     el on May I 5 - 21, 2020 (the "Ev
                                                                                                                          ent" );
                          WHEREAS, the parties desire to
                                                                     ame nd the Agr eem ent as set fort
                                                                                               h herein.
                        NO W, TH ERE FOR E, in conside
              and valu able con side ratio n, the            ration of the mut ual cov enan ts con
                                                  rece ipt and sufficiency of whi                  tain ed here in and othe r goo d
              here by agre e as foll ows :                                         ch are here by ack now ledg ed,
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                 1.   Revised Room Block for the Eve
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                      Agr eem ent, as foll ows :                                             RO OM BLO CK " in the

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                                    -                                                                            1,054      324            3,52 4
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           Deluxe Sui te            -                                                                             30         30             125
                                                5           30                                  30
        Presidential Sui te        -            6
                                                                                                                  30         30             125
          Em era ld Bay                                      6                                     6              6
                                   -           20          200                                  200
                                                                                                                             6               30
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                                                                                                                            80              381
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  I                                 16.2020)
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    Em era ld Bay                                                                                                6          6
                                      -               20              200                    200
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        Sta ff                      20                                                                          200        50              670
                                                     41               80                      80
       Tot al                       20                                                                          80         80              381
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                                                     2. Oth er Rev isio ns to Agr
                                                                                  eem ent . The Agreement is
                                                 Original Qu ote                                             further modified as follows:
                                                 M-9 SER WB 8

                                               New Qu ote
                                               M- KX E7Z 2X

                                               Original Cu tof f Date
                                              Saturday,April25,2020

                                              Rev ised Cu tof f Dat e
                                           Saturday June 20, 2020

                                          Original Foo d & Beverage
                                                                    Minim um
                                          $700,000++

                                      Revised Food & Bev era ge
                                                                     Minimum
                                     Ho tel is rely ing on and the Gro
                                                                       up agr ees to provide a min imu
                                     pea k nig ht (Ju ly 12, 13, and                                    m of $100.00 per actu aliz ed
                                                                     14) wit h a min imu m not to exc                                 roo m nig ht per
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                                                                                          Saturday                                                                   \
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   5116/2020                           Sat            6:0 0A M                                                                     I        Osceola Ballroom
                                                                      11:45 PM        Office
  5/16/2020                            Sat                                                             Office                      I
                                                      7:00 PM         11:45 PM                                                                   Vero
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  5/16/2020                           Sat            7:0 0P M                                                                     20          Sarasota I
                                                                     11:45 PM      Breakout 10
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             Date         Day    Start                  End                  Fu■ctlon                                Setup    #Ppl       Function Space
          5/16/2020        Sat 8:00 PM              11:45 PM                Hold I                                                 I          Sun A
          5/ 16/2020       Sat 8:00 PM              11:45 PM              Breakout 4                             Lounge          200         Sun 1-6
         5/ 16/2020       Sat 8:00 PM               11 :45 PM             Breakout 2                             Theatre         300          Sun C
         5/16/2020        Sat 8:00 PM              11:45 PM              Breakout 3                              Theatre         300          Sun D
         5/16/2020        Sat 8:00 PM              11:45 PM              Breakout I                              Theatre         500          Sun B
         5/16/2020        Sat 8:00 PM              11 :45 PM             Registration                                             I      City Hall Lobby
                                                                               Sunday
           5/17/2020 Sun 1:00AM 11:45 PM            Hold I                                                                      I              Sun A
          5/17/2020 Sun 1:00AM 11 :45 PM General Session       Schoolroom                                                    2,000      Osceola Ballroom
          5/17/2020 Sun 1:00AM 11:45 PM           Breakout I     Theatre                                                      500              Sun B
          5/17/2020 Sun 1:00 AM 11:45PM           Breakout 2     Theatre                                                      300              Sun C
          5/17/2020 Sun 1:00AM 11 :45 PM          Breakout 3     Theatre                                                     300               Sun D
         5/17/2020 Sun 1:00AM 11 :45 PM          Breakout 4      Lounge                                                      200              Sun 1-6
         5/17/2020 Sun 1:00AM 11:45PM            Breakout 5    Conference                                                     20           Gainesville 1
         5/17/2020 Sun 1:00AM 11:45 PM           Breakout 6    Conference                                                     20           Gainesville 2
        5/17/2020 Sun 1:00AM 11:45 PM            Breakout 7    Conference                                                     20             Destin I
        5/17/2020 Sun 1:00AM 11:45 PM            Breakout 8    Conference                                                     20             Destin 2
        5/17/2020 Sun 1:00AM 11:45 PM           Breakout 9    Schoolroom                                                     20             Sarasota I
       5/17/2020 Sun 1:00AM 11:45 PM            Breakout 10   Schoolroom                                                     20             Sarasota 2
       5/17/2020 Sun 1:00AM I 1:45 PM           Breakout 11   Schoolroom                                                     20             Sarasota 3
       5/17/2020 Sun 1:00AM 11 :45 PM              Office       Office                                                        I                Vero
       5/17/2020    Sun   1:00AM    11:45 PM   Registration                                                                      I      City Hall Lobby
      5/17/2020 Sun 6:00AM 11:45 PM               Hold2                                                                          I           Captiva
      5/17/2020 Sun 6:00AM 11:45 PM               Hold3                                                                          I          Daytona
      5/17/2020 Sun 6:00AM 11 :45 PM              Hold4                                                                       I              Miami
      5/17/2020 Sun 6:00AM 11 :45 PM              Hold5                                                                      1               Sanibel
     5/17/2020 Sun      6:00AM     11:45 PM      Hold6                                                                       I             Tallahassee
     5/17/2020 Sun 6:00AM 11:45 PM               Hold 7                                                                      I               Flagler
     5/17/2020 Sun      6:00AM    J 1:45 PM  Hold for growth                                                                 I         Exhibit Hall A-F
    5/17/2020 Sun 6:00AM 11:45 PM             Breakout 12    Schoolroom                                                      20             Tampa I
    5/17/2020 Sun 6:00AM          J 1:45 PM   Breakout  13   Schoolroom                                                      20             Tampa2
    5/17/2020 Sun 6:00AM 11:45 PM             Breakout 14    Schoolroom                                                      20             Tampa3
    5/17/2020 Sun 6:00AM 11 :45 PM           Speaker  Room     Lounge                                                        20              Naples
    5/17/2020 Sun 1:00 PM 11:45 PM Team Meeting I                                                                            I         St. George # I02
    5/17/2020 Sun 1:00 PM        11 :45 PM Team Meeting 2                                                                    I         St. George # I04
    5/17/2020      Sun       1:00PM          11 :45 PM        Team Meeting 3                                                 I         St George # I06

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                                                  End                Function                             Setup     # Ppl             Function Space
        Date        Day         Start
                                               11 :45 PM        Tenm Meeting 4                                         I              St. George fl I 08
     5/ 17/2020     Sun       1:00 PM
                                               I I :45 PM       Tenm Meeting 5                                         I              St. George # I 14
     5/17/2020      Sun       1:00PM
                                               11 :45 PM        Team Meeting 6                                         I            St. George # I 12
     5/1 7/2020     Sun       1:00PM
                                                                                                                                   Orange Blossom
                                               11 :45 PM        Tenm Meeting 7                                        I
     5/17/2020      Sun       1:00 PM                                                                                                   Ballroom
                                                                                                                                 Coquina Lnwn and Fire
                                                                      Dessert                            Cocktail     I                   Pits
     5/1 7/2020     Sun       4:00 PM          10:00 PM                                                  Rounds
                                                                     Reception                                                 (Back-up Exhibit Hall A)

                                                                               Monday
                                                                                                                                     Orange Blossom
                                               11 :45 PM        Team Meeting 7                                        I
     5/18/2020      Mon       1:00 AM                                                                                                   Ballroom
                                                                         Hold 7                                       I                     Flagler
     5/ 18/2020     Mon       1:00 AM          11 :45 PM
                                               11 :45 PM        Team Meeting 6                                        I              St. George # 112
     5/ 18/2020     Mon       1:00AM
     5/18/2020      Mon       1:00AM           11 :45 PM        Team Meeting 5                                        I              St. George # 114
     5/ 18/2020     Mon       1:00 AM          11 :45 PM        Team Meeting 4                                        I              St. George # I 08
     5/18/2020      Mon       1:00 AM          11 :45PM         Team Meeting 3                                        I              St. George # I 06
     5/ 18/2020     Mon       1:00AM           11 :45 PM        Team Meeting 2                                        I              St. George # 104
     5/ 18/2020     Mon       1:00 AM          11 :45PM         Team Meeting I                                        I              St. George # I 02
     5/18/2020      Mon       1:00 AM         11:45 PM                   Hold6                                        I                 Tallahassee
     5/ 18/2020     Mon       1:00AM           11 :45 PM                 Hold4                                        I                    Miami
     5/ 18/2020     Mon       1:00 AM          11 :45 PM                 Hold 5                                       I                   Sanibel
     5/18/2020      Mon       1:00 AM          I 1:45 PM                 Hold I                                       I                    Sun A
     5/18/2020      Mon       1:00 AM         11 :45 PM         General Session                   Schoolroom        2,000          Osceola Ballroom
     5/ 18/2020     Mon       1:00 AM         11 :45 PM             Breakout I                           Theatre    500                    Sun B
     5/ 18/2020     Mon       1:00 AM         11:45 PM              Breakout 3                           Theatre    300                    Sun D
     5/18/2020      Mon       1:00AM          11:45 PM             Breakout 2                        Theatre        300                    SunC
     5/18/2020     Mon        1:00AM          11 :45 PM            Breakout4                             Lounge     200                   Sun 1-6
     5/ 18/2020    Mon        1:00AM          11:45 PM             Breakout 6                     Conference         20               Gainesville 2
     5/ 18/2020    Mon        1:00AM          11 :45 PM           Breakout 13                     Schoolroom         20                  Tampa2
     5/18/2020     Mon        1:00AM          11:45 PM            Breakout 14                     Schoolroom         20                  Tampa3
     5/18/2020     Mon        1:00AM          11 :45PM             Breakout 7                     Conference         20                  Destin I
     5/ 18/2020    Mon        1:00 AM         11:45 PM            Breakout JO                     Schoolroom         20                 Sarasota2
     5/ 18/2020    Mon        1:00 AM         11 :45 PM           Breakout 11                    Schoolroom          20                 Sarasota 3
     5/ 18/2020     Mon       1:00AM          11 :45 PM            Breakout 8                     Conference         20                  Destin 2
     5/18/2020      Mon       1:00 AM         11:45 PM             Breakout 5                     Conference        20                Gainesville I
      5/18/2020     Mon       1:00AM          11:45 PM            Breakout 12                    Schoolroom         20                   Tampa I
      5/18/2020     Mon       1:00AM          11:45 PM             Breakout9                     Schoolroom         20                 Sarasota I

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                                                                 GAYLO RD PALM S-
                                                                   R E S OR T   a   C O NV E N TION C E NT E R




           Date          Day   Start                    End             Function                                  Setup     # Ppl          Faaction Space
         5/18/2020      Mon 1:00AM                  11:45 PM             Office                                  Office       I                    Vero
        5/18/2020       Mon 1:00AM                  11 :45 PM         Speaker Room                               Lounge      20                 Naples
        5/18/2020       Mon 1:00AM                  11:45 PM             Hold2                                                   I             Captiva
        5/18/2020       Mon 1:00AM                  11:45 PM             Hold3                                                   I             Daytona
        5/18/2020       Mon 1:00AM                  11 :45 PM          Registration                                              I         City Hall Lobby
        5/18/2020       Mon 1:00 AM                 11:45 PM         Hold for growth                                             I         Exhibit Hall A-F
                              10:00                                                                              Roll-in         I          Osceola Lobby
        5/18/2020       Mon                        10:30AM                AM Break
                               AM
        5/18/2020             11 :00                                                                      Schoolroom       2,000          Osceola Ballroom
                        Mon                        12:00 PM                     Lunch
                               AM
        5/18/2020       Mon 2:30 PM                 3:00 PM               PM Break                               Roll-in         I          Osceola Lobby
                                                                              Tuesday
                                                                                                                                          Orange Blossom
        5/19/2020       Tue       1:00 AM          6:00 PM          Team Meeting 7                                           I
                                                                                                                                              Ballroom
        5/19/2020      Tue       1:00AM            6:00 PM          Team Meeting I                                           I            St George #102
        5/19/2020      Tue       1:00AM            6:00 PM          Team Meeting 2                                           I            St. George # I04
        5/19/2020      Tue       1:00AM            6:00 PM          Team Meeting 3                                           I            St George # I06
        5/19/2020      Tue       1:00AM            6:00 PM          Team Meeting 4                                           I            St George # 108
        5/19/2020      Tue       1:00AM            6:00 PM          Team Meeting 5                                           I            St. George #114
       5/19/2020      Tue        1:00AM           6:00 PM           Team Meeting 6                                           I            St. George # 112
       5/19/2020      Tue        1:00AM           11:45 PM              Hold 7                                               I                 Flagler
       5/19/2020      Tue        1:00AM           11:45 PM              Hold 5                                               I                 Sanibel
       5/19/2020      Tue       1:00AM            11:45 PM              Hold 6                                               I              Tallahassee
       5/19/2020      Tue       1:00AM           11:45 PM               Hold4                                                I                 Miami
       5/19/2020      Tue       1:00AM           11:45 PM               Hold I                                                I                Sun A
       5/19/2020      Tue       1:00AM           11:45 PM           General Session                     Schoolroom         2,000         Osceola Ballroom
      5/19/2020      Tue        1:00AM           11:45 PM             Breakout I                          Theatre           500                Sun B
      5/19/2020      Tue       1:00AM            11:45 PM             Breakout 3                          Theatre           300                Sun D
      5/19/2020      Tue       1:00AM            11:45 PM             Breakout2                           Theatre           300                SunC
      5/19/2020      Tue       1:00AM           11 :45 PM             Breakout4                           Lounge            200               Sun 1-6
      5/19/2020      Tue       1:00 AM          11 :45 PM             Breakout6                         Conference          20             Gainesville 2
      5/19/2020      Tue       1:00AM           11:45 PM             Breakout 13                       Schoolroom          20                 Tampa2
      5/19/2020      Tue       1:00AM           11:45 PM             Breakout 14                       Schoolroom          20                 Tampa3
      5/19/2020      Tue       1:00 AM          11:45 PM             Breakout?                         Conference          20                 Destin I
      5/19/2020      Tue       1:00AM           11:45 PM             Breakout 10                       Schoolroom          20                Sarasota 2
      5/19/2020      Tue       1:00AM           11:45 PM             Breakout 11                       Schoolroom          20                Sarasota 3
      5/19/2020      Tue       1:00AM           11:45 PM             Breakout 8                        Conference          20                 Destin 2

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           Date        Day         Start            End             Function                           Setup         # Ppl        Function Space
        5/19/2020      Tue       1:00AM         11 :45 PM          Breakout 5                        Conference       20           Gainesville I
        5/19/2020      Tue       1:00 AM        11 :45 PM         Breakout 12                        Schoolroom       20             Tampa I
        5/19/2020      Tue      1:00 AM         11 :45 PM          Breakout 9                        Schoolroom       20             Sarasota I
        5/19/2020      Tue      1:00 AM         11:45 PM             Office                            Office          l               Vero
        5/19/2020      Tue      1:00AM          11:45 PM         Speaker Room                          Lounge         20              Naples
        5/19/2020      Tue      1:00 AM         11:45 PM             Hold 2                                            l              Captiva
        5/19/2020      Tue      1:00 AM         11:45 PM             Hold3                                             l              Daytona
        5/19/2020      Tue      1:00AM          11:45 PM          Registration                                         l          City Hall Lobby
        5/19/2020      Tue      1:00 AM         11:45 PM         Hold for growth                                       l          Exhibit Hall A-F
                                   10:00                             AM Break                              Roll-in     l            Osceola Lobby
        5/19/2020      Tue                      10:30AM
                                   AM
                                  11:00                                                              Schoolroom      2,000        Osceola Ballroom
        5/19/2020      Tue                      12:00 PM                 Lunch
                                   AM
       5/19/2020       Tue      2:30 PM          3:00 PM             PM Break                              Roll-in     l            Osceola Lobby
       5/19/2020       Tue      4:00PM          10:00 PM          VIP Reception                                       400        Emerald Bay Plaz.a
                                                                      Wednesday
       5/20/2020     Wed 1:00AM                 3:00 PM         Hold for growth                                         I         Exhibit Hall A-F
       5/20/2020     Wed 1:00AM                 5:00 PM           Breakout I                          Theatre         500               Sun B
       5/20/2020     Wed 1:00 AM                5:00PM            Breakout 3                          Theatre         300               SunD
       5/20/2020     Wed 1:00 AM                5:00 PM           Breakout2                           Theatre         300               SunC
      5/20/2020      Wed 1:00AM                 5:00 PM           Breakout4                           Lounge          200              Sun 1-6
      5/20/2020      Wed 1:00AM                 5:00 PM           Breakout 6                        Conference         20           Gainesville 2
      5/20/2020      Wed 1:00AM                 5:00PM           Breakout 13                        Schoolroom        20              Tampa2
      5/20/2020      Wed 1:00AM                 5:00PM           Breakout 14                        Schoolroom        20              Tampa3
      5/20/2020      Wed 1:00AM                 5:00PM            Breakout 7                        Conference        20               Destin 1
      5/20/2020      Wed 1:00AM                 5:00 PM          Breakout 10                        Schoolroom         20             Sarasota2
      5/20/2020      Wed 1:00AM                 5:00 PM          Breakout 11                        Schoolroom         20             Sarasota 3
      5/20/2020      Wed 1:00AM                 5:00 PM           Breakout 8                        Conference         20              Destin 2
      5/20/2020      Wed 1:00AM                 5:00PM            Breakout 5                        Conference         20           Gainesville l
      5/20/2020      Wed 1:00AM                5:00PM            Breakout 12                        Schoolroom         20              Tampa l
      5/20/2020      Wed 1:00AM                5:00PM             Breakout 9                        Schoolroom         20             Sarasota 1
      5/20/2020      Wed 1:00AM                5:00PM           Speaker Room                          Lounge           20               Naples
      5/20/2020      Wed 1:00AM                5:00PM            Registration                                           I          City Hall Lobby
      5/20/2020      Wed 1:00AM                11:45 PM         General Session                     Schoolroom       2,000        Osceola Ballroom
      5/20/2020      Wed 1:00AM                11:45 PM             Office                            Office            I                Vero
                           10:00                                                                                                    Osceola Lobby
       5/20/2020     Wed                       10:30 AM             AM Break                               Roll-in     I
                            AM

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            Date          Day        Start             End               Function                              Setup          # Ppl         Function Space
         5/20/2020                   11 :00         12:00 PM                                            Schoolroom            2,000
                          Wed                                                Lunch                                                          Osceola Ballroom
                                      AM
         5/20/2020        Wed      2:30 PM          3:00 PM             PM Break                               Roll-in          I            Osceola Lobby
                                                                                  Thursday
         5/21/2020        Thu      1:00AM          12:00 PM                  Office                            Office           I                Vero

                                                Revised Function Space - July 17-22, 2020

          Date         Dav          StJlrt             End                 Function                                 Setup           #Pol      Function Space
                                                                            Fridav
       7/10/2020        Fri      6:00 PM           11:45 PM            General Session                                                 I     Osceola CD/Stage
                                                                          Saturdav
        7/11/2020      Sat        1:00AM           11 :45 PM           General Session                                                  I    Osceola CD/Stage
        7/11/2020      Sat        6:00AM           11:45 PM                 Office                                  Office              I          Vero
       7/11/2020       Sat       11:00 AM          11:45 PM            General Session                                                 I      Osceola AB 1-6
       7/11/2020       Sat        7:00 PM          11 :45 PM             Breakout 7                              Conference          20          Destin I
       7/ 11/2020      Sat       7:00 PM           11 :45 PM               Hold6                                                       I       Tallahassee
       7/11/2020      Sat        7:00 PM          11:45 PM               Breakout 8                             Conference           20          Destin 2
      7/11/2020       Sat        7:00 PM          11 :45 PM              Breakout 9                             Schoolroom           20         Sarasota I
      7/11/2020       Sat        7:00 PM          11:45 PM              Breakout 10                             Schoolroom           20         Sarasota 2
      7/11/2020       Sat        7:00PM           11:45 PM              Breakout 11                             Schoolroom           20         Sarasota 3
      7/11/2020       Sat        7:00 PM          11 :45 PM              Breakout 5                             Conference           20       Gainesville I
      7/11/2020      Sat        7:00PM           11 :45 PM               Breakout6                              Conference           20       Gainesville 2
     7/11/2020       Sat        8:00PM           11 :45 PM               Breakout 3                              Theatre            300           SunD
     7/11/2020       Sat        8:00 PM          11 :45 PM              Breakout4                                Lounge             200          Sun 1-6
     7/11/2020       Sat        8:00PM           11:45 PM               Breakout I                               Theatre            500           Sun B
     7/11/2020       Sat        8:00PM           11:45 PM               Breakout 2                               Theatre            300           Sun C
     7/11/2020       Sat        8:00 PM          11 :45 PM                Hold I                                                      I          Sun A
                                                                          Sundav
    7/12/2020 Sun              1:00AM            11 :45 PM              Breakout I                               Theatre            500           SunB
    7/12/2020 Sun             1:00AM             11:45 PM               Breakout2                                Theatre            300           SunC
    7/12/2020 Sun             1:00AM            11:45 PM                Breakout 3                               Theatre            300           SunD
    7/12/2020 Sun             1:00AM            11 :45 PM               Breakout4                                Lounge             200          Sun 1-6
    7/12/2020 Sun             1:00AM            11 :45 PM               Breakout 5                             Conference           20       Gainesville I
    7/12/2020 Sun             1:00AM            11:45 PM               Breakout6                               Conference           20       Gainesville 2
    7/12/2020 Sun             1:00AM            11 :45 PM              Breakout7                               Conference           20          Destin l
    7/12/2020 Sun             1:00AM            11 :45 PM              Breakout 8                              Conference           20          Destin 2
    7/12/2020 Sun             1:00AM            11:45 PM               Breakout 9                              Schoolroom           20        Sarasota l
                                                                                                                                                Osceola
    7/12/2020       Sun       1:00AM           11 :45 PM             General Session                           Schoolroom      3,500        Ballroom/Stage
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              Date   Dav               Start              End                Function                            Setuo      #Pnl         Function Snt1ce
          7/12/2020 Sun              1:00AM           11 :45 PM            Breakout 10                         Schoolroom    20             Sarasota 2
          7/12/2020 Sun              1:00AM           11:45 PM             Breakout 11                         Schoolroom    20             Sarasota 3
          7/ 12/2020 Sun             1:00AM           11:45 PM                Office                             Office       I                Vero
         7/ 12/2020 Sun              1:00AM           11 :45 PM               Hold I                                          I               Sun A
         7/ 12/2020 Sun              1:00AM          11 :45PM                 Hold6                                           1            Tallahassee
         7/ 12/2020 Sun             6:00AM           11 :45 PM             Breakout 12                         Schoolroom    20              Tamoa I
         7/ 12/2020 Sun             6:00AM           11 :45PM              Breakout 13                         Schoolroom    20              Tamoa 2
         7/ 12/2020 Sun             6:00AM           11 :45 PM             Breakout 14                         Schoolroom    20              Tamoa 3
         7/12/2020 Sun              6:00AM           11 :45 PM            Sneaker Room                           Lounge      20               Naoles
        7/12/2020 Sun               6:00AM           11 :45 PM                Hold2                                           I               Caotiva
        7/12/2020 Sun               6:00AM           11 :45 PM                Hold 3                                          I               Davtona
        7/12/2020 Sun               6:00AM           11 :45 PM                Hold4                                           I               Miami
        7/12/2020 Sun              6:00 AM           11 :45 PM                Hold 5                                          I               Sanibel
        7/12/2020 Sun              6:00AM           11:45 PM                  Hold 7                                          I               Fla2ler
        7/12/2020 Sun              6:00AM           11 :45 PM            Hold for 2rowth                                       I          Exhibit Hall A
       7/12/2020 Sun                1:00 PM          5:00 PM            Registration Break                       Rollwin    2 000         Coauina Lawn
       7/12/2020 Sun                1:00 PM         11 :45 PM            Team Meeting I                                       I          St. George # 102
       7/12/2020 Sun               1:00 PM          11 :45 PM            Team Meetin2 2                                       I          St. George # I04
       7/12/2020 Sun               1:00 PM          11 :45 PM            Team Meetin2 3                                       I          St. Georne # I06
       7/12/2020 Sun               1:00 PM          11 :45 PM            Team Meetin2 4                                       1          St. Geor2e # 108
      7/12/2020 Sun                1:00 PM          11 :45 PM            Team Meeting 5                                       1          St. George #114
      7/12/2020 Sun                1:00 PM          11:45 PM             Team Meetin2 6                                       I          St. Georne #112
      7/12/2020 Sun                1:00 PM         11:45 PM               Holdin2 Room                                        I              Emerald 1
      7/12/2020 Sun                1:00 PM         11:45 PM              Holding Room                                        1          Palm Beach Room
      7/12/2020 Sun                1:00 PM         11:45 PM              Holding Room                                        1               Emerald 2
      7/12/2020 Sun               1:00 PM          11:45 PM              Holding Room                                        1               Emerald 3
     7/12/2020 Sun                1:00 PM          11:45 PM              Holding Room                                        1               Emerald4
     7/12/2020 Sun                1:00 PM          11 :45 PM             Holdin2 Room                                        1               Emerald 5
     7/12/2020 Sun                1:00 PM          11:45 PM              Holdin2 Room                                        1               Emerald 7
     7/12/2020 Sun                1:00 PM          11:45 PM              Holdin2 Room                                        1               Emerald 8
     7/12/2020 Sun                1:00 PM          11:45 PM              Holding Room                                        I               Emerald6
     7/12/2020 Sun                1:00 PM          11:45 PM              Holdinl!: Room                                      1         Sanchez Boardroom
     7/12/2020 Sun                1:00 PM          11:45 PM              Holding Room                                        1            Emerald Patio
                                                                                                                                           Hemingway
     7/12/2020      Sun           1:00 PM          11 :45 PM              Holding Room                                       I              Boardroom
                                                                                                                                         Orange Blossom
     7/12/2020     Sun            7:00PM           11:45 PM              Team Meeting 7                                      I               Ballroom
                                                                               Mondav
     7/13/2020     Mon            1:00AM           10:00AM                   Hold2                                           I               Caotiva
     7/13/2020     Mon            1:00AM           11:45 PM               Holding Room                                       I          Palm Beach Room

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           Date         Dav          Start             End                 Function                                Setup      #Pol       Function Space
        7/13/2020       Mon        1:00AM          11:45 PM              Holding Room                                              I         Emerald 6
        7/13/2020       Mon        1:00AM          11 :45 PM             Holding Room                                              I         Emerald 7
        7/13/2020       Mon        1:00AM          11:45 PM              Holdine Room                                              I         Emerald 8
        7/13/2020       Mon        1:00AM          11:45 PM              Holding Room                                              I       Castillo Fort
                                                                                                                                            Hemingway
         7/13/2020 Mon            1:00 AM    I 1:45 PM                Holding Room                                               I          Boardroom
         7/13/2020 Mon            1:00AM     11 :45 PM                Holding Room                                               I     Sanchez Boardroom
        7/13/2020 Mon            1:00AM      11 :45 PM                Holding Room                                               I        Emerald Patio
        7/13/2020 Mon            1:00AM      11:45PM                   Breakout 13                              Schoolroom     20             Tamoa 2
        7/13/2020 Mon            1:00 AM     11 :45 PM                 Breakout 14                              Schoolroom     20            Tamoa 3
       7/13/2020 Mon             1:00 AM     11:45 PM                  Breakout 7                                Conference    20             Destin I
       7/13/2020 Mon             1:00AM     I 1:45 PM                  Breakout JO                              Schoolroom     20           Sarasota 2
       7/13/2020 Mon            1:00AM      I 1:45 PM                  Breakout I I                             Schoolroom     20           Sarasota 3
       7/13/2020 Mon            1:00AM      11:45 PM                   Breakout 8                               Conference     20             Destin 2
      7/13/2020 Mon             1:00AM      11:45 PM                   Breakout 5                               Conference     20         Gainesville 1
      7/13/2020 Mon             1:00AM     11 :45 PM                  Breakout 12                               Schoolroom     20            Tampa 1
      7/13/2020 Mon            1:00AM      11 :45 PM                   Breakout 9                               Schoolroom     20           Sarasota I
     7/13/2020 Mon             1:00AM      11:45 PM                      Hold I                                                 I              Sun A
     7/13/2020 Mon             1:00AM      11:45 PM                      Hold3                                                  1            Daytona
     7/13/2020 Mon             1:00AM      11:45 PM                     Hold4                                                   I             Miami
     7/13/2020 Mon             1:00AM     11:45 PM                      Hold 5                                                 1              Sanibel
    7/13/2020 Mon             1:00AM      11:45 PM                      Hold6                                                  I           Tallahassee
    7/13/2020 Mon             1:00AM      11:45 PM                      Hold 7                                                 1              Flagler
    7/13/2020 Mon             1:00AM      11 :45 PM                 Hold for growth                                            I         Exhibit Hall A
    7/13/2020 Mon             1:00AM      11:45 PM                  Team Meeting 6                                             I        St. George #112
                                                                                                                                        Orange Blossom
     7/13/2020    Mon         1:00AM           11:45 PM             Team Meeting 7                                             I            Ballroom
     7/13/2020    Mon         1:00AM           11:45 PM             Holding Room                                               1       Emerald Bay Plaza
     7/13/2020    Mon         1:00AM           11:45 PM            Team Meeting I                                              I        St George # I02
    7/13/2020     Mon        1:00AM            11:45 PM             Holding Room                                               I            Emerald I
    7/13/2020    Mon         1:00AM           I 1:45 PM            Team Meeting 2                                              I        St George # l 04
    7/13/2020    Mon         1:00AM           11:45 PM             Team Meeting 3                                              I        St. George # 106
    7/13/2020    Mon         1:00AM           11:45 PM             Team Meeting 4                                              l        St. George #1 08
   7/13/2020     Mon         1:00AM           11 :45 PM            Team Meetin.e; 5                                            I        St George #114
   7/13/2020     Mon        1:00AM            11:45 PM             Holding Room                                                l           Emerald2
   7/13/2020     Mon        1:00AM           11:45 PM              Holding Room                                                I           Emerald 3
   7/13/2020     Mon        1:00AM           11:45 PM              Holding Room                                                I           Emerald4
   7/13/2020     Mon        1:00AM           11:45 PM                  Office                                    Office        1              Vero
   7/13/2020     Mon        1:00AM           11:45 PM              Speaker Room                                 Lounge        20             Naples
   7/13/2020     Mon        1:00AM           11:45 PM              Holdinl.!: Room                                            I            Emerald 5

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Case 3:20-cv-00641 Document 76-1 Filed 12/01/21 Page 157 of 190 PageID #: 1470
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                                                               GAY LOR D PA LM S~
                                                                 R ES O RT 81 CONVENT IO N C E N T E R




            Date   Dav              Start            End                    Function                       Setao         #.Pol         Function SMce
         7/13/2020 Mon            1:00AM           11:45 PM                 Breakout 2                    Theatre         300               SunC
         7/13/2020 Mon            1:00AM           11:45 PM                 Breakout 3                    Theatre         300               Sun D
                                                                                                                                           Osceola
         7/13/2020 Mon           1:00AM            11:45 PM            General Session                   Schoolroom      3.500          Ballroom/Stage
         7/13/2020 Mon           1:00AM            11:45 PM              Breakout l                        Theatre        500                Sun B
         7/13/2020 Mon           1:00AM            11:45 PM              Breakout4                         Lounge         200               Sun 1-6
         7/13/2020 Mon           1:00 AM           11:45 PM              Breakout 6                      Conference        20            Gainesville 2
         7/13/2020 Mon           8:00AM            5:00 PM            Registration Break                   Roll-in       2 000          Coauina Lawn
                                                                                                                                            Osceola
        7/13/2020 Mon           11:00AM           12:00 PM                 Lunch                         Schoolroom       3 650         Ballroom/Stage
        7/13/2020 Mon           4:00 PM           11:59 PM               Reception                                         400         South Beach Pool
                                                                      Private ELP/SV                                                     Old Hickory-
                                                                    Reception Restaurant                                              Mango Grove Cabin
        7/13/2020    Mon        6:00 PM            9:00 PM                 Dinner                                           80              & Patio
                                                                         Tuesdav
        7/14/2020     Tue       1:00AM            6:00 PM                  Hold3                                             I              Daytona
        7/14/2020     Tue       1:00AM            6:00 PM             Team Meeting I                                         I         St George # 102
        7/14/2020    Tue       1:00AM             6:00 PM              Holding Room                                          I        Palm Beach Room
        7/14/2020    Tue       1:00AM             6:00 PM              Holding Room                                          I           Castillo Fort
       7/14/2020     Tue       1:00AM             6:00PM              Team Meeting 6                                         I         St. George #112
       7/14/2020     Tue       1:00AM             6:00PM              Team Meeting 5                                         I         St. George # 114
       7/14/2020     Tue       1:00AM             6:00PM              Team Meeting 4                                         l         St. George #108
       7/14/2020     Tue       1:00AM             6:00PM              Team Meeting 3                                         l         St. George # 106
       7/14/2020     Tue       1:00AM             6:00PM             Team Meeting 2                                          I         St George # 104
                                                                                                                                         Hemingway
       7/14/2020    Tue        1:00AM            6:00 PM                Holding Room                                         I            Boardroom
       7/14/2020    Tue        1:00AM            6:00PM                 Holding Room                                         I        Sanchez Boardroom
                                                                                                                                       Orange Blossom
       7/14/2020     Tue      1:00AM             10:00 PM             Team Meeting 7                                        l              Ballroom
      7/14/2020     Tue       1:00AM             I 1:45 PM             Holding Room                                         I              Emerald4
      7/14/2020     Tue       1:00AM             I 1:45 PM             Holding Room                                         I              Emerald 5
      7/14/2020     Tue       1:00AM            11:45 PM               Holding Room                                         1              Emerald 6
      7/14/2020     Tue      1:00AM             I 1:45 PM              Holding Room                                         1              Emerald 7
      7/14/2020     Tue      1:00AM             11:45 PM               Holding Room                                         1              Emerald 8
      7/14/2020     Tue      1:00AM             11:45 PM               Holding Room                                         1            Emerald Patio
      7/14/2020     Tue      1:00AM             11:45 PM                  Hold4                                             1                Miami
      7/14/2020     Tue      1:00AM             11:45 PM                  Hold 5                                            1               Sanibel
      7/14/2020     Tue      1:00AM             11:45 PM                  Hold 7                                            1                Flagler
      7/14/2020     Tue      1:00AM             11:45 PM              Hold for growth                                       1           Exhibit Hall A
      7/14/2020     Tue      1:00AM             11:45 PM              Holding Room                                          I         Emerald Bay Plaza
      7/14/2020     Tue      1:00AM             11:45 PM              Holding Room                                          I              Emerald I

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             Date        Dav     Start                 End                    Function                        Setuo     #Pol       Function Smice
          7/14/2020      Tue   1:00 AM              11:45 PM                Breakout 5                     Conference    20         Gainesville I
          7/14/2020      Tue   1:00AM               11:45 PM               Breakout 12                     Schoolroom    20            Tamoa 1
         7/14/2020       Tue   1:00AM              11:45 PM                 Breakout 9                     Schoolroom    20            Sarasota 1
         7/14/2020      Tue   1:00AM               11:45 PM                 Breakout I                       Theatre     500             Sun B
         7/14/2020      Tue   1:00AM               11:45 PM                 Breakout 3                       Theatre     300             SunD
         7/14/2020      Tue   1:00AM               11:45 PM                 Breakout 2                       Theatre     300              SunC
        7/14/2020       Tue   1:00AM               11:45 PM                 Breakout4                        Lounge      200             Sun 1-6
        7/14/2020       Tue   1:00AM              11:45 PM                  Breakout 6                     Conference     20          Gainesville 2
        7/14/2020      Tue   1:00AM               11:45 PM                 Breakout 13                     Schoolroom     20            Tamoa2
       7/14/2020       Tue   1:00 AM              11:45 PM                 Breakout 14                     Schoolroom     20            Tamoa 3
       7/14/2020       Tue   1:00AM               11:45 PM                 Breakout 7                      Conference     20             Destin I
       7/14/2020       Tue   1:00AM               11 :45PM                 Breakout 10                     Schoolroom     20            Sarasota 2
                                                                                                                                         Osceola
        7/14/2020     Tue        1:00AM           11 :45 PM          General Session                       Schoolroom   3.500        Ballroom/Stage
       7/14/2020     Tue         1:00AM           11 :45 PM            Breakout 11                         Schoolroom    20             Sarasota 3
       7/14/2020     Tue         1:00 AM         11:45 PM               Breakout 8                         Conference    20              Destin 2
       7/14/2020     Tue        1:00 AM          11 :45 PM                Office                             Office        l               Vero
      7/14/2020      Tue        1:00 AM          11:45 PM             Speaker Room                           Loun2e       20              Naoles
      7/14/2020     Tue         1:00 AM          l 1:45 PM                Hold6                                           1            Tallahassee
      7/14/2020     Tue         1:00 AM         11:45 PM                  Hold l                                          l                Sun A
     7/14/2020      Tue        1:00 AM          I 1:45 PM            Holding Room                                         l             Emerald 2
     7/14/2020      Tue        1:00AM           11:45 PM             Holdin2 Room                                         1             Emerald 3
     7/14/2020      Tue        9:00AM           I 1:45 PM           Registration Break                       RoU-in     2.000         Coauina Lawn
                                                                                                                                          Osceola
    7/14/2020       Tue       11:00 AM          12:00 PM                      Lunch                        Schoolroom   3.650        Ballroom/Sta2e
                                                                        Wednesdav
    7/15/2020 Wed            1:00AM             3:00PM                Hold for growth                                     1           Exhibit Hall A
    7/15/2020 Wed            1:00AM             5:00 PM                   Hold 7                                          1              Fla2ler
   7/15/2020 Wed             1:00AM             6:00PM                Holding Room                                        1             Emerald 5
   7/15/2020 Wed             1:00AM             6:00PM                Holding Room                                        I             Emerald 6
   7/15/2020 Wed             1:00AM            6:00 PM                Holdine: Room                                       I               Emerald 7
   7/15/2020 Wed             1:00AM            6:00 PM                Holding Room                                        I               Emerald 8
   71 15/2020    Wed         1:00AM            6:00 PM                   Breakout 7                        Conference    20                Destin 1
  7/ 15/2020     Wed         1:00AM            6:00PM                   Breakout IO                        Schoolroom    20               Sarasota2
  7/15/2020      Wed        1:00AM             6:00PM                   Breakout 11                        Schoolroom    20               Sarasota3
  7/15/2020      Wed        1:00AM             6:00 PM               Holding Room                                         1               Emerald 3
  7/1 5/2020     Wed        1:00AM            6 :00PM                    Breakout 8                        Conference    20                Destin 2
  7/1 5/2020     Wed        1:00AM            6:00PM                    Breakout 9                         Schoolroom    20               Sarasota 1
  7/1 5/2020    Wed         1:00AM            6:00PM                 Speaker Room                           Lounge       20                 Naples
  7/1 5/2020    Wed         1:00AM            6:00PM                 Holding Room                                         I         Emerald Bav Plai.a

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                      / 7/1512020 I Wed / 1:00AM
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                    I 711512020 I Wed I 1:00AM             11:45 PM
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                                                                                         Hold 1                                                      \     I          Sun A            I
                   / 7/ 1512020 / Wed / 1:00AM             11:45PM                    Breakout 13
                  / 7115/2 020 / Wed / 1:00AM
                                                                                                                                 Schoolroom        20       I        Tamoa2             I
                                                          11:45 PM                    Breakout 14
                 / 7/1512020 / Wed / 1:00AM
                                                                                                                                 Schoolroom        20        I        Tamoa 3            \
                                                          11 :45PM                    Breakout 12
                / 7115/2020 / Wed / 1:00AM               11 :45 PM
                                                                                                                                 Schoolroo m        20       I        Tampa\              \
                                                                                         Office                                     Office             \      I         Vero               \
               I 711 5 /2 020 I Wed I 1:00AM             11 :45 PM                       Hold6                                                         1       I     Tallahasse e           \
              1 7/15/2020   I   Wed
              I 71 1512020 I Wed I
                                      I    1:00AM        11 :45 PM            General Session                                    Schoolroo m       3 .500        \     Osceola
                                                                                                                                                                    Ba\\room/ Sta2e         \
                                           1:00AM        I 1:45 PM
             I 71 1512020 I Wed I
                                                                                   Hold5                                                                 1       I      Sanibel                 \
                                          1:00AM         11:45 PM               Breakout I
            / 7/15/2020 / Wed /
                                                                                                                                   Theatre             500       I       SunB                    \
                                          9:00AM         5:00PM              Registrati on Break                                   Roll-in          2 .000 I         CoQuina Lawn
           / 7/1512020 / Wed /                                                                                                                                           Osceola
                                      I 1: 00 AM        12:00 PM                              Lunch                              Schoolroo m         3 650           Ballroom/ Sta!?.e
           I          .L _ I                                                             Tbandav
          I 7/16/2020 f Thu /                                                                                                                                        \                          I
                                      1:00AM        l   12:00 PM                             Office                                 Office     I        l            I       Vero



                     3.    Cancella tion Policy: should group cancel the July 10-15, 2020 conference, the
                                                                                                          calculation will
                           be based upon the original contracted room block and F&B minimum .
                   4.     Addition al Impossjb iJity Languag e:
                          Should the federal agency responsible forpublic health, emergency preparedness and infectious
                       disease control and prevention in the country where the hotel is located (i.e., the Centers
                                                                                                                          for
                       Disease Control and Prevention in the U.S. or the Public Health Agency of Canada) issue
                                                                                                                    a travel
                      advisory, notice, or warning at any time within the 30 day period prior to the first arrival
                                                                                                                     date of
                      the Event that specifically advises travelers to avoid all non-essential travel to the specific
                                                                                                                       city in
                     which the Hotel is located, and should Group have suspended all of its business operation
                                                                                                                      s in the
                     city where the Hotel is located or, if Group has no business operations in the city where
                                                                                                                   the Hotel
                    is located, has otherwis e recomme nded that its attendees not travel to the city for any non-esse
                                                                                                                           ntia\
                   reason, then Group may contact the Hotel in order for the parties to engage in
                                                                                                                  discussions
                   regarding the scope of the advisory, notice, or warning. The parties agree to negotiate in good
                                                                                                                           faith
                  to resolve any concerns raised as a result of the advisory , notice, or warning and to
                                                                                                               enter into such
                  amendm ents of this Agreeme nt as may be necessar y to reasonab ly accomm odate
                                                                                                                 both parties'
                 interests (such as an adjustm ent to the perform ance (attrition ) clauses of this Agreeme
                                                                                                                       nt or the
                 addition of a re-book clause to the Agreeme nt).




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                                                        GAYLORD PALMS-
                                                          RIS O R T a C ONVE N TI ON C l! N T ER




                  5.    Other Terms. The tenns and provisions set forth in this Amendment shall modify and supersede
                        all inconsistent tenns and provisions set forth in the Agreement, and, except as expressly modified
                       and superseded by this Amendment, the terms and provisions of the Agreement are ratified and
                       confirmed and shall continue in full force and effect. The parties hereto agree that the Agreement,
                       as amended hereby, shall continue to be legal, valid, binding and enforceable in accordance with
                       its tenns. This Amendment may be executed simultaneously in one or more counterparts and/or
                       by facsimile.




           IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be entered into as of the date
           first set out above by themselves or their duly authorized representatives. To signify your approval, please
           sign a copy of this letter and return by April 3, 2020 to bchandler@gaylordhotels.com.

          RAMSEY SOLUTIONS                                                                   GAYLORD PALMS RESORT

          Name (Print):     J % ~ l/1lt'                                                    Name (Print): Britney Chandler



         ::~, ~
        Date:                  '/   / z/z~vl)
                                                                                             Title:

                                                                                             Signature:

                                                                                             Date:
                                                                                                          Senior Sales Executive




                                                                                                                 4/2/2020
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          EXHIBIT E




Case 3:20-cv-00641 Document 76-1 Filed 12/01/21 Page 162 of 190 PageID #: 1475
                                                          적
                                                      GAYLORD
                                                       TEXAN*

                                              AGREEMENT BETWEEN
                                                  Ramsey Sol UdODS
                                                        and
                                    Gaylord Texan Resu" & Come"山)11 Center

                                           GROUP SALES AGREEMEN1

     DESCRIPTTON OF GROUP AND EVENT

     The following icpresents an agreement between Gaylord Texan Resort &l Convention Center, 1501 Gaylord
     Trail, Grapevine, TX. 76051, (817) 778-1000 and Ramsey Solutions

     ORGANIZATION:                                      Ranisey Solutions
     CONTACT:
              Name:                                    Joe Leavitt
              Job Title:                               Director of Event Production
              Street Address:                           1749 Mallory lane
              City, State，Pos tal Code:                Brentwood» TN
              Country:                                 USA
              Phone Number:                            (877) 410-3283 x5503
              E-maii Address:                          jocl@ílíiVcKimscy com

     NAME OF EVENT:                                     Ramsey Solutions EhircLcodcrshtp Summit IWay 2021
     REFERENCE ft:                                      M-A3D9XGL
     OFFICIAL PROGRAM DATES:                            Friday, May 14, 2021 - Tluusday，May 20, 2021
     ANTICIPATED ATTENDANCE:                            2,000

    fiUFST Sr.FKPINO HOOM BLOCK
    The following guest sleeping rooms have been reserved fbr Lhe Oaup on the dales set forth below (the "Room
    Block") for the Ramsey Solutions EntreLeaderah'ip Summit - 202f (the "Event”):

           Room T^pe             Fri          Sut          Sun          Mon         Tues           Wed         Total
                               5/14/21      5/15/21      5/16/21      5/17/21      5/18/21       5/19/21
          Run of House                         53          1,129        1，129        1,129         360         3,800
         Executif Suite                         5           30           30           30            30          125
          Deluxe Suite                          5           30           30           30            30          125
        Presidential Suite                      6            ö            6            6             6          30
        Lone Star TVmer                        20          200 _        200          200            50          670
              Stuiï               20           41           80           80           80            80          381
              Total               20          130         1.475        M75          1,475          556         5»131


   We will reserve the room block noted above until Friday, December 22, 2017. Due to (lie very high demand we
   anticipate over these dates, the Hotel reserves the right to release your first option if we have not received the signed
   copies of the Agreement verilying conflnmtion by this time. In the event we have a definite nsquest for these dates
   prior lo your option date, we will contact you for a decision. You will bave one (1) business day to either reium the
   signed contract, or release the option.




                      1501 Gaylord Trail - Grapevine, TX 76051 - Telephone (817) 778-1000




                                                                       RS0000303
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                   Rewards Program Member Number _
                   A kibe frequent flier account number
                   Naine of airline

              0    Decline to Aivard Points or Airline Miles, The Contact and the Authorized Signer of tliis Agreement
                   elect not to receive (and hereby waive the right to receive) an award of Points or airline miles in
                   connection with the Event

     The uuoibcr of Points or airline miles lo be awarded shall be detennined pursuant to the Rewards Program Terms
     and Conditions} as in cfleet at the tiiûe of award. The Rewunls Program Tenns and Conditions are available on-
     line üt niarrbttrewai-ds .com, and may be changed at the sote discretion of the Rewards Program at any time and
     without uotice,

     The individuals) identified «bove to receive cither Points or airline miles may not be changed without such
     individuals)’ prior written consent. By inserting the airline mileagie account information, the »cipient elects (o
     receive airline miles rather than Points. All Rewards Program Terms andCouditioDS apply.

   OBSERVATIONS PROCEDURE
   Please indicate which oflhc following procedures will be used by y our group:

       、义    Individual Reservations for tìic Event will be made by individual attendees directly with Marriott
     reservations at (817) 778-2000.

       •乂         Rooming List

   At the Group’s request, Hotel’s transient îu-hûuse guest list will be compared with (he Ooup’s registration list.
   Any guest room occupied by an individual on Groupes registration list, but not coded to Group within Hotel's
   system, will be credited to Group's final pickup.

   If names are found on the Group’s rcgistratton list and on (he Hold’s transient in house list that arc üûL coded to
   the group, they shatl be credited Id the Group hotel pickup (regurdlcss of room rate). This cirdit nay increase the
   Group pickup as well as possibly increasing the complinieatary credits earned.

   Hotel will provide Graup a weeldy gueslroompick^up report starting 45 days prior la liie established cutoff date.

   GROW MAX SYSTEM/PASSKEV -HOUSING OPTION
   Gaylord Texan Resort & Convention Center currently offers you the services of GrqupMax^Passkcy - ao online
   group reservation raanagoment solution tlial allows meeting plannees a 24-hour real-time visibility into room pickup,
   registration activity, and inore. We can also create a custonï web page for your group that allows attendees to book
   rooms» request üpccial services and make las (•minute changes t ail maintained in a cctitrali^cd database accessible
   only to thchotcUnd the meeting planner.

   Passkey is currently available on a complimentary basis. Ask your Sales or Event Manager at Gaylonl Texan
   Resort & Convention Center for more information on t\\k exciting teclxooiogy.

   GUARANTEED RESERVATIONS
   AU reservations must be accompanied by a first night room deposit or be guaranteed by Ramsey SotiHious. Hotel
   will noi hold any reservations unless secured by one of the above methods. Credit cards will be charged prior to
   arrival.
   îf rooms are not guaranteed to the Group’s master account, a deposit equal to one night's slay is required to hold
   each individual's reservation. Should a guest cancel a reservation, the tleposil will be refij nded H*notice is received
   at leaüt three (3) working days prior to arrival，and a cancellation number is obtained.


   NO ROOM TRANSFER BY GUEST




                                                                       RS0000305
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    Ransey Solutions agrees that neither Rainsey Solutions nor attendee» of the Event nor any intermediary shall be
    pciraitied to assign any rights or obligations under this Croup Sales Agreement, orto resell or othcnvisc transfer to
    persons not associated with Ramsey Solutions reservations for gucslnuoms, meeting rooms or any other íâcilíties
    made puisuanttotliis Group Sales Agreement-

    CUTOFF DATE
   Reservations by atte口decs traisi be received on or before. Firiclay, April 23, 2021 (the “Cutoff Date’’}. At the
   Cutoff Date, Hotel will review the reservation pickup for the Event, release the unreserved rooms for general sale,
   and determine whether it can accept reservations based on a space- and rate-available basis at the Ramsey
   Solutions group rate after this date.

   Release of rooms for general sale fblfowing the Cutoff Date docs not affect Ramsey Solutions’ obligation, as
   discussed elsewhere in this Agreement，to utilize gueslrooms.

   CHECK-OUT TIME
   Qicck-in time is 4:00 p.m. local time. Check-out time is 11:00 a,m. beai time. Anyone checking oui after 11:00-
   am local time may incur late charges. Special arrangeraents can be imde for late check-outs based on availability,
   and/or luggage can be stored for individuals with later departures.

   COMPLIMENTARY POLICY
   We arc pleased to extend to your group one complinientaiy single room (I) per every 45 rooms utilized at the group
   rate during your meeting. Any rooms with rates discounted below the group rate will not be calculated in the
   complimentary aifotment. This number is dettnirined by the actual rooms occupied by your group on a cumulative
   basis divided by 45.

   The following suites have a value of more than one unit:

           Presidenti»] Suite         - 6 room nights
           Dclu» Suite                - 4 room nights
           Beeiltive Suite            - 3 room nights

   SPECIAL INCENTIVES
   Provided tliat the Qて)up utilizes 80% of the Room Block, we arc pleased to provide, as special added incentives, the
   following:

                One (1) Conplimentmy GRAND Presidential Suite will be reserved far Dave Rumsey over the
                meeting dates
                Five (5) Presidentbl Suite upgrades at Negotiated group rate (noted in room block grid)
                Thirty (30) Deluxe Suites upgrades will be offered at i?roun rate for VIPs/Speakers (noted in room
                block grid)
                Thirty (30) Executive Suites upgrades will be offered at pm un rate for VIPs/Speakers (noted in room
                block grid)
                Twenty (20) Celebrity Services Status, for designated recipients (some will be modified)
                200 Lone Sta『 Tower Rooms per night at $279.00 (noted in room block grid)
                Up to 80 Staff Rooms at a discounted rate of $143,40 (40% off group rale), as outlined in the room
                block grid
                Coaplimcntaiy valet for up to 20 staff mciubere
                Coraplimcntary VIP round tdp airport transfera from DFW International or Dallas Love Field for up ta
                IO speake«A^IPs
                ConiplinientBry AM/PM Office breaks for up (o 20 staff mcn4)cra
                S5,000.00 flat fee for power requireraents (NOT including service charge or labor)
                Wi-Fi Package $65,000.00 (Plus Tax & Service Charge):
                    o 200 Mbps Dedicated Bandwidth, to be allocated across up to 3 VLANs / SSIDs
                    o Up to 30 Static IP Addresses
                    o Up to 20 Wired Drops




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                Access to in house lighting in Generai Session complimeulaiy (Value $780.00++ per day)
                Ten Percent (10%) Discount oiTcurrent year banquet menu pricing (docs not apply to custom menus,
                mmmuiin must be met after discount is applied)
                Prc-PIaiming Visits - up to 20 room nights (adcUtiunal al SlalT Rale) based on availability. To include
                oflke, valet parking, airport Irans fers and Food & Beverage needs
                Audio-Visual Discount - PSA Y): Hotel will offer a 40 % discount ofifprevailing published pricing
                guidelines for PSAV in-bouse inventory of equipment (excludes labor, rigging, truss, Event
                Technology Support (service charges), consumables, sales tax and slupping/delivety charges) if PSAV
                Is selected as the sole provider forali A V Equipment & Services. If PSAV is not selected ns the sole
                provider then all AV Equipment will be charged at a sliding scale. If total spend ofaudiovisual
                equipment and labor before discount aud taxis:
                     o $0 to $40,000 then a 10% discount will be applied to audiovbual equipment
                     o $40,001 to $75,000 then a \5% discount wili be applied to audiovisual equipment
                     o $75,001 +thena20% discountwll bcapplied to audiovisual equipment. This discounting
                           docs not apply to consumables t labor，rigging, truss and Event Technology Support Fee
                          (service charge).
                Credit to Master for 25% the value of Rigging motors and (mss (excluding tax and service charge)
                Custom Rigging Package to be provided. PSAV is the exclusive provider of all rigging equipment,
                rigging & truss labor and truss equipneiU. Rigging equipment includes but is not limited to motors,
                points，cabling and truss.
                Cbnplimcntaty corkage fee on Entre branded water bottles on main arrival registration day at
                Registratbu Desk bealion.
                $100H* corkage fee on Entre Branded Water Bottles on beverage stations during sessions, AiiVPm
                breaks and meal ñmetions.
                Coiiçlinifiotaiy storage ofup to seven pallets no moie than five days prior to event
                Coinplimentaiy access to one in room channel
                Coiqîlimenloiy marketing Fees up to $50,000,00 (not inchidiiig production or labor)
                Three (3) -Three nights stays to be used at our discretion (could be used as marlœting incentives,
                con testing, etc.). To include:
                     o CoupUmentaty Deluxe Suite for three (3) nights
                     o Celebrity Slatus
                          Complimcntaiy Round trip aiiport transfer
                     o Cornplimcntaiy Welcome Amenity
                     o Two (2) Rounds of Go If
                     o One (I) Relâche Spa treatment each for two (2) people -per gift certificate- total of two(2)
                          treadnents per certificate
                     0    Dinner for two (2) at Old Hickory Steakhousc

   TWO VEAU MULTI-YEAR CONCESSION PACKAGE
   (ADD ON Gaylord Rocki&s orGiylord Texan by December 22, 2017)
         • ALL Single Year Concessions
         • 15% Discount (instead of 10% in single year) on current year banquet menu (minimum must be met
             after discount is applied, discount not available on cus torn menus)
         • $25,000.00 Master Accountcrcdit toward (1 ) Catered Function

   THREE VFAR MÍITTI-VRAR CONCESSION PACKAGE
   (ADD ON Gaylord Rockies or Gaylord Texan by December 22, 2017)
         • AD Single and Two Year Concessions
         • ALL MARKETING FEES WAIVED

   In the event of reductions in (he room night cotnmitment of mon: than 20% the hotel may adjust any concessions
   previously offered in this agreement, including coucessions offered on a compliineutaty basis, aud may also adjust
   the functions space in direct praportbii Co the reduction in the room night comnùtment.




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   DEPOS    ns
   Seventy-five percent (75%) of the anticipated Group expenditures to be imster billed, including all food and
   beverage charges, is due thirty (30) days prior to arrival Until this pre-pay ment is made, the Hotel reserves the right
   to with ho Id any or all the services hereunder agreed to.

   MASTER ACCOUNT
   HotelI must be Tiolified m writing at least 10 days prior to oirival of the authorized signatories and the charges that
   are lobe posted to the Mas 1erAccount Any cancellatioti or flUrilion fees will be biUed to the Mas ter AccotuiL

   METHOD OF PAYMENT
   The method of paymsnt of the Master Account will be established upon approval of Uamscy Solutions* credit. Tf
   credit is approved, the outstanding balance of Ramsey Solutions Master Account (less any advance deposits aod
   exclusive o f ells ptilctl diHrgcs) will be due and payable upon receipt of in voice.

   Raniscy Solutions will raise nny disputed charge(s) within 10 days after receipt of the invoice. The Hotel will
   work with Ramsey Solutions in resolving any such disputed charges, the payment of* wiiich will be due upon
   receipt of invoice after resolution of the dispute. If payment of any invoice is not received within thirty (30) days
   of the date on which it was due» Hotel wîU mposc a imancc charge nt the rate of the lesser of 1-1/2% per month
   (18% annual rale) or the maximum allowed by law on the unpaid balance commencing on the invoice date.

   Ramsey Solutions has indicated that it has elected to use the following form of pay ment;

   []Cash, money order, or other guaranteed form ofpayincrtl
   []Credit card (We accept all major credit cards)
   [】Co狎auy check or Hectrcmic Funds Transfer
   ^Direct Bill

   Ramsey SolutiQns iuay not change this fumi of payment.

   In the event that credit is not appraved, Ramsey Solutions agrees to pay an advance (lepasil in an amouut to be
   delennined by the Hole! in fts reasonable discretion, with (he full amounl due prior to Ihe slflrtof the groupé event.

   Please indicate which of the following will be billed to yourcreiïter account

   Room and tax (Entire group)         ___
   Rooms and tax (VIPS and staff)       乂
   Authorized Food and Beverage         X"
   Incidental Charges
   Slandoixl Gratuities
                       비姻や _x
                                          ¥
   rHQGRAM
   We have reserved space for your meeting and social ftmetions based on our understanding of your needs at this tins，
   as set forth in the attached Pregi<mi Schedule attached hereto and incoipomted herein. Your execution of ihc
   Agreement will serve as yourapproval of the attached program schedule.

   Provided that you utilize at least 80% of the Room Block, such meeting space will be provided corr^iliincntary.

   We reserve the righi io ndjusl tlic nssignmenl ofihe Group's meeting and runction space lo a s be appropriate for the
   number of ejected attendees at each function.

   Group will Würfe with hotel al One (l) year before die groups arrival dale to identify any polenLiat unused space over
   event dates.

   Sixty (60) days before the Group's arrival date, your Convention Services team nwst receive the Graupas final
   agenda. At that lime, all space unused by your group will be released back into (be hotel's mventoiy. Any space




                                                                       RS0000308
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    additional nnd/or clianges to the agenda within 60 days will continue to be based on availability, aud may incur
    additional room rental. Ramsey Solutions En tre Leaders hip Summit 2021.



       Date        Day   Start Time    End Time      Post .AsノSign age     Function Space     Set-Up Style    Expected

    5/15/2021      Sat    6:00 AM      11:45 PM           Office             Dallasl-2           Special
    5/15/2021      Sat    6Æ0AM        11:45 PM          Storage             Oallas5-7          Storage
                                                     General Session
    5/15/2021      Sat    8.-00 AM     11:45 PM                           Texas Ballroom      Schoolroom       2,000
                                                      —Set Up___
    5/16/2021      Sun    1:00 AM      11:45 PM          Storage             Dal(as5-7          Storage
    S/16/2021      Sun    1:00 AM      11:45 PM           Office             Dallas 1-2         Special
                                                     General Session
    5/16/2021      Sun    1:00 AM      11:45 PM                           Texas Ballroom      Schoolroom       2,000
                                                      一Set Up 一
    5/16/2021      Sun    6:00 AM      11:45 PM       Speaker Room           Dallas 3*4         Special
                                                                         Texas Prefunction
    5/16/2021      Sun    7:00 AM      11:45 PM       24 Hour Hold
                                                                                AC
                                                                         Texas Prefunction
    S/16/2021      Sun    8:00 AM      5:00 PM        Coffee Break                              Roll-In        1,500
                                                                                AC

    5/16/2021      Sun    5:30 PM      7:30 PM
                                                                         Texas Prefunction      Cocktail
                                                    Dessert Reception                                          2,000
                                                                                AC              Rounds
                                                                              Center
    S/16/2021      Sun    6:00 PM      11:45 PM       Registration                            Registration     2,000
                                                                            Prefunction
    5/1フ/2021      Mon    1:00 AM      11:45 PM     Generai Session       Texas Ballroom      Schoolroom       2,000
    5/17/2021      Mon    1:00 AM      11:45 PM      Speaker Room            Dallas3 끼          Special
    5/17/2021      Mon    1:00 AM      11:45 PM          Storage            Dailas5-7           Storage
    5/V7/2021    Mon      1.-00 AM    11:45 PM           Office             Da Has 1-2          Special
                                                                              Center
    5/17/2021    Mon      1.-00 AM    11:45 PM        Registration                           Registration      2,000
                                                                            Prefunction
                                                                         Texas Prefunction
    5/17/2021    Mon      1:00 AM     11:45 PM        24 Hour Hold                                               1
                                                                                AC
                                                                         Texas Prefunction
    S/17/2021    Mon      8:00 AM      5:00 PM        Coffee Break                              Roll-In        1,500
                                                                                AC
    5/17/2021    Mon      6:00 AM     11:45 PM         VIP Lounge         Grapevine 1-6         Special         200
    5/17/2021    Mon      6:00 AM     11:45 PM          Breakout          Grapevine A, B        Theatre         500
    5/17/2021    Mon      6:00 AM     11：4S PM          Breakout           Grapevine C         Theatre          300
    5/17/2021    Mon     6:00 AM      11:45 PM          Breakout           Grapevine D         Theatre          300
    5/17/2021    Mon     6:00 AM      11:45 PM          Breakout          San Antonio 3       Conference        10
    5/17/2021    Mon     6:00 AM      11:45 PM          Breakout          San Antonio 4       Conference        10
    5/17/2021    Mon     6:00 AM      11:45 PM          Breakout             Austin 3         Conference        10
    5/17/2021    Mon     6:00 AM      11:45 PM         Breakout              Austin 4         Conference        10
    S/17/202；t   Mon     6:00 AM      11:45 PM         Breakout            Ft Worth 7         Conference        10
    5/17/2021    Mon     6:00 AM      11:45 PM         Breakout           Ft Worth 5-6       Schoolroom         20
    S/17/2021    Mon     6:00 AM      11:45 PM         Breakout          San An ionio 1-2    Schoolroom         20
    5/17/2021    Mon     6：00AM       11:45 PM         Breakout          San Antonio 5-6     Schoolroom         20
    5/17/2021    Mon     6:00 AM      11:45 PM         Breakout             Austin 1，2       Schoolroom         20




                                                                       RS0000309
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    5/17/2021      Mon    6:00 AM   11:45 PM      Breakout           AustinS 6        Schoolroom        20
    5/17/2021      Mon    8:00 AM   11:45 PM    24 Hour Hold       Longhorn Hall F                       1
    5/17/2021      Mon   12:00 PM    1:00 PM       Lunch           Longhorn Hall F   Rounds of 10     2,000
    5/17/2021      Mon    6:00 PM   11:45 PM   VIP Reception        Glass Cactus         Special        1
    5/18/2021      Tue    1:00 AM   11:45 PM   General Session     Texas Ballroom     Schoolroom      2,000
    5/18/2021      Tue    1:00 AM   11:45 PM     VIP Lounge        Grapevine 1-6        Special        200
                                                                                        Cocktail
    5/18/2021      Tue    6:00 PM    9:00 PM   VIP Reception       Grapevine 1-6                       250
                                                                                        Rounds
    5/18/2021      Tue    1:00 AM   11:45 PM      Breakout         Grapevine A, B       Theatre        500
    5/18/2021      Tue    1Æ0 AM    11:45 PM   Speaker Room          Dallas3-4          Special
    5/18/2021      Tue    1:00 AM   11:45 PM      Storage            Dalias5-7          Storage
    5/18/2021      Tue    1:00 AM   11:45 PM       Office            Dallas 1-2         Special
    5/18/2021      Tue    1.-00AM   11:45 PM      Breakout          GrapevIneC          Theatre        300
    5/18/2021      Tue    1:00 AM   11:45 PM      Breakout          Grapevine D         Theatre        300
    5/18/2021      Tue    1:00 AM   11:45 PM      Breakout         San Antonio 3      Conference       10
    5/18/2021      Tue    1:00 AM   11:45 PM      Breakout         San Antonio 4      Conference       10
    5/18/2021      Tue    1:00 AM   11:45 PM      Breakout            Austin 3        Conference       10
    5/18/2021      Tue   1:00 AM    11:45 PM     Breakout             Austin 4        Conference       10
    5/18/2021      Tue   1:00 AM    11：4S PM     Breakout           Ft. Worth 7       Conference       10
    5/18/2021      Tue   1:00 AM    11:45 PM     Breakout         San Antonio 1-2    Schoolroom        20
    5/18/2021      Tue   1:00 AM    11:45 PM     Breakout         San Antonio 5-6    Schoolroom        20
    5/18/2021      Tue   1:00 AM    11:45 PM     Breakout            Austin 1-2      Schoolroom        20
    5/18/2021      Tue   1:00 AM    11:45 PM     Breakout            Austin 5-6      Schoolroom        20
    5/18/2021      Tue   1:00 AM    11:45 PM     Breakout          Ft Worth 5-6      Schoolroom        20
                                                                       Center
    5/18/2021      Tue   1:00 AM    11:45 PM    Registration                         Registration     2,000
                                                                    Prefunction
                                                                 Texas Prefunction
    S/18/2021      Tue   1:00 AM    11:45 PM   24 Hour Hold                                             1
                                                                        AC
                                                                 Texas Prefunction
    5/18/2021      Tue   8:00 AM    5:00刚      Coffee Break                             Roll-In       1,500
                                                                        AC
    S/18/2021      Tue   1:00 AM    11:45 PM   24 Hour Hold       Longhorn Hall F
    5/18/2021      Tue   12:00 PM   1:00 PM        Lunch          longhorn Hall F    Rounds of 10     2,000
    5/19/2021   Wed      1:00 AM    2:00 PM    24 Hour Hold       Longhorn Hall F                       1
    5/19/2021   Wed      12:00 PM   1:00 PM        Lunch          Longhorn Hall F    Rounds of 10     2,000
                                                                      Center
    S/19/2021   Wed      1:00 AM    5:00 PM    Registration                          Reg: strati on   2,000
                                                                    Prefunction
                                                                 Texas Prefunction
    5/19/2021   Wed      1:00 AM    5:00 PM    24 Hour Hold                                             1
                                                                        AC
                                                                 Texas Prefunction
    5/19/2021   Wed      8:00 AM    5:00 PM    Coffee Break                             Roll-In       1,500
                                                                        AC
    5/19/2021   Wed      1:00 AM    6:00 PM       Office             Dallasl-2         Special
    5/19/2021   Wed      1:00 AM    6:00 PM      Breakout          Grapevine C         Theatre        300
    5/19/2021   Wed      1:00 AM    6Æ0 PM      VIP Lounge        Grapevine 1-6        Special        200
    5/19/2021   Wed      1:00 AM    6:00 PM      Breakout         Grapevine A, B       Theatre        500




                                                                       RS0000310
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     5/19/2021     Wed       1:00 AM     6:00 PM        Speaker Room            Dalla&3-4            Special
     5/19/2021     Wed       1:00 AM     6:00 PM           Storage              DaílasS-7           Storage
     5/19/2021     Wed       1:00 AM     6:00 PM           Breakout            Grapevine D          Theatre          300
    5/19/2021      Wed       1:00 AM     6:00 PM           Breakout           San Antonio 3        Conference         10
    5/19/2021      Wed       1Æ0AM       6:00 PM           Breakout           San Antonio 4        Conference         10
     5/19/2021     Wed       1:00 AM     6:00 PM           Breakout              Austin 3          Conference         10
    5/19/2021      Wed       1:00 AM     6:00 PM           Breakout              Austin 4          Conference         10
    5/19/2021      Wed       1:00 AM     6:00 PM          Breakout             Ft Worth 7          Conference         10
    5/19/2021      Wed       1:00 AM     6:00 PM          Breakout           San Antonio 1-2      Schoolroom          20
    5/19/2021      Wed       1:00 AM     6:00 PM          Breakout           San Antonio 5-6      Schoolroom          20
    5/19/2021      Wed       1:00 AM     6:00 PM          Breakout             Austin 1-2         Schoolroom         2G
    5/19/2021      Wed       1:00 AM     6:00 PM          Breakout             Austin 5-6         Schoolroom         20
    5/19/2021      Wed       1:00 AM     6:00 PM          Breakout            Ft Worth 5 6        Schoolroom         20
    5/19/202i      Wed      1:00 AM      8:00 PM       General Session       Texas Ballroom       Schoolroom        ろ000


   FOOD AIVD BEVERAGE PRICING: FOOD AND BEVERAVGE GUARANTEE          (
   Food and Beverage pricing for the Event will be based on p rcvailin g market conditions at the time of the Bvcnt,
   Cumcnt 2017 mintmum banquet prices, excluding tax and a service charge, arc as follows:

   Break fsist                                              Dimicr
   Continental           $33 - $36                          PhUed                           $87 - $135
   BuiTct                $44 - $49                          Buffet                          $105 -$135

    Lunch                                                    Reception
    Plated               $48 - $56                           Fail Bar：
                                                                One Hour               $20 - $24
    Buffet              $58                                     Two Hours              $32-$36
                                                                Three fîours           $43 -$48
    Box                 $44 -153                            ドood
                                                             llor d’oeuvre & Stalions $78 - $103              Appli
   cable taxes and a service charge will be added lo all food and beverage pricing. Service Oiarges for discounted
   menus will be based oa retail |>ncuiも AU food and beverages served at iuuctions associated with the Event niust be
   provided, pt^iarcd, and served by Ho Le I and must be consumid on Hotel premises.

   The Hotel is relying on, and the Group agrees to provide» a niiuiumm of S700，&OQ (the “F&B GuumntccM) plus
   applicable taxes and service charges. Group agrees thnt lhe food Qnd beverage functions listed on the schedule of
   events are a major compon en L of this Agreement and that the Hotel wtl] suffer damages (hat will be difficult or
   impossible lo calculate if lhe Event is held and the Group's nctuiil food and beverage spend falls bclovv the F&B
   Guarantee, In such eveui, the Group will pay the Hotel liquidated damages m au arooimt equal to the dififcFcnce
   between (i) Che F&B Guarantee and (U) the actual total food and beverage revenue gcncmled by the functions lis led
   in ihe Event’s pmgrani schedule. Group agrees that sudi damages arc a reasonable estimate of the Hotel's actual
   damages and not a penalty. These liquidated dannges arc due within 30 days of the date such damages arc incurred,
   aud accnjc interest at the raie of 1.5 percent per imnlh (or, if less, the tnaximum amount pcmiittcd by law).

   Gavlord Texafp is pleased to recommend:

   FREEMAN is (be world’s leading provider of integrated services for face-to-face marketing. As a strategic based
   event paitncr, FREBMAN is the one source for all y our cjqiositíoi» and convention service needs. They are
   conveniently located on property Lo assist you and your exhibitors. FREEMAN specializes in loguitica) solutions
   including exhibit bootli programs, coiporatc events, custom carpeし fumiEm^ reniai, floor plan design, digital graphic




                                                                       RS0000311
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    & design production, rental displays, gvmip regísUti{¡on areas, staging/plush draping and material handling services.
    FREEMAN can also provide strategic solutions by developing social tuedia integration, virtual extension
    con^ionents and ROI measurement to insure your organization achieves its immediate goats and continues its
    growth into the fiiturc. For inore information visit the FREEMAN website at wvw.frecmanco.com. Contact Beth
    Coffey at 407-313-5850 or 407-586-2209.

    For aver 50 years PSAV Presentation Services lias spccialiaid in the planning, production, and execution of complex
    presentations and events all over the world. They arc one of the world's leading providers ofevent technology and
    integrated services for corporate events, conventions, exhibitions and awards shows, PSAVPresentation Services is
    tionorcd to serve as the prcfencd in-house staging, production and audio visual services contraclor and exclusive
    rigging services provider for Gaylord Hotels. With multiple offices and dedicated technical suppoit on property,
    PSAV is positioned to properly assist you and your guests. PSAVPrcscntatioa Services is dedicated to providing a
    rcitiarkablc e^ericncc for event managers, exhibitors and attendees alike. For n»re infurimi ion, please coniaci our
    in-hmiseoffice at 407-586-2251.

   Hello Fbiifia! is a full service destinalion managcmsnt cninpaiiy focused on the success ofour clients. Our services
   include transportation, hospitality staff, customized themed events, décor and entertainment, tours and activities,
   tcarabuUdÌDg events, and access to Florida's premiei' vcoucs. Our integrity, cntlmsiasin and commitment to
   excellence make us the leader in (he indusliy today, and (onioaow. Please call Stephanie Hotchkiss al 407-586-2352
   0r3l10tchldss@hcll0-fl0rida.c0n1 for ito re information.

   Relâche, our on-site resort spa, was designed with groups in mind. This 25,000-square-foot European-inspired spa
   features 25 massage, body and skin care treatment suites; a full썬ervice salon; and a complete Ctnesü center. Feel
   &ce to contact our Spa Sales Manager at (407) 586-4772, for more information about the range of services offcicd,
   including fitness breaks during your meetings.

   AFFnjATE fiROUPS.
   So that we may accommodate any groups that arc meeting in conjunctiou with your convention, please indicate
   which of the following procedures will be used by your group:

    Approximate number ofaffiliate groups anticipated:

     j?く     Approval must go through headquarters for function space.
     ___     Notify headquarter of affiliate group, but prior approval of space is not required.
             Headquarteis does not require any knowledge of any affiliate group.

   Charges for tunction space required for affiliate groups will be negoliated al such time as spaccia requested.

    PrRFORMANCR CLAUSE

   ft is understood that Ihc booking of Gaylord Texan for Rnmscy Solutions lùitrcLcadcrship Summit May 2021 is
   part of the following multiple bookings with Gaylord Hotels (each, a “Prior Event’’): Rainsey èolutì이is
   DitrcLcadciship Summit May 2020 at Gaylord Palms and Ramsey Solutions fìitreLendership Summit May
   2022 at Gaylord Rockies. Ramsey Solutions will have lhe righi lo cancel this Agreement without liability în the
   event of tlic following: (i) if, within thirty (30) days following the last day of the Prior Event, Rmtisey Solutions
   gives written notice to 싫ylord Hotels detailing material service or performance issues by Giylonl Hotels at tlie
   Prior Event; aud (ii) (be Hotel doei not propase nnd inclement a plan addressing the issues raised in Ramsey
   Solutions notice.

   ATTRITION
   Hotel is rely mg upon Group’s use of the Room Night Coramitmcnt. Group agrees thaï a loss will be Incurred by
   Hotel if Group’s actual usage is【ess than 80% of the Room Night CommitmeiU.

   If Group’s actual usage is less than 80% ofthe Room Night Commitment, Group agrees to pay, as liquidated
   damages and noi as a penally, lhe difference between 80% of the Room Night Ojmtmtmcnl andQxHip’s actual




                                                                       RS0000312
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    usnge, multiplied by (he average group room rate, plus applicable tæcf：,

   CANCELLATION POIJCV
   Graup agrees that it bears responsibility for payment for the Room Block and the F&8 Guarantee. Group also
   agrees that the Hotel will suffer actual harm that will be difficult to determine if the Group cancels this Agreement
   after the date hereof for reasons other than those specified in this Agreement, The Group will pay as liquidated
   damages to the Hotel, depending upon the timing of such cancellation, the following amounts, as a reasonable
   estimate ofhanu to Hotel for the cancellation:

   CANCELLATION POLICY
   Group agrees that it bears responsibility for payment for the Room Block and the F&B Guarantee. Qて)up also
   agires that the Hotel wil suffer actual harm that will be difficult to determine if the Group cancels this Agreement
   after the date hereof for reasons other than those specified in this Agreement. The Group will pay as liquidated
   damages to the Hotel, depending upon the timing of such cancellation, the following amounts, as a reasonable
   estimate of harm to Hotel for the cancella lion:

   Time Period of Cancellation                     Amount of Liquidated Damaaes Due
   0- 180 days prior to arrival (inside 6mo)         100% of total room revenue plus 75% ofF&B Guarantee
   181 -365 days prior to arrival (6mo-lyr)           75% of total room revenue* plus 50% ofF&B Guarantee
   366-551 days prior to arrival (1 yr-l^yr)          40% of total room revenue*
   552 - 912 days prior to arrival (L5-2.5yre)        10% of total room revenue*
   913-1095 days prior to arrival (2.5-3yrs)          S25,000
   1096 days-üümcoDtractsigning (3- 3.5yrs)           510,000

   BONUS DEAL On or before May 1,2019 (Gaylord TEXAN) nnd May 1,2020 (GAYLORD ROCKIES)
   Ramsey Solutions may release up io 50% of total 1*0001 block without penally. A proportionsile redueflon iti
   meeting space and cunccssluns will apply so Hotel is able to resell (he released sleeping roams. Ramsey
   Solutions nill be responsible foi' the entire revised room block if this reduction is taken at 100%, no further
   attrition nlll be allawible. Should Group decide to exercise the BONUS DEAL or 50% room night reduction,
   then should the Qoup cancel their conh'act after this reduction, (he cancellation amounts will remain based
   on the origina! contrae led room block.
   •The lerm “tolal raom revemie” means lhe dollar nmount equal (0 (he Room Block multiplied by the Group's
   average room rate, exclusive of resort fee.

   Such amount (the “Cancellation Charge") will be due and payable due within 30 days of the date of cancellation,
   and accrue interest at the rate of 1.5 percent per month (or, if less, the raaxirauni amount permitted by law). If
   required by the applicaDie jurisdiction，the Group will pay sales nud/or other applicable taxes with respect to the
   Cancelation Charge outlined above.

   CANCCLLATrO_N IN EVENT OF CHANGE IN MEETING SITE
   Notwithstanding any other provision of this Agreement, the Group agrees that it has no right to cancel this
   Agreement for the purpose of changbig its mccling site to another city or location, and in such event, regardless of
   the date of cancellation of the Agreement, the Group will owe liquidated daaugcs equal to 100% of total 100m
   revenues plus applicabte tax, to be received by tl，c Hold from your event for guest rooms comprising lhe Room
   Block.

   FOR CAUSE TERMINATION
   Should it be impossible for the group to pcribiro its obligations under the Agreement as a result of Dave Ramsey’s
   unforeseen death or disability, tbe Hotel shall refund nil deposits and/or prepavneuts made by the Group with¡11
   thirty (30) days of receipt of the notice of termination. Oroup tmst notify Hotel within Ten (10) days of such
   occurrence.

   NoUvithsiandmg any provision to the contnuy hcrciu, Group may at any time teatrinate this Agreement without
   penalty in the event Hotel, Us parcel, subsidimy oraOUIatcd businesses，pimcipuk or executives become engaged in,
   accused of or subject to any public scandal, political controversy, crime, fraud or other event that in Group’s sole




                                                                       RS0000313
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   judgment will impair or damage its brand or good will by hosting an event at Hotel. In such event. Group shall
   provide prompt notice and the Motel shall refond all deposits and/or prepayments made by the Group wilbin tbirty
   (30) days of receipt of the uo tice of lermination.

   PERFORMANCE LICENSES
   Ramsey Solutions will be solely responsible for obtaining any accessaiy licenses or permission to perfomi,
   braadcast, tiansmit, or display any copyrighted woiks (including witliout limitation, music, audio, or video
   recordings, art, etc.) thnl Ramsey Solutions may use or request to be used at the Hotel

   FORCE 1VÍAJEÍIRF.
   Either party may be excused from performance without liability if circumstances beyond its reasonable control, such
   as acts of God, war, acts of domestic terroiisai, strikes or similar circumstances, ntake it ¡Ilegal or impossible to
   provide or use the Hotel facililies. The ability to temunate pursuant to Ibis clause is coudUioned upon delivery
   written notice to the other party setting forth the basis for such termination within ten (10) days after learning of
   such basis.

   LITT CATION EXPENSES
   The parties
        i      agree that, in the event litigation relating to tliis Agreement is Hied by either party, the nnn-prevailmg
   party in such litigation will pay the prevailing party's costs resulting from tlic litigation, including reasonable
   attorneys’fees.

   LIQUOR LICENSE
   Ramsey Solutious umJerstamis that Hotel's liquor license requires that beverages only be dispensed by Hotel
   enplayccs or bartenders. Alcoliolic beverage service may be denied la those guests who appear to be intoxicated
   orare underage.

   COMMUNIICATIONS BETWEEN THE PARTIES
     o tices sen」t between lhe parlies may be sent via regular mail, with the effective date as of the dale ortmiling, or by
   Federal Express or other overnight dcliveiy service, wilh the effective date the date of receipt, or by fîtesimilc, with
   the effective date as of the date shown ou the confuimtion of receipt. Copies or ibes imites shall be considered as
   valid as original docnmcnls.

   REVOVATÏON/REMODELING
   As of tlic date of the signing oflhis Contract, Hotel has no plans for lenovation or remodeling ofany facilities over
   the program dates, whicb will be utilized by Quup pursuuiil to this contract, other than ordbacy maintenance. Li
   the event that after (bis contract is signed. Hotel confirms any plans to remodel or renovate its focilitics over the
   Event dates, Hold agrees to inibrra your group in writing of the followiug:

            Planned scopcof project;
            Schedule for commencement and cmupletion;
            Anticipated impact project will have an areas to be utilized by your group;
            Hotd’s plan for minimizing impact of project on Group.

   Hotel promises tliat any such construction or remodeting will not interfere with Group’s use of the Hotel The
   parties agree to negotiate in good Gtkh to resolve any concerns raised as a result of renovations or remodeling oud lo
   enter into such amendments ofthis Cbn tract as may be ncccssaiy to reasonably accommodate both parties' interests.

   DISHONORED RESERVATIONS
   If the Hold is unable to provide a room to a Group attendee holding an accepted or con firmed reservation, Hotel
   may provide alternative accommodations to such nllendee (an "Affected Attendee”)without such action constíüiting
   a breach of this Agreement, provided the tem« and conditions of this paragraph arc followed. In such an event, the
   Hold will provide, at its cost, the substitute hotelaccocraiudations to the AfTcctcd Allcndccand (ranspoitation t
   and from the substitute hotel for each day tliat Hotel cannot provide a rooia Upon return to the Hotel, the Hotel°wül
   provide a note of apology, and cvciy attempt will be made lo place the guest in an upgraded rooivu




                                                                       RS0000314
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    SEVERABILITY
    If for any reason a court of competent jurisdiction Hnds any provision of this Agreement or portion thereof to be
    unenforceable, tliat provision shall be enforced to tbc majdnann extent pcnnissiblc so as to affect the intent of the
    parties, and the remainder ofthc Agreement shall continue in full force and effect

   AMERICANS WITH PIS ABILITIES ACT (ADAÌ COMPÌ J ANC K
   Each party agrees to use good failli efforts to ensure that it complies with its obligations under the Americans with
   Disabilities Act and the Act’s accompanying regulation and guidelines (collectively the “ADA”)，Each party
   forth er agrees to indemnify and hold the other party liannlcss frolli and agaíust any and all claims and expenses,
   including attorney’s fees and LU ¡galion expenses, that may be incurred by or asserted against the other party or its
   officers, directors, agents, and employees on the basis of the indemnifying party’s non-cotnpliance with any ofthc
   provisions of the ADA. Ramsey Solutions agrees to provide Hotel with reasonable advance notice about the
   special needs of any aUendees of which Ramsey Solutions is aware.

   This Agreeroent ¡s subject to all applicable federal, state, and local laws, including health and safety codes,
   alcoholic beverage control laws, disability laws, federal anti-terrorism laws and regulations, and the like. Hotel
   and Ramsey Solutions agree to cooperate with each otherto ensure compliance will] such taws.

   FXFiCUTION: ASSIGNMENT: AMENDMENTS
   By execution of this Agrcetwmt, tlic parties specifically acknowledge and agree that this Agreement sets forth the
   entire understanding between the parties with respect to the subject matter hereof, shall act as tbc binding obligation
   of the parties, ami the individual party signing this Agreement on behalf of a party has the requisite power and
   autborily to bind such party. No rnodißcatbu, amendment of, or supplement to this Agreement shall be valid or
   effective unless the same is in writing and signed by both parties. The Hotel inay require ancillary terms under this
   Agreement, such as its Policies and Procedures and Banquet Event Orders, and such terms, to the exlent not
   inconsistent with the provisions of this Agreement, shall be binding upon the Group.

   CVDEMNJPICATIQN
   Each party to (lib Agreement shall, to the extent not covered by the indemnified party's insurance, indemnify,
   defend, and hold haimless the other party and its officers, directors, ngents, employees, and owners &om and
   agahsl any and all demands, claims, damages to persons or property, losses, and liabilities, includtug reasonable
   attorneys' fees (collectively, “Claims”), arising solely out of or solely caused by the indemniJying party’s
   negligence or wiMil misconduct in connection with the provision and use of Hotel as contemplated by this
   Agreement. This paragraph shall not waive any statuloiy limitations of liability available to either party, including
   innkeepers' limitation of liability laws, nor shall it waive any defenses either party may have with respect to any
   Claim.

   COMPLIANCE WITH LAW
   This Agreement is subject to all applicable federal stale, and local laws, including heaJth and safety codes,
   alcoholic beverage control laws, disability laws, federal anti-terronsni laws aud regulations, and the like. Hotel
   and Ramsey Solutions agree to cooperate with each otherto ensure Cûtrçliancc with such laws.

   CHANGES. ADDmONS. STÍPULATIQNS. OR LINING OUT
   Any changes, additioas, stipulations or deletions including corrective lining out by either Hotel or Ramsey
   Solutions will not be considered agreed to or binding on tbc other unless such modiiications have been initialed or
   otherwise approved in writing by the other.

   ACCEPTANCE
   When presented by the Hotel to Ramsey Solutions, this documsnt is an invitation by Che Hole) to Ramsey
   Solutions to make an offer. Upon signature by Ramsey Solutions, this document will be an offer by Ramsey
   Solutions. Only upon signature of this document by all parties will this document constitute a biudiug agreement.
   Unless the Hotel othenvise notifies Ramsey Solutions at any time prior to Ramsey Solutions e»scution of this
   document, the outlined fonnat and dates will be held by the Hold for Ramsey Solutions on a first-option basis
   until Friday，December 22, 2017. If Ramsey Solutkins cannot make a conimilnieiit prior to that date, this
   ¿avitatbn to offer will revert to a second-option basis or, at the Holel’s option, the arrangements will be released,
   in which ease neither party will have any fiirther obligalions.




                                                                       RS0000315
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    Upon signature by both parties, Raacey Solutions and the Hold shall have agreed to and executed this Agreement
    by their authorized represenlalivcs as oftlïe dates indicated below*

    SIGNATUR RS
    Approved and aulhoriad by Ramsey Solutions,

    Name; (Print)     Joe Leavitl

    Title: (Print)    DirecìQjLofEv»^iÌp>roductìoj      ;cy Sohttions

    Siguature:

    Date:


    Approved and authorized by Hold

   Na，”e: (Print)     Wendy Ezemack

   Title (Print)     Senior Sales Ewcxitivc

   Signature:

   Date:                    / ザ싹/广フ




                                                                       RS0000316
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           EXHIBIT F




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                                                                                                                                                       RS0000290
                                                         GAYLORD ROCKIES'

                                                                   添ふ
                                                   GROUP SALES AGREEMENT

DESCRÍPTION OF GROUP AND EVENT
                                                                           Conventìon Center (the “Hotel”)and Ramsey Solutions
The following represents an agieement between: Gaylord Rockies Resort mid
(the “Qて)up”)and outlines specific conditions and services to be provided.

ORGANIZATION:                        Ramsey Solutions
CONTACT:
      Name:                          Joe Leavitt
      Job Title:                     Director of Event Production
      Street Address:                1749 Mallory Laae
      Cky, State,Zip:                Brentwood, TN
      Phone Number:                  877-410-3283 x5503
      E-iTiail Address:              joel@davcramscy.com

NAME OF EVENT:                        Raniscy Solutions EntrcLeadcrsiiip Summit May2022
QUOTE #:                              M-AF1EDBD
OFFICIAL PROGRAM DATES:               Friday May 20비, 2022 一 Thursday, May 26th, 2022
ANTICIPATED ATTENDANCE;               2,000

GiJEST ROOM COMMITMENT                                                              for utilizing, 5,131 room nights in the pattem set forth
The Hotel agrees that it will provide, and Group agrees that it will be responsible
below (such number and such pattern, the “Room Night CòmmitmeiUM):
                                                         Deli        BçeCiitíw         i?'Staffi   Mòuhiaín      Run of        Total
                                       presiäenüai；；
              ；ï)aÿ         pàté            谢¿'ソ_:       •Sôíi       :;=-vSriitë'V.     HqomS-      麵w           House         Rooms
               Fri        M卿J                                                             20                                     _
                                                                                          25          20            69           Í3Ü
                          5/21/22                            5             5
               S仙          s/MM                             30            30              80         200           1129         酬'
                           S/23/22                          30            30              80         200           1129      : MWsn
               rvioï)
              麵쫘: 5/24722                     6             30            30              80         200           1129
                                                                                                                          556
              Weil  譜翻）                       6             30            30              50          50           390

                :雜峨義網!                                                                :: '짜          670           3846丄 SJ31

                                                                            r 22, 2017. Due to the very high demand wc anticipate over these
 Wc will reserve the room block noted above untiiI Friday，,Decembe
                            the  right to release    ir
                                                  your  fíi_st  option
                                                                o      if wc  have not received the signed copies of the Agreement verifying
 dates, the Hotel reserves
 confirmation by this time. In the event  we have a denn  ite  request for these dates prior to your option date, we will contact you fora decision.
                                                                                    release the option.
 You will have three (3) business days to either return the signed contract, or

 GROUP ROOM RATES
                                                                               will be:
 The confirmed net, non-conunissionablc per night room rate for the 2022 Event

           Singlc/Double:              $274.00
           Staffi                      $164.40
           Mountain View:              $399.00
           Executive Suites:           $625.00
           Deluxe Suites:              $850.00
           Presidential Suites:        $2700.00




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Applicable fees & taxes will be added to 100111 rates. The total collection is presently 15.25%, which includes the Auvora Lodging tax(8%),
Colorado State tax (2.9%), Adams County tax (0.75%), Cultural :District tax (0.10%), RTD Commuter Rail tax (1.0%), and Property
improvement Fee (2.5%).

Subject to availability, Group rates will apply three (3) days prior to, and three (3) days following，the dates of the Event. Each additional
person to a room is $20.00. Children twelve (12) years and under are free when occupying the same room as tneu*parents,

RFSORT FEE
The prevailing resort fee, currently S20.00 plus applicable taxes, will be added to the guest room rate. This fee will cover several in-roo m
amenities which at the time ofchcck-rn will mchidc:

      •   High-speed internet access in ail guestrooms
      •   Conplimcntaiy use of the basketball & tennis courts
      •   Local, toll-free and domestic long-distance phone calk
      •   Q>itç>limcntary use of hotel bicycles
      •   Coniplimeutaiy ski equipment storage
      •   Two bottles of purified water
      •   Scheduled shuttle service Irom commuter rail stop
      •   Con^limentaiy access to on property water amenities

Please note that the parking fee is currently $24.00 for sclf-parking and $30.00 for valet parking plus applicable tax, cuiTently 8%.

 REWARDS PROGRAM - REWARDING EVENTS
 Approximately (10) business days after the conclusion of the Event (provided that the Event is not cancelled and Group has otherwise
 complied witb the material terms and conditions of this Agreement), the Hotel will citlier award Points or submit an award for airline miles
 to tlicMember(s) identified below:
                                                                                                        any federal, state or local agency
 Rewarding Events docs not apply to Events booked by or on behalf of any governmental eutity, including
                                                                                                             (or an intermediary booking
 or any other governmental body, and hotels may not award Points or airline miles to a government employee
                                                                                                                     planning, scheduling
 on behalfof a governmental entity) in connection with the Rewarding Events program or otherwise in connection with
 or contracting for an Event.

 CHECK ONE OPTION BELOW:

 □        Award Points to the Contact (as identified ou page 1 of this Agreement or the Authorized Siguer of this Agreement)
          Member Naine_____ _______________________                            _______
          Rewards Program Member Number_______________ ________________ _

 U         Award Airline Miles to the Contact (as identified on page 1 of this Agreement or the Authoiized Signer of this Agreement)
           Member Name_____________________________________________ ___
           Rewards Program Member Number__________________ ______________
           Airline frequent flier account number
           Name of airline

  □        Decline to Award Points or Airline Miles
           The Contact and the Authorized Signer of this Agreement elect not to receive (and hereby waive the right to receive) an award of
           Points or airline miles in connection with the Event.

  The nuitiber of Points 이. airline miles to be awarded shall be determined pursuant to the Rewards Program Terms and Conditions, as in
  effect at the time of award. The Rewards Program Terms and Conditions arc available on-line at marriottrew^rds .com, and rmy be changed
  at the soie discretion of the Rewards Program at any time and without notice.
                                                                                                               such individuals)’ prior written
  The individuai(s) identified above to receive cither Points or airline miles may not be changed without
  consent. By ¡nserüng tlic airline mileage account infomialioD» the recipient elects to receive airline miles rather Iban Points. All Rewards
  Program Terms and Conditions apply.

  METHOD OF RESERVATIONS
  Please indicate which of the following procedures will be used by your group:

               ¡ゾ Individual Reservations for the Event will be made by individual attendees

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                                                                                                                                                   RS0000292
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           K Rooming List         一躺⑽
At theGroup9s request, Hotels transient in-house guest list will be compared with the Groupé registration list Any guestroom occupied
by an individual on Group’s registration list, but not coded to Group within Hotel's system» will be credited to Group’s final pickup.

If names are found on (he Group’s registration list and on the Hotel’s trans Sent In-hoiivse list that are not coded to the group, they shall be
credited to the Group hotel pickup (regardless of room rate). This credit may increase the Group pickup as well as possibly increasing the
couplimcnlaiy credits earned.

Hotel will provide Group a weekly guestroompkk-iip report starting 45 days prior to the established cut-off date.

GROUP MAX SYSTFM/PASSKEY -HOUSING OPTION                                                                       an online group reservation
Gayl이.d Rockies Resort & Convention Center currently offers you the services of QoupMax^Passkey -
rranageuxMit solution that allows meeting planucrs a 24-hour real-time visibility into room pickup, registration activity, and more. We can
also create a custom \veb page for your group that allows attendees to book rooms, request special services and make last-nanute changes,
all maintained in a centralized database accessible only to the hole! and the meeting planner.

Passkey is currently available on a complimentary basis. Ask your Sa Ics 이. Event Manager at Gaylord Rockies Resort & Convention Center
for more infonmtion on this exciting technology.

 GUARANTEED Rr<XERVATIQNS
 All reservations must be accompanied by a first night room deposit or be guaranteed by Ramsey Solutions. Hotel will not lioid emy
 reservations unless secured by one of the above methods. Credit cards will be charged prior to arrival.

 If rooms are not guaranteed to the Group’s master accounl, a deposit equal to one night’s stay is required to hold each ¡naivdual’s
 reservation. Should a guest cancel a reservation, the deposit will be refimded if notice is received at least three (3) working days prior to
 arrival, aud a cancellation number is obtained.

 NO ROOM TRANSFER BY GÜES1
                                                                                                   to assign any rights oi obligatious under
 Group agrees that neither Group nor attendees ofthe Event nor any intermediary shall be permitted
 this Group Sales Agreement，or to resell or otherwise transfer to persons not associated with Group reservations for guestrooms, meeting
 roams or any other facilities made pursuant to this Gx)up Sales Agreement.

 CUTOFF DATE
 Reservations by attendees must be rcccived on or before Friday, Apdl 29,2022.At the Cutofif Date, Hotel will review the reservation pjck
                                                                                                                   based on a space and rate
 up for the Event, release the unreserved rooms for general sale, and delermine whether it can accept reservations
 available basis at the Ramsey Solutions group rate after this date.

 CHECK-OUT TIME                                                                                                        local time may incur
 Check-in time is 4:00 p.m local tins. Qicck-out time is 11:00 am local tirae. Anyone checking out after 11:00 a.in.
 late charges. Special arrangements can be made for late check-outs based on availability, and/or luggage can be stored tor mdiviauals with
 later departures.

 COMPUMENTARY VQUCY
 kWe arc pleased to extend to your gto\ip one conçlimentary single room (unit) per cveiy 45 rooms utilized at the group rate during your
 nieetmg. Any rooms with rates discounted below the group rate will not be calculated in the coinplimentaiy allotment. This number is
 determined by the actual rooms occupied by yourgroup each night, divided by 45.

  The following suites have a value of more than one unit:
           Presidential Suite:       -6 s mglc rooms
           Dchixe Suite:             - 4 single rooms
           Executive Suite:           - 3 single rooms

  SPECIAL INCENTIVES
  In consideration of the Room Night Commitment and the functions identified on the Function Information Agenda/Event Agenda, Hotel
  will provide Ramsey Solutions with the following special concessions:

       •   One (1) C이nplimentary Presidential Suite will be reserved for Dave Ramsey over the meeting dates，as outlined in the ro이n block
           grid                                                                                    レ /Yt*ííí




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        Up to thirty (30) Deluxe Suite upgrades will be offered at Group Rate for VIPs/Speakers, as outlined in the room block grid
        Up totliiily (30) Esecutive Suite upgrades will be offered at Group Rate for VÍPs/Speakers, as outlined in the room block grid
        Twenty (20) Celebrity Services Status for designated recipients (some will be luodified)
        Up to 200 Mountain View Room upgrades at the group rate of $274.00, as outlined in the m이ti block grid
        Up to 80 Staff Rooms at a discounted rate of $164.40 (40% off group rate), as outlined m the room block grid
        Complimentary valet for up to 20 Staff Members
        Coiiiplimentaiy VIP round tdp airport tiansfcrs to/from DIA for up to 10 Speakcrs/VIPs
        Conçlimentary AM/PM Office breaks for up to 20 staff members，in Staff Office
        $5,000.00 flat fee for power requirements (NOT including service charge or labor)
        Wi-Fi Package $65,000.00 (Plus Tax & Service Qiarge):
             o 200 Mbps Dedicated Bandwidth, (o be allocated across up to 3 VLANs / SSIDs
             o Up to 30 Static IP Addresses
             o Up to 20 W ired Drops
        Access to in house lighting in General Session compliinentary (Value $780.00++ per clay)
        feu Percent (10%) Discount off cun*ent year banquet menu pricing (does not apply to custom menus, minimuni niiis t he met after
        discount is applied)
        Pre-Planning Visits - up to 20 total room nights (additronal at Staff Rate) based on availabilily. To include office, valet parking,
        airport trans fers and Food & Beverage needs
        Audfo-Visual Discount- PSÀV): Hotel will offer a 40 % disOouuloff prevailing published pricing guidelines for PSAV in -house
        inventory of equipment (excludes labor, rigging, truss, Event Technology Support (sci*vicc charges), consumables, sates tax and
        shipping/dclivcry charges) if PSAV is selected as the sole provider tor all A V Equipment & Services, if PSAV is not selected as
        Chesole provider then all ÀV Equipment will be charged atas üding scale. If to tal spend ofaudiovisual equipment and labor before
        discount and tax is:
        $0 to $40,000 then a 10% discountwill be applied to audiovisual equipment
        $40,001 to $75,000 theu a 15% discount will be applied to audiovisual equipment
        $75,001 + then a 20% discount will be applied lo audiovisual equipment. This discounting does not apply to consumables, labor,
        rigging, truss and Event Technology Support Fee (service charge).
        Credit to Mas ter for 25% the value of Rigging motois and truss (excluding tax and service charge) Custom Rigging Package to be
        provided. PSAV is the exclusive pravider of all rigging equipment, tigging & truss labor and truss equipment. Rigging equipment
        includes but is not limited (o motors, points, cabling and truss.
        Coraplimentaiy corkage fee on Entre bianded water bottles on main arrival registration day at Registration Desk location.
        $2.00+■卜 corkage fee on Entre Branded Water Bottles on beverage stations during sessions, AnVPm breaks and meal fìinctions.
        Complimentary storage ofup to seven pallets no more than five days prior to event
        Complimentai^ access to one in tx)om channel
        Complimentaiy marketing Fees up to $50,000.00 (not includiug production or labor)
        Three (3) -Three nights stays to be used at our discretion (could be used as marketing incentive», contestili g, etc.). Io include:
             o Complimentaiy Deluxe Suite for three (3) nights
             o Celebrity Status
             o Complimentary Round trip airp이1 transfer
             o Complimentary Welcome Amenity
             o Two (2) Rounds of Golf
             o One (1) Relache Spa treatment each for two (2) people - per gift certificate- total of two(2) treatments per certificate
             o Dinner for two (2) at Old Hickory Stcakhouse

TWO YEAR MULTI-YEAR CONCESSION PACKAGE
(ADD ON if signed by either Gaylord Palms or Gaylord Texan by December 22, 2017)
      Alし Single /car Concessions
   參  15% Discount (instead of 10% in single year) on current year banquet insnu (inmimiim nuist be met after discount is applied,
      discount not avaUabb on custommeuus)
      $25,000.00 Master Account credit toward (1) Catered Function

THREE YEAR MULTI-YEAR CONCESSION PACKAGE
(ADD ON if signed by both Gay I이d Palms and Gaylord Texan by December 22, 2017)
   • All Single and Two Year Concessions
   • ALL MARKETING FEES WAIVED




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DEPOSITS
Seventy-five percent (75%) of the anticipated Group expenditures to be master billed, including all food and beverage charges, is due thirty
(30) days prior to arrival. Until this pre-payment is made, the Hotel reserves the light to withhold any or ali the services hereunder agreed
to.

MASTOR ACCOUNT
Hotel must be notified in writing at least 10 days piior to arrival of the authorized signatories and the charges that arc to be posted to the
Mas ter Account. Any cancellation or atbition fees will be billed to the Master Account.

METHOD OF PAYMENT
The method of pay ment of the Master Account will be established upon approval of Group’s credit. If credit is approved, the ou (standing
balance of Ramsey Solutions Mas 1er Account (less any advance deposits and exclusive of disputed charges) will be due and payable upon
receipt of invoice.

Ramsey Solutious will raise any disputed cbai'gc(s) within 30 days after receipt of the invoice. The Hotel will work with Group in resolving
any such disputed charges，the payinciit of which will be due upon receipt of invoice after rcsolutioo of the dispute. If paymeul of any
invoice is not received within thirty (30) days of the date on which it was due, Hotel will impose a finance chaise at the ta te of the lesser of
1-1/2% per month (18% annual rate) or the maximum allowed by law ou the unpaid balance commencing on the invoice date.

Ramsey Solutions has indicated that it has elected to use the following form of payment:

             Direct Bill
         1 ] Cash, money order, or other guaranteed form of payment
         []Credit card (We accept ail major credit cards)
         []Company check or Electronic Funds Tmnsfer
         []                          [agreed alternative]

Please indicate which of the following will be billed to your Master Account:

             Room and tax (Entire Group)
            ^Room and tax (VIPs and Staff)
             Authorized Food & Beverage
             Incidental Qi arges 4一 장:c사 hが
            ，Standard Gratuities

ïn the event that credit is not approved, Ramsey Solutions agrees to pay an advance deposit in an amount to be determined by the Hotel m
its teasonable discretion, with the full amount due prior to the start of ht e group’s event.

PROGRAM
We have reserved space for your nieeting and social functions based on our understanding of your needs at this time, as s et forth in the
attached Program Schedule attached hereto and incorporated herein. Your execution of the Agreement will serve as your approv ai of the
attached program schedule.

Provided that you utilize at (east 80% of the Room Block, such meeting space will be provided complimentary.

Wc reserve the right to adjust the assignment of lhe 01.011p，s meeting and function space to a size appropriate for the number of ejected
attendees at each Hi action.

Group will work with hotel at One (1) year before the groups arrival datelo identify any potential unused space over event d ates.

Sixty (60) days before the Group's arrival date, your Convention Services team must receive the Group's final agenda. At t hat time, all
space unused by your gtx)up will be released bacK into tbe bolel's inventory. Any space additional and/or changes to the agen da within 60
days will continue to be based on availability, and may incur additional room rental.




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                                                                                                                                                          RS0000295
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FUNCTION INl^RMATION AGENDA/EVENT AGENDA
:,:ised o n the requireinents outlined by Ramsey Solutions, the Hotel has reserved the function space set forth on the below Function
In format ion Agenda/Event Agenda.

                                               «-soy Solutions Entreleadorshlp Summit May2072
          Starllime ! fciidijnie [ f unction Type [        Post As/SIgnage                      Function Space             T   bet-Up Stvle   Fxppfli»d


           6:00PM ] 11:45 PmI         Set Up       l" Set Up Onerai S애Ion          f          Aurora Ballroom A                Schoolroom        t


           1:00 AM    U.4SPM          Set Up           Set Up Cenerai Session                  Aurora Ballroom                 Schoolroom      2,000
           1：00AM     11:45 PM        Office                    Office                          Aurora Office                   Special          1
           7:00 PM    11:45 PM       Breakout                Breakouts                              Crest 1                    Conference        20
           7：00PM     11:45 PM       Breakout                Breakouts                              Crest 2                    Schoolroom        20
           7:00 PM    11:45 PM       Breakout               Breakout 10                           Summit 10                    Schoolroom        20
           7:00 PM    U:45PM         Breakout               Breakout 11                           Summit 11                    Schoolroom        20
           7:00 PM    11:45 PM       Breakout                Breakouts                             Valley 1                    Conference        20
           7:00 PM    11:45 PM       Breakout                Breakouts                             Valley 2                    Conference        20
           7:00 PM    11:45 PM       Breakout                Breakout 7                            ValleyB                     Conference        20
           8:00 PM    11:45 PM      Registration            Registration                 Aurora Ballroom Prefunction           Registration      1
           8:00 PM    11:45 PM     Registration              Registration              Aurora Ballroom Registration Desk       Registration      1
           8:00 PM    11:45 PM    FoldlnRRoom         Hold for Ramsey Solutions                  ColoradoA                       Special         1
           8:00 PM    11:45 PM       Breakout                Breakout 1                           Colorado B                    Theatre         500
           8:00 PM    11:45 PM       Breakout                Breakout 2                           ColoradoC                     Tliaatre        300
           8:00 PM    11:45 PM       Breakout                Breakouts                            Colorado D                    Theatre         300
           8:00 PM    11:45 PM    Holding Room        Hold for RamseySoluÖons              Colorado Prefunctton A-Ö              Special         1
           8:00 PM    11:45 PM    Holding Room        Hold for Ramsey Sduöons            Colorado Registration Areas             Special         1
           8:00 PM    11:45 PM       Breakout                Breakout 4                          Crest 3-5                       Lounge         200


           1.-00 AM   11:45 PM        Setup            Set Up General Session                  Aurora Ballroom                 Schoolroom      2,000
           1:00 AM    12:00 PM     Registration             Registration                 Aurora Ballroom Prefunedon            Registration      1
           4:00 PM    10:00 PM      Reception         Dessert Reception (Backup)         Aurora Ballroom PrcfuncUon              Spedai
           imm        12：OOPM       Registration            Registration               Aurora Ballroom Registration Desk       Registration      i
           1:00 AM    11:45 PM        m                       Office                           Aurora Office                     Special         1
           1:00 AM    11:45 PM     24 Hour Hold       Hold for Ramsey Solutions                  ColoradoA                       Special         1
           1:00 AM    11:45 PM       Breakout                Breakout 1                           Colorado B                    Theatre         500
           1:00 AM    11:45 PM       Breakout                Breakout 2                           ColoradoC                     Theatre         300
           1:00 AM    11:45 PM       Breakout                Breakouts                            Colorado D                     Theatre        300
           1:00 AM    11:45 PM     24 Hour Hold       Hold for Ramsey Solutions            Col ora do Prefunction A-B            Special
           1:00 AM    11:45 PM     24 Hour Hold       Hold for Ramsey Solutions           Colora do Registration Areas           Special
           1：00AM     11:45 PM       Breakout                Breakouts                              Crest 1                    Conference        20
           1:00 AM    11:45 PM       Breakout                Breakouts                              Crest 2                    Schoolroom       20
           1:00 AM    11:45 PM       Brea kout               Breakout4                             Crest 3-5                     Lounge         200
           1:00 AM    11:45 PM       Breakout               Breakout 10                           Summit 10                    Schoolroom        20
           1:00 AM    11:45 PM       Breakout               Breakout 11                           Summit 11                    Schoolroom        20
           1:00 AM    11:45 PM       Breakout               Breakouts                              Valley!                     Conference        20
           1：00AM     11:45 PM       Breakout                Breakout 6                            Valley 2                    Conference        20
           1:00 AM    11:45 PM     Breakout                  Breakout 7                            ValleyB                     Conference        20
           6:00 AM    11:45 PM    Holding Room        Hold for Ramsey Solutions                 Aurora Hall 1-3                 Special          1
           6:00 AM    11:45 PM    Holding Room        Hold for Ramsey Solutions                   Red Rock 1                     Special
           6:00 AM    11:45 PM    Holding Room        Hold for Ramsey Solutions                  Red Rock 10                     Special         1
           6:00 AM    11:45 PM    Holding Room        Hold for Ramsey Solutions                  Red Rock 2-3                    Special         1
           6:00 AM    11:45 PM    HoidlngRoom         Hold for Ramsey Solutions                  Red Rock 4-5                    Special         1
           6：00AM     11:45 PM    HoidlngRoom         Hold for Ramsey Solutions                  Red Rock 6-7                    Special         1
           6:00 AM    11:45 PM    HoidlngRoom         Hold for Ramsey Solutions                  Red Rock 8-9                    Special         1
           6:00 AM    11:45 PM       Breakout               Breakout 12                           Summit 1                     Schoolroom        20
           6:00 AM    11:45 PM       Breakout               Breakout 13                           Summit 2                     Schoolroom        20
           6j00AM     11:45 PM       Breakout               Breakout 14                           Summit 3                     Schoolroom        20
           6:00 AM    11:45 PM    Speaker Room             Speaker Room                          Summit 4-5                      Lounge          20




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           6:00 AM    11:45 PM   Holding Room       Hold for Ramsey Solutions              Summit 8                  Special       1
           6:00 AM    11:45 PM   Holding Room       Hold for Ramsey Solutions              Summits                   Special       1
          12:00 PM    11:45 PM    Registration            Registration             AU Aurora Hall Reg Desks          Special
          12:00 PM    11:45 PM    Registration            Registration          Aurora Exhibit Hall Prefuncüon       Special       1
           1:00 PM    11:45 PM   Holding Room           Team Meeting 1                  Red Rock 11                  Special       1
           1:00 PM    11:45 PM   Holding Room           TeamMeethg?                       Summit 6-7                 Special       1
           1.-00PM    11:45 PM   Holding Room           Team Meeting2                   Willow Lake 1                Special
           1:00 PM    11:45 PM   Holding Room           Team Meetings                   Willow Lake 2                Special
           l:OOPM     11:4S PM   Holding Room           Team Meeting4                   Willow Lake 3                Special      1
           1:00 PM    11:45 PM   Holding Room           Team Meeting 5                  Willow Lake4                 Special
           1:00 PM    11:45 PM   Holding Room           Team Meeting6                   Willow Lakes                 Special       1
           4:00 PM    10:00 PM     Reception           Dessert Reception              Front Range Uwn                Special       1


           1:00 AM    11:45 PM    Registration            Registration             All Aurora Hall Ree Desks          Special      1
           1:00 AM    U：45 PM    Genera I Session       Genera I Sessi on              Aurora Ballroom              Schoolroom   2,000
          11:00 AM    12:00 PM      Lunch                    Lunch                     Aurora Ballrocfn                          2,000
          1:00 AM     11:45 PM    Registration            Registration          Aurora Exhibit Hall Prefuncüon       Special       1
          10：00AM     1030 AM    Coffee Break             Coffee Break          Aurora &chlbit Hall Prefunction      Special       1
           2*30 PM    3:00 PM    Coffee Break             Coffee Break          Aurora Exhibit Hai I Prefiincllon    Special       1
           1:00 AM    11:45 PM   24 Hour Hold       Hold for Ramsey Solutions          Aurora Hall 1-3               Special
           1:00 AM    n :45 PM       Office                  Office                      Aurora Office               Special       1
           X ：00AM    11:45 PM    24 Hour Hold      Hold for Ramsey Solutions             ColoradoA                  Special
           1:00 AM    11:45 PM      Breakout               Breakoutl                      Colorado B                 Theatre     500
           1:00 AM    11：45PM       Breakout               Breakout 2                     ColoradoC                  Theatre      300
           1:00 AM    11:45 PM     Breakout                Breakouts                      Colora do D                Theatre      300
           1:00 AM    11:45 PM   24 Hour Hold       Hold for Ramsey Solutions      Colora do Prefunction A-B         Speda!        1
           1：00AM     11^5 PM    24 Hour Hold       Hold for Ramsey Solutions    Colorado Registrati아i Areas          Spedai
           1:00 AM    11:45 PM      Breakout               Breakouts                        Crest 1                 Conference    20
           1:00 AM    11:45 PM      Breakout               Breakouts                        Crest 2                 Schoolroom    20
           1:00 AM    11:45 PM      Breakout               Breakout 4                      Crest 3-5                 Lounge       200
           1:00 AM    11：45PM    24 Hour Hold       Hold for Ramsey Solutions             Red Rock 1                  Speda        1
           1:00 AM    11:45 PM   24 Hour Hold       Hold for Ramsey Solutions             Red Rock 10                 Speda        1
           1:00 AM    11:45 PM   Holding Room           Team Meeting 1                    Red Rock 11                 Speda        1
           1:00 AM    11：45PM     24 Hour Hold      Hold for Ramsey Solutions            Red Rock 2-3                 Speda        1
           1:00 AM    11:45 PM    24 Hour Hold      Hold for Ramsey Solutions            Ked Rock 4-5                 Speda        1
           1:00 AM    11：45PM     24 Hour Hold      Hold for Ramsey Solutions            Red Rock 6-7                 Speda        1
           1:00 AM    11:45 PM   24 Hour Hold       Hold for Ramsey Solutions            Red Rock 8-9                 Speda        1
           1:00 AM    11:45 PM     Breakout               Breakout 12                      Summit 1                 Schoolroom    20
           1:00 AM    11：45PM       Breakout              Breakout 10                     Summit 10                 Schoolroom    20
           1:00 AM    11:45 PM      Breakout              Breakout 11                     Summit 11                 Schoolroom    20
           1:00 AM    11:45 PM      Breakout              Breakout 13                     Summit 2                  Schoolroom    20
           1:00 AM    11：45PM       Breakout              Breakout 14                      Summits                  Schoolroom    20
           1:00 AM    11:45 PM   SpeakerRoom             Speaker Room                     Summit 4-5                 Lounge       20
           1:00 AM    11:45 PM   Holding Room           Team Meeting7                     Summit 6-7                  Special
           1:00 AM    11：45PM     24 Hour Hold      Hold for Ramsey Solutions              Summits                    Special      1
           1:00 AM    11:45 PM    24 Hour Hold      Hold for Ramsey Solutions              Summits                    Special      1
           1:00 AM    11:45 PM      Breakout               Breakouts                       Valley 1                 Conference    20
           1:00 AM    11:45 PM      Breakout               Breakout 6                       VaHey2                  Conference    20
           1:00 AM    11:45 PM    Breakout                Breakout?                        Valleys                  Conference    20
           1:00 AM    11:45 PM   Holding Room           TeamMeetlng2                     Willow lake 1               Special       1
           1:00 AM    11:45 PM   Holding Room           Team Meeting3                    Wlliow Lake 2                Special      1
           1:00 AM    11:45 PM   Holding Room           Team Meeting4                    Willow Lakes                 Special      1
           1:00 AM    11:45 PM   Holding Room           Team Meetings                    Willow Lake4                 Special      1
           1:00 AM    11:45 PM   Holding Room           Team Meeting 6                   Willow Lakes                 Special      1


           1:00 AM    11:45 PM    Registration            Registration             All Aurora Hall Reg Desks          Special      1
           1:00 AM    11:45 PM   Genera I Session       Gone ral Session               Aurora Ballroom              Schoolroom   2,000
           11:00 AM   12:00 PM      Lunch                    Lunch                     Aurora Ballroom                           2,000
            1:00 AM   11:45 PM    RppIs trat Inn          Rppl^traUnn           Aiimra FvhlhH1 Moll DroFnnrHi




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                                                                                       Aurora Exhibit HallPreiunctlon                        1
          10:00 AM        10:30        Coffee Break            Coffee Break
                          3:00 PM      Coffee Break            Coffee Break            Aurora Exhibit HallPrefuncUon
           2:30 PM                                                                                                                           400
                                                          VIP Reception (Backup)       Aurora Exhibit HallPrefuncUon      Cocktail Rounds
           4:00 PM        10:00 PM      Reception
                                                                                              Aurora Hall 1-3                Special          1
           1:00 AM        11:45 PM     24 Hour Hold      Hold for Ramsey Solutions
                                                                                               Aurora Office                 Special          1
           1 ：00AM        11:45 PM        Office                   Office
                                                         Hold for Ramsey Solutions              ColoradoA                     Special
           1:00 AM        11:45 PM     24 Hour Hold
                                                                                                Colorado ß                   Theatre         500
           1:00 AM        11:45 PM      Breakout                Brea kout 1
                                                                                                Colora doC                   Theatre         300
           1:00 AM        11:45 PM      Breakout                Breakout 2
                                                                                                 Colorado 0                  Theatre         300
           1:00 AM        11:45 PM      Breakout                Breakouts
                                                                                          Colora do Prefunctkjn A B           Special         1
           1:00 AM        11:45 PM     24 Hour Hold      Hold for Ramsey Solutions
                                                                                         Colorado Registration Areas          Spedai          1
           1:00 AM        11:45 PM     24 Hour Hold      Hold for Ramsey Sofutions
                                                                                                  Crest 1                   Conference       20
           1:00 AM        11:45 PM       Breakout               Breakout»
                                                                                                 Crest 2                   Schoolroom         20
           1:00 AM        11:45 m        Breakout               Breakouts
                                                                                                 Crest B-5                   Lounge          200
           1:00 AM        11:45 PM      Breakout                Breakout 4
                                                                                                 Red Rock 1                   Special         1
           1:00 AM        11:45 PM     24 Hour Hold      Hold for Ramsey Solutions
                          11:45 PM     24 Hour Hold      Hold for Ramsey Solutions              Red Rock 10
               1：00AM
                                                                                                Red Rock 11                                   1
               1:00 AM    6:00 PM      Holding Room          Team Meeting 1
                                                                                                Red Rock 2-3                  Special         1
               1:00 AM    11:45 PM     24 Hour Hold      Hold for RamseySolutlons
                                                                                                Red Rock 4-5                                  1
               1:00 AM    U:45 PM      24 Hour Hold      Hold for Ramsey Solutions
                                                                                                Red Rock 6-7                                  1
               1:00 AM    11:45 PM     24 Hour Hold      Hold for Ramsey Solutions
                                                                                                Red Rock 8-9                  Special         1
           1:00 AM        11:45 PM     24 Hour Hold      Hold for Ramsey Solutions
                                                                                                 Summit 1                   Schoolroom        20
           I^OAM          11:45 PM       Breakout               Breakouts
                                                                                                 Summit 10                  Schoolroom        20
               1:00 AM    11:45 PM       Breakout               Breakout 10
                                                                                                 Summit 11                  Schoolroom        20
               1:00 AM    11:45 PM       Breakout               Breakout 11
                                                                                                  Summit 2                  Schoolroom        20
               1：00AM     11:45 PM       Breakout               Breakout 13
                                                                                                  Summits                   Schoolroom        20
               1:00 AM    11:45 PM       Breakout               Breakout 14
                                                                                                 Summit 4-5                   Lounge          20
               1:00 AM    11:45 PM     Speaker Room            Speaker Room
                                                                                                 Summit 6-7                   Special
               1:00 AM     6:00 PM     Holding Room           Team Meeting7
                                                                                                  Summit 8                     Special            1
               1:00 AM     11:45 PM    24 Hour Hold       Hold for Ramsey Solutions
                                                                                                  Summits                      Special
               1:00 AM    11:45 PM     24 Hour Hold       Hold for Ramsey Solutions
                                                                                                   Valleyl '                 Conference       20
               1:00 AM     11:45 PM      Breakout                Breakouts
                                                                                                   Valley 2                  Conference       20
               1:00 AM     11:45 PM      Breakout                Breakout 6
                                                                                                   VaUey3                    Conference       20
               1:00 AM     11:45 PM      Breakout                Breakout 7
                                                                                                Willow Lakel                   Special
               1:00 AM     6:00 PM     Holding Room           Team Meeting 2
                                                              Team Meetings                     Willow Lake 2                  Special
               1:00 AM     6:00 PM     Holding Room
                                                                                                Willow Lakes                   Special            1
               1:00 AM     6:00 PM     Holding Room           Team Meeting4
                                                                                                Willow Lake4                   Special
               1:00 AM     6:00 PM     Holding Room           Team Meetings
                                                                                                Willow Lake 5                  Special            1
               1:00 AM     6:00 PM     Holding Room           TeamMeeting6
                                                                                              Front Range Lawn             Cocktail Rounds    400
               4:00 PM     10:00 PM      Reception              VIP Reception

                                                                              '祕따m                                             Spedai             1
                                         Registration            Registration              All Aurora Hall Reg Desks
               1:00 AM     12.-00 PM
                                                                                                Aurora Ballroom              Schoolroom      2.000
                1:00 AM    5:00 PM     Generai Session         Genera I Session
                                                                                               Aurora Ballroom                               2,000
               11:00 AM    12:00 PM        Lunch                    lunch
                                                                                          Aurora Ballroom Prefunction          Special         1
                1:00 AM    5:00 PM       Registration            Registration
                                                                                                Aurora Hall 1-3                 Special           1
                1:00 AM    3：00PM       Holding Room      Hold for Ramsey Solutions
                                                                                          Aurora HallPrefunctioa 1-3           Special
               1:00 AM     3:00 PM      Registration             Registration
                                                                                          Aurora Hail Prefunction 1-3          Special             1
               10:00 AM    10:30姻       Coffee Break             Coffee Break
                                                                                          Aurora HaII Prefunction 1-3           Special           1
                2:30 PM     3:00 PM     Coffee Break             Coffee Break
                                           Office                   Office                       Aurora Office
                1：00AM     11:45 PM
                                                                                                                                              500
                1:00 AM    J^&S PM        Breakout                Breakout 1                      Colorado B    으A             Theatre        300
                                          Breakout                Breakout2                       ColoradoC
                1:00崩
                                                                                                 ColoradoD                     Theatre           300
                1:00 AM     &Î05PM       Breakout                 Breakouts
                                                                                            Colora do Prefundton B              Special           1
                1:00 AM     5:00 PM     Holding Room       Hold for Ramsey Solutions
                                                                                          Colora do Registration Desk B         Special               1
                1:00 AM     5:00 PM     Holding Room       Hold for Ramsey Solutions
                                                                                                    Crest 1                   Conference          20
                1:00 AM     5:00 PM       Breakout                Breakouts
                                                                                                    Crest 2                  Schoolroom           20
                1:00 AM     5:00 PM       Breakout                Breakouts
                                                                                                   Crest 3-5                    Lounge            200
                1:00 AM     5:00 PM       Breakout                Breakout 4
                                                                                                   Summit 1                   Schoolroom          20
                1:00 AM     5:00 PM       Breakout               Breakout 12
                                                                                                   Summit 10                  Schoolroom          20
                1:00 AM     5:00 PM       Breakout               Breakout 10




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            1:00 AM                    Breakout         Breakout 11                  Summit 11               Schoolroom       20
            1:00 AM                    Breakout         Breakout 13                   Summit 2               Schoolroom       20
            1:00 AM                    Breakout         Breakout 14                   Summits                Schoolroom       20
            1:00 AM                Speaker Room        SpeakerRoom                   Summit 4-5               Lounge          20
            1：00AM       5:00 PM       Breakout         Breakouts                     Valley l               Conference       20
            1:00 AM      5:00 PM       Breakout         Breakout 6                    Vailey2                Conference       20
            1:00 AM      5:00 PM       Breakout         Breakout?                     Valleys                Conference       20
                                                                    Thu 5/26/22：：
            1:00 AM ^12:00 PM [         Office            Office                    Aurora Office        :    Special     I


All meeting room» food and beverage, and related services are subject to applicable taxes and service charge in effect on lhe datc(s)of the
event.


FOOD & BEVERAGE PRICING: FOOD AND BEVERAGE GUARANTEE
Food and Beverage pricing for the Event will be based on prevailing market conditions at the time of the Event. Current 2017 minimum
banquet prices, excluding tax and a service charge, are as follows :

           Breakfast                                               Dinne r
           Continental        $33 - $36                            Plated                   $87 - $135
           Plated             $33 - $52                            Buffet                   $105-$135
           Buffet                 - $52
                                                                   Reception
                                                                   Fui! Bar:
           Lu ach                                                     One Hour              $20-$24
           Plated             $48 • $67                              Two Hours              $32 •• $36
                                                                     Three Houi*«           $43 - $48
           Buffet             $57 - $67                            Food:
                                                                   Light Hoi'S d'oeuvre  $31 - $39
           Box                $44-53                               Heavy Hors d'oeuvre &
                                                                   Stations              $78 -$103

Applicable taxes and a service charge will be added to all food and beverage pricing. Service Charges for discounted menus will be based
   retail pricing. All food and beverages served at ftmctioiis associated with the Event must be provided, prepared, and served by Hotel and
nuist be consumed on Hotel premises.

The Hotel is relying on, and the Group agrees to provide, a banquet minimum ofT700,000 exclusive of applicable taxes, seivice charges,
and discounts or concessions (the“F&B Guarantee”). Group agiecs that tlie food and beverage functions listed on the schedule of events
are a major component of this Agreement and that the Hotel will suffer daimges that will bcdifGcult or impossible lo calculate if the Event
is held and the Group’s actual food and beverage spend fells below the F&B Guarantee. In such event, the Grou|> will pay the Hotel
liquidated damages in an amount equal to the difference between (i) the F&B Guarantee and(ii) the actual total food and beverage revemic
generated by the functions listed in the Event’s program schedule. Group agrees that such damages are a reasonable estimale of the Hotel’s
actual damages and nota penalty. These liquidated damages are due within 30 days of the date such damages            incurred, and accrue
interest at the rate of 1.5 percent per month (or, if less, the maximum amount permitted by law).

AÍT1LIATE GRO»UPS
So that we may ac commo date any groups that arc meeting in conjunction with your convention, please indicate which of the following
procedures will be used by your group:

 Approwmatc number of afTiliaie groups auucipated:

          Approval must go through headquarters for ftinction space.
          Notify headquarters of affiliate group, but prior approval of space is noi required.
          Headquarters docs not require any knowledge of any affiliate group.

Charges for fonction space required for afñtiate groups will be negotiated at such time as space is requested.




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It is understood that the booking of Gaylord Rockies for Ramsey Solutions ËntreLeadersliip Summit May 2022 is part of the following
multiple bookings with Gaylord Hotels (each, a “Prior Event”)： Ramsey Solutions fìitrcLcndevsliip Summit May 2020 al Gaylord
Palms and Ramsey Solutions EnireLeackrship Summit May 2021 at Gaylord Texan. Ranisey Solutions will have the right to cancel
this Agreement without liability in the event of the following: (i) if, within thirty (30) days following the last day of the Prior Event, Ramsey
Solufions gives written notice to Gaylord Hotels detailing material service or pcrfornrwnce issues by Gaylord Hotels at the Prior Event; and
(ii) the Hotel does not propose and implement apian addressing the issues raised in Ramsey Solutions notice.

ROOMS ATTRITION
Hotel is relying upou Ramsey Solutions' use of iheRDom Night C이 niTiitnieiU. Ramsey Solutions agrees that a loss will be incurred by
Hotel if Ramsey Solutions' actual usage is less than 80% of (he Room Night Commitment.

If Ramsey Solutions' actual usage is less than 80% oftlie Room Night Commitment, Ramsey Solutions agrees lo pay, as liquidated
damages and not as a penalty, the difference between 80% ofChe Room Night Commitment and Ramsey Solutions' actual usage，
inultiplied by the average group room rate，plus applicable taxes.


CANCELLATION POLICY
Group agrees that it bears responsibility for payment for the Room Block and the F&B Guarantee. Group also agrees (bat the Hotel will
suffer actual harm lhal will be difficult to determine if the Group cancels this Agreement after the date hereof for reasons other than (Lose
specified in this Agreement. The Group wiü pay as liquidated damages to the Hotel, depending upon the timing of such cancellation，the
following amounts, as a reasonable estimate of harm to Hotel tor the cancellation:

Time Period of Cancellation                        AmountLiquklaled Damages Puq
0- 180 days prior to arrival                       100% of total room revenue plus 75% of F&B Guarantee
181 -365 days prior to arrival                     75% of total room revenue* plus 50% of F&B Qiarantec
366-729 days prior to airival                      40% of total room revenue*
730-1,094 days prior to arrival                    10% üf total room revenue*
1,095-1,459 days prior to arrival                  $25,000
1,460 or more days prior to arrival                $10,000

BONUS DEAL On or before May 1,2019 (Gaylord TEXAN) and May 1,2020 (GAYLORD ROCKIES) Ramsey Solutions may
release up to 50% of total room block >vitiiout penalty. A proportionate reihiction in meeting space and concessions will Apply so
Hotel is able to resell the released sleeping rooms. Ramsey Solutions will be responsible for the entire revised room block i f (his
reduction is taken at 1 ❶0%,no further attrition vAW be 21110Tvable. Should Group decide to exercise (he BONUS DEAL or 50%
room night reduction, then should the Group cancel their contract after this reduction, (lie cancellation amounts will remain
based on the original contracted room block.

’The terra “total room revenue** means the dollar amount equal lo lhe Room Block multiplied by the Group’s average room rate, exclusive
ofresoit fee.

Such amount (the “CanccUatkm Chargc>,) will be due and payable due within 30 days of the date of cancellation, and accrue interest at the
rate of 1.5 percent per month (or, if less, the maximum amount permitted by law). If required by the applicaりic jurisdiction，the Group will
pay sales and/orother applicable taxes with respect to the Cancellation Charge outlined above.

CANCELLATION IN EVENT OF CHANGE IN MEETING SITE
Notwithstanding any other provision of this Agreement, the Group agrees that it has no right to cancel this Agreement for the puiposeof
changing its meeting site to another city or location，and in such event, regardless of the date of cancellation of the Agreemeut, the Group
will owe tiquidated damages equal to 100% of total room revenues plus applicable tax, to be received by the Hotel from your event for
guestrooms contris ing the Room Block.

FOR CAUSE TERMINATION
Should iî be impossible for (he group to perform its obligations under the Agreemenl as a result of Dave Ramsey’s unforeseen death or
disability, the Hotel shall refund all deposits and/or prepayments made by the Group within thirty (30) days of receipt of the notice of
termination. Group must notify Hotel within Ten (10) days of such occurrence.

Notwithstanding any provision to the contrary herein, Group may at any time terminate this Agreement without penalty in the event Hotel,
its parenl, subsidiaiy or affiliated businesses,principals or executives become engaged in, accused of or subject to any public scandal,
political controversy, crime, fi-aud or other event that in Group’s sole judgment will inipair or damage ils brand or good will by hosling an
event at Hotel. In such event, Group shall provide prompt notice and the Hotel shall reftmd all deposits and/or prepayments made by the




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PERFORMANCE LICENSES
Ramsey Solutions will be solely responsible for obtaining any necessary licenses 01. permission to pcifonn, broadcast, trausink, or display
any copyrighted works (including without limitatioD, music, audio, or video recordings, art, etc.) that Ramsey Solutions may use ov request
to be used al the Hotel.

FORCE MAJEURE
Either party may be excused from performance without liability if circumstances beyond its reasonable control, such as acts o f God, war,
acts of domestic teirorisni, strikes or similar circums lances, make it illegal or impossible to provide or use the Hotel tacilities. The ability
to terminate pursuant to this clause is conditioDed upon delivery wiittcn notice to the other party setting forth the bas is for such termination
within ten (10) days añer learning of such basis.

UTIGATTON EXPENSES
The parties agree that, in the event litigation relatiug to this Agreement is filed by either party, the non -prevailing party in such litigation
will pay the prevailing patty's costs resulting fíx)ni the litigation, including reasonable attorneys' fees.

LIQUOR LICENSE
Group understands that Hotd’s liquor license requires that beverages only be dispensed by Hotel employees or bartenders. Alcoholic
beverage service may be denied lo those guests who appear to be in toxicated or are under age.

COMMUN IC ATIQNS BETWEEN THE PARTIES
Notices sent between the parties may be sent via regular mail, with the effective date as of the date of mailing，or by Federal Egress or
other overnight delivery service, with the effective date the date of receipt, or by facsimile，with the effective date as of the date shown ou
tlie confirmation of receipt. Copies or facsimiles shall be consideied as valid as original documents.

RINOVATION/REMOnELlNG
As of the date of the signing of (his Contract, Hotel has no plans for renovation or remodeling of any facilities over the program dates,
which will be utilized by Group pursuant to this contracl、other than ordinary maintenance. In the event that after this con tract is signed,
Hotel confiuiK any plans to remodel or renovate its facilities over the Event dates, Hotel agrees to inforni your group in writing of the
following:

     •   Planned scope of project;
     •   Schedule for commencement and conpletion;
     •   Anticipated impact project will have on areas to be utilized by your group;
     •   Hold’s plan for minimizing impact of project on Group.

Hotel promises that any such construction or remodeling will not interfere with Group’s use of the Hotel. The parties agree to negotiate in
good faith to i*esolvc any concerns raised as a result of renovations or remodeling and to enter into such amendments of this Ccrntract as
may be necessary to reasonably accommodate both parties’ interests.

DISHONORED RESERVATIONS
If the Hotel is unable to provide a room to a Group attendee holding au accepted or confirmed reservation. Hotel may provide alternative
accommodations to such attendee (an “Affected Attendee”)whhm】t sudi action constituting a breach of this Agreement, provided the terms
and conditions of this paragraph are followed. In sucb an event, the Hotel will provide, at its cost, the substitute hotel accommodations to
the Affected Attendee and transportation to and from tlic substitute hotel for each day that Hotel cannot providea room Upo n return to the
Hotel, the Hotel will provide a note of apology, and every attempt will be made (o place the guest in an upgraded (t)om

SEVERABTLrrY
If for any reason a court of compelent jurisdiction finds any provision of this Agreement or portion thereof to be uueaforcea blc, that
provision shall be enforced to the maximum extent permissible so as to affect the intent of the parties，and the remainder of the Agreement
shall continue in ñiU force and effect.


Each party agrees to use good fiiith efforts to ensure that it coiripiies with its obligations under the Americans with Disabilities Act and the
Act’s accompanying regulation and guidelines (collectively the“ADA”>. Each partン ftiither agrees to indemnify and hold the other party
harmless irom and against any and all claims and expenses, including aU이ney’s fees and litigation expenses, that may be ine mied by or
asserted against the other party or its officers, dircelo rs, agents, aad employees on the basis of the mdemn hying party’s non-co np lia
with any of the provisions of the ADA. Ramsey Solutions agrees to provide Hotel with reasonable advance notice about the special needs
of any attendees ofwhich Rains ey Solutions is awaie.




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  This Agreement is subject to all applicable federal, state,and local laws, including lieaitli and safety codes, alcoholic beverage control laws,
  disability laws, federal anti-teiTorisin laws and regulations, and the like. Hotel and Ramsey Solutions agree to cooperate with each other
  to ensure conçliancc with such laws.

  EXECUTION: ASSiCaVMljNT: AMENDMENTS
  By execution of this Agreement, the parlies spedficaily acknowledge and agree tliat this Agreement sets forth the entire understanding
  between the parties with respect to the subject matter hereof, shall act as the binding obligation of the parties, and the individual party
  signing this Agreement on behalf of a party has the requisite power and authority to bind such party. No inodification, amend ment of, or
  supplement to this Agreement shall be valid or effective unless the same is in writing and signed by both parties. The Hotel may require
  ancillary terms under this Agreement, such as its Policies and Procedures and Banquet Eveut Orders, and such Ierras, to the extent not
  inconsistent with the provisions of this Agreement, shall be binding upou the Group.

 smMmm£Kum
 Each party to this Agreement shall, lo the extent not covered by the indemnified party’s insurance, indemnify, defend, and ho Id harmless
 tlic other party and its officers, directors, agents，employees, and owners from and against auy and all demands, claiim, damages to persons
 or property, bs ses »and liabilities, mcluding reasonable attorneys ’ fees (collectively, “Claims”)，arising solely out of or solely caused by lhe
 indemnifying parly’s negligence or willfij I misconduct in connection with the provision and use ofHotel as contemplated by th is Agreement.
 This paragraph shall not waive any statutory limitali이 si of liability available to either party, including innkeepers' limitation of liability
 laws, nor shall it waive any defenses either party may have with respect to any Gam

 COMPIJANCE WITH THE I AW
 This Agreement is subject to all applicable federal, stare and local laws, iiictudiug health aud safety codes, alcoholic beverage control laws,
 disability laws, federal anti-teiTorisin laws and regulations, aud the like. Hotel und Ranuey Solutions agree to cooperate with each other to
 ensure compliance with such laws.

 CHANGES. ADDITIONS. STIPULATIONS. OR LINING OUT
 Any changes,additions, stipulations or deletions including corrective lining out by either Hotel or Group will not be considered agreed lo
 or binding on the other unless such nsodifications have been initialed or othci*wise appiovetl in writing by the other.




ACCEPTANCE
When presented by the Hotel to Rümsey Solutions，this document is an invitation by the Hotel to Rainsey Solutions to make an offer.
Upon signature by Raimey Solutions, this document will be an offer by Ramsey Solutions. Only upon signature of this document by all
parties will this document constitute a binding agreement. Unless the Hotel otherwise notifies Rams ey Solutions at any time prior to
Ramsey Solutions’ execiUkm of this docuinent> the outlined format and dates will be held by the Hotel for Ramsey Solutions on a first-
option basis until Friday, December 22,2017. If Rains ey Solutions cannot make a commitmeut prior to that date, (his invitation to offer
will revert to a second-option basis or, at the Hotel’s option, the airdogements will be released» in which case neither party will have any
ñuthor obligations.

Upon signalure by both parties, Ramsey Solutions and the Hotel shall have agreed to and e^cutcd this Agreement by their authorized
representatives as of the dates indicated below.

SIGNATURES

Approved and authorized by Rains ey Solutions:

Name: (Print)      Joe Leavitt

Title: (Print)    Director of Event Production, Rai        So：

Signature:

Date:                     /'2 /2Z〆/つ
Approved and authorized by Gaylord Rockies Resort & Com모ntion Center:




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Title:




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